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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:
                                                               Chapter 11
AGSPRING MISSISSIPPI REGION,
LLC, et al.,1                                                  Case No. 21-11238 (CTG)

            Debtors.                                           (Jointly Administered)




    PLAN PROPONENTS’ COMBINED DISCLOSURE STATEMENT AND JOINT PLAN
     OF LIQUIDATION PURSUANT TO CHAPTER 11 OF THE BANKRUPTCY CODE

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1
 The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number, are:
Agspring Mississippi Region, LLC (9147); Agspring MS 1, LLC (6456); Agspring MS, LLC (2692); Lake Providence
Grain and Rice LLC (1986); and Bayou Grain & Chemical Corporation (7831). The Debtors’ mailing address is 5101
College Boulevard, Leawood, KS 66211.

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Dated: March 28, 2022




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                                   DISCLAIMER

     THIS COMBINED DISCLOSURE STATEMENT AND PLAN WAS COMPILED
FROM INFORMATION OBTAINED FROM NUMEROUS SOURCES BELIEVED TO BE
ACCURATE TO THE BEST OF THE DEBTORS’ KNOWLEDGE, INFORMATION AND
BELIEF. NO GOVERNMENTAL AUTHORITY HAS PASSED ON, CONFIRMED OR
DETERMINED THE ACCURACY OR ADEQUACY OF THE INFORMATION CONTAINED
HEREIN.

     NOTHING STATED HEREIN SHALL BE (I) DEEMED OR CONSTRUED AS AN
ADMISSION OF ANY FACT OR LIABILITY BY ANY PARTY, (II) ADMISSIBLE IN ANY
PROCEEDING INVOLVING THE DEBTORS OR ANY OTHER PARTY, OR (III) DEEMED
CONCLUSIVE EVIDENCE OF THE TAX OR OTHER LEGAL EFFECTS OF THE
COMBINED DISCLOSURE STATEMENT AND PLAN ON THE DEBTORS OR HOLDERS
OF CLAIMS OR INTERESTS. CERTAIN STATEMENTS CONTAINED HEREIN, BY
NATURE, ARE FORWARD-LOOKING AND CONTAIN ESTIMATES AND
ASSUMPTIONS. THERE CAN BE NO ASSURANCE THAT SUCH STATEMENTS WILL
REFLECT ACTUAL OUTCOMES.

     THE STATEMENTS CONTAINED HEREIN ARE MADE AS OF THE DATE
HEREOF, UNLESS ANOTHER TIME IS SPECIFIED. THE DELIVERY OF THIS
COMBINED DISCLOSURE STATEMENT AND PLAN SHALL NOT BE DEEMED OR
CONSTRUED TO CREATE ANY IMPLICATION THAT THE INFORMATION CONTAINED
HEREIN IS CORRECT AT ANY TIME AFTER THE DATE HEREOF. HOLDERS OF
CLAIMS OR INTERESTS SHOULD NOT CONSTRUE THE CONTENTS OF THIS
COMBINED DISCLOSURE STATEMENT AND PLAN AS PROVIDING ANY LEGAL,
BUSINESS, FINANCIAL OR TAX ADVICE. THEREFORE, EACH SUCH HOLDER
SHOULD CONSULT WITH ITS OWN LEGAL, BUSINESS, FINANCIAL, AND TAX
ADVISORS AS TO ANY SUCH MATTERS CONCERNING THE COMBINED DISCLOSURE
STATEMENT AND PLAN AND THE TRANSACTIONS CONTEMPLATED HEREBY.

       NO PARTY IS AUTHORIZED TO GIVE ANY INFORMATION WITH RESPECT TO
THE COMBINED DISCLOSURE STATEMENT AND PLAN OTHER THAN THAT WHICH
IS CONTAINED IN THIS COMBINED DISCLOSURE STATEMENT AND PLAN. NO
REPRESENTATIONS CONCERNING THE DEBTORS OR THE VALUE OF THEIR
PROPERTY HAVE BEEN AUTHORIZED BY THE DEBTORS OTHER THAN AS SET
FORTH IN THIS COMBINED DISCLOSURE STATEMENT AND PLAN.              ANY
INFORMATION, REPRESENTATIONS OR INDUCEMENTS MADE TO OBTAIN AN
ACCEPTANCE OF THE COMBINED DISCLOSURE STATEMENT AND PLAN OTHER
THAN, OR INCONSISTENT WITH, THE INFORMATION CONTAINED HEREIN SHOULD
NOT BE RELIED UPON BY ANY HOLDER OF A CLAIM OR INTEREST. THIS COMBINED
DISCLOSURE STATEMENT AND PLAN HAS BEEN PREPARED IN ACCORDANCE WITH
§ 1125 OF THE BANKRUPTCY CODE AND BANKRUPTCY RULE 3016(b) AND NOT IN
ACCORDANCE WITH FEDERAL OR STATE SECURITIES LAWS OR OTHER NON-
APPLICABLE BANKRUPTCY LAWS.



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      SEE ARTICLE VI OF THIS COMBINED DISCLOSURE STATEMENT AND PLAN,
ENTITLED “CERTAIN RISK FACTORS TO BE CONSIDERED PRIOR TO VOTING,” FOR
A DISCUSSION OF CERTAIN CONSIDERATIONS IN CONNECTION WITH A DECISION
BY A HOLDER OF AN IMPAIRED CLAIM TO ACCEPT THE COMBINED DISCLOSURE
STATEMENT AND PLAN.




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                                             INTRODUCTION

       Agspring Mississippi Region, LLC (“AMR”), Agspring MS 1, LLC (“AGMS1”), Agspring
MS, LLC (“AGMS”), Lake Providence Grain and Rice LLC (“LakeProv”), and Bayou Grain &
Chemical Corporation (“Bayou,” and collectively defined as the “Debtors” below) are the chapter
11 debtors and debtors in possession in the above-referenced pending chapter 11 cases. The
Debtors filed voluntary petitions under chapter 11 of 11 U.S.C. §§ 101, et seq. (the “Bankruptcy
Code”) on September 10, 2021 (the “Petition Date”).

        Chapter 11 allows the Debtors, and, under some circumstances, creditors and other parties
in interest, to propose a plan of liquidation. This document is the Combined Disclosure Statement
and Plan that is being jointly proposed by the Debtors and the Prepetition Term Lenders (together,
the “Plan Proponents”), pursuant to §§ 1125 and 1129 of the Bankruptcy Code, and Local Rule
3017-2(b).2

        The Plan Proponents believe that this Combined Disclosure Statement and Plan represents
the optimal outcome for these chapter 11 bankruptcy cases (the “Chapter 11 Cases”). The
Combined Disclosure Statement and Plan is a plan of liquidation which, among other things,
provides for the disposition of the Estates’ remaining assets, a distribution of the Plan Contribution
Amount to various creditors, and the appointment of a Responsible Officer of the Liquidating
Debtors. The proceeds from the sales of Estate assets constitute the source of funding for, and
payments under, the Combined Disclosure Statement and Plan. Thus, the Combined Disclosure
Statement and Plan is predicated and dependent on the funding of expenses and reserves from such
sale proceeds to the extent required for the Combined Disclosure Statement and Plan to become
effective and for the Liquidating Debtors, through the Responsible Officer, to administer and
implement the Combined Disclosure Statement and Plan for the benefit of the Liquidating Debtors’
economic constituents.

        Additionally, the Plan provides for:

                100% recoveries for all Allowed Claims at Bayou, LakeProv, and AGMS, and
                 100% recoveries for all Allowed Claims, other than the Claims of the Prepetition
                 Term Secured Parties, at AGMS1;

                Equity Interest Distributions by Bayou, LakeProv, AGMS, and AGMS1 to their
                 respective Equity Interest Holders;

                98% recoveries paid from the GUC Contribution Amount for Allowed General
                 Unsecured Claims at AMR, subject to the terms of the Combined Disclosure
                 Statement and Plan; and

                Pro rata distribution of the Tubbs’ Contribution Amount to each Holder of an
                 Allowed Tubbs Parties’ Unsecured Deficiency Claim, subject to the terms of the
                 Combined Disclosure Statement and Plan.


2
 Capitalized terms not otherwise defined herein shall have the meaning ascribed to such terms in Article I of this
Combined Disclosure Statement and Plan.
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        Further information regarding the Combined Disclosure Statement and Plan is below.

        With the Combined Disclosure Statement and Plan, Creditors entitled to vote will receive
a Ballot for voting on the Combined Disclosure Statement and Plan, and the Combined Disclosure
Statement and Plan. ALL HOLDERS OF CLAIMS AND EQUITY INTERESTS, TO THE
EXTENT APPLICABLE, ARE ENCOURAGED TO READ THE COMBINED DISCLOSURE
STATEMENT AND PLAN IN ITS ENTIRETY BEFORE VOTING TO ACCEPT OR REJECT
THE COMBINED DISCLOSURE STATEMENT AND PLAN. THE DEBTORS RESERVE
THE RIGHT TO ALTER, AMEND, MODIFY, REVOKE, OR WITHDRAW THE COMBINED
DISCLOSURE STATEMENT AND PLAN, OR ANY PART THEREOF, PRIOR TO ITS
SUBSTANTIAL CONSUMMATION.

       Please take note of the following important dates relating to the Combined Disclosure
Statement and Plan:

      Plan Supplement Deadline. Debtors to provide any supplemental disclosures regarding
the Combined Disclosure Statement and Plan by [●], 2022;

        Voting Deadline. Ballots from voting creditors must be received by [●], at [4:00 p].m.
(prevailing Eastern Time);

       Objection Deadline. Objections to confirmation of the Combined Disclosure Statement
and Plan must be filed and served by [●], at [4:00 p].m. (prevailing Eastern Time); and

      Combined Hearing. Hearing on adequacy of disclosures and confirmation of the
Combined Disclosure Statement and Plan: [●], at [_:__ _].m. (prevailing Eastern time).

                                                   I.

           DEFINED TERMS, RULES OF INTERPRETATION, COMPUTATION
                       OF TIME, AND GOVERNING LAW

A.      Rules of Interpretation, Computation of Time, and Governing Law

        For purposes of the Combined Disclosure Statement and Plan: (a) whenever from the
context it is appropriate, each term, whether stated in the singular or the plural, shall include both
the singular and the plural as applicable, and each pronoun, whether stated in the masculine,
feminine, or neuter gender, shall include the masculine, feminine, and the neuter gender; (b) any
reference in the Combined Disclosure Statement and Plan to a contract, instrument, release,
indenture, or other agreement or document being in a particular form or on particular terms and
conditions means that such document shall be substantially in such form or substantially on such
terms and conditions; (c) any reference in the Combined Disclosure Statement and Plan to an
existing document or exhibit filed, or to be filed, shall mean such document or exhibit, as it may
have been or may be amended, modified, or supplemented; (d) unless otherwise specified, all
references in the Combined Disclosure Statement and Plan to Sections, Articles, and Exhibits are
references to Sections, Articles, and Exhibits of or to the Combined Disclosure Statement and
Plan; (e) the words “herein,” “hereof,” “hereunder” and “hereto” and similar terms refer to the
Combined Disclosure Statement and Plan in its entirety rather than to a particular portion of the
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Combined Disclosure Statement and Plan; (f) references to a part includes the whole, except where
the context clearly requires otherwise; (g) unless otherwise specified, “or” has the inclusive
meaning represented by the phrase “and/or”; (h) captions and headings to Articles and Sections are
inserted for convenience of reference only and are not intended to be a part of or to affect the
interpretation of the Combined Disclosure Statement and Plan; (i) the rules of construction set
forth in § 102 of the Bankruptcy Code shall apply; and (j) any term used in capitalized form in the
Combined Disclosure Statement and Plan that is not defined herein but that is used in the
Bankruptcy Code or the Bankruptcy Rules shall have the meaning assigned to such term in the
Bankruptcy Code or the Bankruptcy Rules, as the case may be.

       In computing any period of time prescribed or allowed by the Combined Disclosure
Statement and Plan, the provisions of Bankruptcy Rule 9006(a) shall apply.

        Except to the extent that the Bankruptcy Code or Bankruptcy Rules are applicable, and
subject to the provisions of any contract, instrument, release, indenture, or other agreement or
document entered into in connection with the Combined Disclosure Statement and Plan, the rights
and obligations arising under the Combined Disclosure Statement and Plan shall be governed by,
and construed and enforced in accordance with, the laws of the State of Delaware, without giving
effect to the principles of conflict of laws thereof.

B.      Defined Terms

      Unless the context otherwise requires, the following terms shall have the following
meanings when used in capitalized form in the Combined Disclosure Statement and Plan:

               1.    “Adequate Protection Motion” means the Motion for Entry of an Order (I)
Extending Debtors’ Authorized Use of Cash Collateral; (II) Granting Additional Adequate
Protection to Term Lenders; and (III) Granting Related Relief [D.I. No. 244].

                2.     “Adequate Protection Order” means the Order (I) Extending The Debtors’
Authorized Use of Cash Collateral; (II) Authorizing Payment to Term Lenders; and (III) Granting
Related Relief [D.I. 290], entered by the Bankruptcy Court on March 10, 2022, which, among other
things, provides for a payment to the Holders of the Prepetition Term Loan Claim on account of
the Prepetition Term Loan Claim in the amount of $8,870,281.20 (the “Post-Petition Payment
Amount”).

               3.      “Administrative Claim” means an expense of administration of the Chapter
11 Cases arising under §§ 364(c)(1), 503(b), 507(a)(2), 507(b) or 1114(e)(2) of the Bankruptcy
Code, including without limitation: (a) the actual and necessary costs and expenses incurred after
the Petition Date of preserving the Estates; (b) the value of any goods received by the Debtors
within 20 days before the Petition Date in which the goods were sold to the Debtors in the ordinary
course of the Debtors’ business; (c) Professional Fee Claims; (d) all fees and charges assessed
against the Estates under 28 U.S.C. § 1930; and (e) all obligations designated as Allowed
Administrative Claims pursuant to an order of the Bankruptcy Court.

                4.      “Administrative Claims Bar Date” means the last date by which an Entity
must file a request for payment of an Administrative Claim. For Administrative Claims arising on

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or prior to December 15, 2021, including Claims arising under § 503(b)(9) of the Bankruptcy Code
(excluding Professional Fee Claims), the Administrative Claims Bar Date was January 21, 2022,
pursuant to the Bar Date Order. For Administrative Claims arising on or after December 16, 2021
(excluding Professional Fee Claims and Claims arising under § 503(b)(9) of the Bankruptcy Code),
the Administrative Claims Bar Date shall be the date that is forty-five (45) after the Effective Date.

               5.      “Adversary Proceeding (Tubbs Parties)” means that certain Adversary
Proceeding bearing Case No. 22-50235-CTG, filed by the Prepetition Term Lenders against the
Tubbs Parties to determine validity, priority, and extent of the Tubbs Parties’ Liens on certain
property located on the Tubbs Properties.

                 6.    “AGMS” means Debtor Agspring MS, LLC.

                 7.    “AGMS1” means Debtor Agspring MS 1, LLC.

               8.     “Agspring” means non-debtor Agspring, LLC, parent of AMR and direct
subsidiary of Holdco.

               9.      “Allocated Value (Greenfield Sale)” means, as to any allocation of value
between different assets of the Debtors that were subject to the Greenfield Sale, the Stipulated Plan
Value as to such assets, except to the extent such allocation of value is separately determined by
the Court, in which case the Allocated Value will be as determined by the Court, unless otherwise
agreed by the Plan Proponents and the Tubbs Parties.

                 10.     “Allocated Value (Tubbs Properties – LT)” means that portion of the
Allocated Value (Tubbs Properties) related to the assets located on the Tubbs Properties subject to
a first priority Lien in favor of the Tubbs Parties.

                 11.      “Allocated Value (Tubbs Properties – PSP)” means that portion of the
Allocated Value (Tubbs Properties) related to the assets located on the Tubbs Properties subject to
a first-priority Lien in favor of the Prepetition Secured Parties, unless otherwise agreed by the Plan
Proponents and the Tubbs Parties.

                 12.     “Allocated Value (Tubbs Properties)” means an allocation of value
determined by the Court between the assets located on the Tubbs Properties subject to a first-
priority Lien in favor of the Tubbs Parties and the assets located on the Tubbs Properties subject
to a first-priority Lien in favor of the Prepetition Secured Parties, unless otherwise agreed by the
Plan Proponents and the Tubbs Parties.

                13.      “Allowed” means, with respect to any Claim, except as otherwise provided
herein: (i) any Claim, proof of which was filed, or which has been or hereafter is scheduled by the
Debtors on the Schedules as liquidated in amount and not disputed or contingent, and to which no
party in interest has filed an objection thereto; (ii) any Administrative Claim, request for payment
of which was filed on or before the applicable Administrative Claims Bar Date, which has been
determined, in whole or in part, in favor of the Holder of such Administrative Claim by a Final
Order of the Bankruptcy Court; or (iii) a Claim (including an Administrative Claim) that is allowed
(a) pursuant to any contract, instrument, or other agreement entered into in connection with the
Combined Disclosure Statement and Plan, (b) in a Final Order, (c) pursuant to the terms of the
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Combined Disclosure Statement and Plan, or (d) for purposes of Distributions, by designation of
the Debtors with respect to Claims and Administrative Claims as to which the period within which
to object has not yet expired, provided, however, that the Debtors or Liquidating Debtors, as
applicable, reserve all rights to object to any untimely filed Proof of Claim on any and all available
grounds.

              14.     “Allowed Claim” or “Allowed [ ] Claim” means a Claim that has been
Allowed, pursuant to the Combined Disclosure Statement and Plan, by entry of a Final Order of
the Bankruptcy Court, allowing the Claim in a specified amount or a filed or scheduled claim to
which the Debtors or Liquidating Debtors, as applicable, have not objected by the applicable Bar
Date.

                 15.   “AMR” means Debtor Agspring Mississippi Region, LLC.

              16.    “Available Cash” means all of the Debtors’ Cash from whatever source
excluding Tubbs Sale Proceeds, but including Greenfield Sale Proceeds, Liquidation Proceeds,
and any recovery by the Debtors or Liquidating Debtors on account of a surcharge of the Tubbs
Secured Claims.

               17.    “Ballots” mean the ballots upon which the Holders of Impaired Claims shall
indicate their acceptance or rejection of the Combined Disclosure Statement and Plan in
accordance with the Combined Disclosure Statement and Plan and the Voting Instructions.

                18.    “Bankruptcy Code” means title 11 of the United States Code, 11 U.S.C.
§§ 101, et seq. (as may be amended) and applicable portions of titles 18 and 28 of the United States
Code.

                19.    “Bankruptcy Court” means the United States Bankruptcy Court for the
District of Delaware, or such other court having jurisdiction over the Chapter 11 Cases.

              20.    “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure, as
amended from time to time, as applicable to the Chapter 11 Cases, promulgated under 28 U.S.C.
§ 2075 and Local Rule 1001-1(b).

                21.  “Bar Date” means, as applicable, the General Claims Bar Date, the
applicable Administrative Claims Bar Date, or any other applicable deadline to file Claims
referenced in the Combined Disclosure Statement and Plan.

               22.     “Bar Date Order” means the Order (I) Setting Bar Dates for Filing Proofs
of Claim, Including Requests for Payment Under Section 503(b)(9), (II) Setting a Bar Date for the
Filing of Proofs of Claim by Governmental Units, (III) Setting a Bar Date for the Filing of Requests
for Allowance of Administrative Expense Claims, (IV) Establishing Amended Schedules Bar Date
and Rejection Damages Bar Date, (V) Approving the Form of and Manner for Filing Proofs of
Claim, (VI) Approving Notice of Bar Dates, and (VII) Granting Related Relief [D.I. 199], which
established the General Claims Bar Date, the deadline to file Administrative Claims arising on or
prior to December 15, 2021, and Administrative Claims arising pursuant to § 503(b)(9) of the
Bankruptcy Code, the Bar Date for governmental units, and certain other deadlines and procedures.

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                 23.   “Bayou” means Debtor Bayou Grain and Chemical Corporation.

               24.     “Business Day” means any day, other than a Saturday, Sunday or legal
holiday as defined in Bankruptcy Rule 9006(a).

                25.     “Cash” means cash and cash equivalents, including, but not limited to, bank
deposits, wire transfers, checks, and readily marketable securities, instruments, and legal tender of
the United States of America or instrumentalities thereof.

                 26.     “Causes of Action” means all claims, actions, causes of action, choses in
action, suits, debts, dues, sums of money, accounts, reckonings, bonds, bills, specialties, covenants,
contracts, controversies, agreements, promises, variances, trespasses, damages, judgments,
remedies, rights of setoff, third-party claims, subrogation claims, contribution claims,
reimbursement claims, indemnity claims, counterclaims and crossclaims, including, without
limitation, all claims and any avoidance, preference, recovery, subordination or other actions of
the Debtors (unless the context expressly states that such Causes of Action belong to the another
Entity) against Creditors, insiders and/or any other Entities under the Bankruptcy Code, based in
law or equity, including, without limitation, under the Bankruptcy Code, whether direct, indirect,
derivative or otherwise and whether asserted or unasserted as of the Effective Date. For the
avoidance of doubt, Causes of Action does not include claims, challenges or other matters barred
or otherwise released in the Final DIP Order.

               27.   “CGB” means Consolidated Grain and Barge Co., a wholly owned
subsidiary of CGB Enterprises, Inc.

               28.     “Chapter 11 Cases” means the Chapter 11 cases commenced when the
Debtors filed their voluntary petitions for relief under Chapter 11 of the Bankruptcy Code on the
Petition Date and with the following case numbers: 21-11238 (CTG), 21-11239 (CTG), 21-11240
(CTG), 21-11241 (CTG) and 21-11242 (CTG) (and each, respectively, a “Chapter 11 Case”).

                29.     “Claim” means a claim (as defined in § 101(5) of the Bankruptcy Code)
against any Debtor, including, but not limited to: (a) any right to payment from a Debtor whether
or not such right is reduced to judgment, liquidated, unliquidated, contingent, matured, unmatured,
disputed, undisputed, legal, equitable, secured or unsecured; or (b) any right to an equitable remedy
for breach of performance if such performance gives rise to a right of payment from a Debtor,
whether or not such right to an equitable remedy is reduced to judgment, fixed, contingent,
matured, unmatured, disputed, undisputed, secured or unsecured.

                 30.   “Claimant” means the Holder of a Claim.

               31.    “Claims Objection Deadline” means, with respect to all Claims other than
Professional Fee Claims, sixty (60) days after the Effective Date, subject to extension as set forth
herein.

             32.     “Class” means a category of Holders of Claims or Equity Interests, as
summarized in Article IV and set forth in Article VIII of the Combined Disclosure Statement and
Plan.

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               33.     “Collateral” means any property or interest in property of the Estates to a
Lien, charge, or other encumbrance to secure the payment of the Lenders’ Claims, to the extent
granted under and pursuant to the Final DIP Order.

                34.    “Combined Disclosure Statement and Plan” means this combined
disclosure statement and joint chapter 11 plan of liquidation, either in its present form or as it may
be altered, amended, modified or supplemented from time to time in accordance with the
Combined Disclosure Statement and Plan, the Bankruptcy Code, and the Bankruptcy Rules,
including, without limitation, any exhibits and schedules hereto, either in its present form or as the
same may be amended, modified or supplemented from time to time in accordance with the terms
and provisions hereof.

               35.     “Combined Hearing” means the combined hearing before the Bankruptcy
Court to consider the adequacy of the disclosures in, and confirmation of, the Combined Disclosure
Statement and Plan, which is scheduled for [●], 2021 [_:__ a.]m. (prevailing Eastern Time), as
such hearing may be continued.

                 36.    “Confirmation” means the entry of the Confirmation Order, subject to all
conditions specified in Section XII.A of the Combined Disclosure Statement and Plan having been
(a) satisfied or (b) waived pursuant to Section XII.A.

               37.   “Confirmation Date” means the date upon which the Confirmation Order is
entered by the Bankruptcy Court on its docket, within the meaning of Bankruptcy Rules 5003 and
9021.

             38.    “Confirmation Order” means the order of the Bankruptcy Court confirming
the Combined Disclosure Statement and Plan pursuant to § 1129 of the Bankruptcy Code.

                 39.   “Consummation” or “Consummate” means the occurrence of the Effective
Date.

               40.    “Creditor” means any Holder of a Claim against a Debtor as specified in
§ 101(10) of the Bankruptcy Code.

                 41.   “Debt” means liability on a Claim.

                42.    “Debtors” means AMR, AGMS1, AGMS, LakeProv, and Bayou,
collectively (and each, respectively, a “Debtor”). The term “Debtors” shall apply to the applicable
Debtor dependent on the given context, or the Debtors collectively, as the case may be. The term
“Debtors” includes the Debtors on or after the Effective Date. For the avoidance of doubt, any
reference to the Debtors on or after the Effective Date shall be in their capacity as Liquidating
Debtors.

               43.    “DIP Facility” means the post-petition financing facility extended by the
DIP Lenders to the Debtors, pursuant to the Final DIP Order, the Superpriority Secured Debtor-
In-Possession Notes, dated as of November 4, 2021, executed by the Debtors in favor of the DIP
Lenders, and the other agreements and documents related thereto.

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                44.    “DIP Lenders” means LVS and HVS in their capacities as postpetition
lenders to the Debtors under the DIP Facility.

                 45.   “DIP Loan Claim” means the claims of the DIP Lenders under the DIP
Facility.

               46.    “DIP Motion” means the Debtors’ Motion for Entry of an Order (I)
Authorizing the Debtors to Obtain Back-Up Postpetition Financing to the Extent Necessary; (II)
Authorizing the Debtors to Use Cash Collateral; (III) Granting Liens and Providing Super-
Priority Administrative Expense Status; (IV) Granting Adequate Protection; (V) Modifying The
Automatic Stay; and (VI) Granting Related Relief, filed October 14, 2021 [D.I. 97].

                47.    “Disputed Claim” means, with respect to any Claim: (a) any Claim filed
after the applicable Bar Date or after any date otherwise ordered by the Bankruptcy Court with
respect to the filing of Claims; (b) listed on the Schedules as either unliquidated, disputed, or
contingent; (c) as to which the Debtors have interposed a timely objection or request for estimation
in accordance with the Bankruptcy Code and the Bankruptcy Rules or is otherwise disputed by the
Debtors in accordance with applicable law, which objection, request for estimation or dispute has
not been withdrawn or determined by a Final Order; or (d) unless otherwise indicated in the
Combined Disclosure Statement and Plan, a Claim as to which the period within which to object
to such Claim has not yet expired and which is not Allowed.

               48.     “Disputed Claims Reserve” means the reserve of cash held by the Debtors
in an amount to be determined by the Debtors to be sufficient to provide the relevant Class
Treatment as prescribed by the Combined Plan and Disclosure Statement on any Disputed Claim
that may become Allowed, as estimated by the Court pursuant to § 502(c) of the Bankruptcy Code
on or before the Effective Date.

                49.    “Distributed Value” means (if applicable) the amount available for
distribution from a subsidiary Debtor to such Debtor’s sole Equity Interest Holder after payment
of other Classes of Claims against such subsidiary Debtor pursuant to the Combined Disclosure
Statement and Plan.

             50.    “Distributions” means the distributions of Cash to be made in accordance
with the Combined Disclosure Statement and Plan.

             51.      “Distribution Dates” means collectively the Initial Distribution Date, any
Subsequent Distribution(s) Date, and the date of the Final Distribution.

             52.    “Distribution Record Date” means the close of business on the Business
Day immediately preceding the Effective Date.

                53.     “Effective Date” means the date selected by the Debtors which is a Business
Day after the Confirmation Date on which: (a) no stay of the Confirmation Order is in effect, and
(b) all conditions specified in Section XII.C of the Combined Disclosure Statement and Plan have
been satisfied, unless waived by the Debtors.

                 54.   “Entity” means an entity as defined in § 101(15) of the Bankruptcy Code.
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                55.    “Equity Interest(s)” means any membership interest or other equity security
interest in the Debtors, including, but not limited to, any warrants, options, or contract rights to
purchase or acquire such interests at any time.

               56.      “Estates” means the estates of the Debtors in the Chapter 11 Cases created
pursuant to § 541 of the Bankruptcy Code upon the commencement of the Chapter 11 Cases (and
each, respectively, an “Estate”). The term “Estates” shall apply to the applicable Debtor dependent
on the given context, or the Debtors collectively, as the case may be.

                57.     “Exculpated Parties” means, collectively the Debtors and the Debtors’
respective officers, including the Responsible Officer, managers, employees and Court-approved
professionals, provided, however that none of the parties shall be entitled to exculpation unless
and solely to the extent they are found by a court of competent jurisdiction to have acted in their
capacities as fiduciaries of the Estates.

              58.    “Final Decree” means the decree closing the Chapter 11 Cases
contemplated under § 350 of the Bankruptcy Code, Bankruptcy Rule 3022, and Local Rule 3022-
1.

              59.     “Final Distribution” means the last payment to Holders of Allowed Claims
in accordance with the provisions of the Combined Disclosure Statement and Plan.

               60.     “Final DIP Order” means the Final Order (I) Authorizing the Debtors to
Obtain Back-up Postpetition Financing to the Extent Necessary; (II) Authorizing the Debtors to
Use Cash Collateral; (III) Granting Liens and Providing Super-Priority Administrative Expense
Status; (IV) Granting Adequate Protection; (V) Modifying the Automatic Stay; and (VI) Granting
Related Relief, entered by the Court on November 4, 2021 [D.I. 174].

                61.     “Final Order” means an order or judgment of the Bankruptcy Court or other
court of competent jurisdiction: (i) that has not been reversed, stayed, modified, or amended; (ii)
as to which the time to or the right to appeal or seek reconsideration, review, rehearing, or certiorari
has expired or been waived (without regard to whether the time to seek relief from a judgment
under Bankruptcy Rule 9024 has expired); and (iii) as to which no appeal or petition for
reconsideration, review, rehearing, or certiorari is pending.

               62.    “General Claims Bar Date” means January 21, 2022 at 5:00 p.m. (prevailing
Eastern Time), which is the general deadline set pursuant to the Bar Date Order for filing proofs
of claim for any Claims against the Debtors that arose prior to the Petition Date.

                 63.    “General Unsecured Claim” means any Claim against the Debtors or
Estates that is not a Lender Claim (except to the extent not satisfied in full), Administrative Claim,
Priority Tax Claim, Priority Non-Tax Claim, or a Tubbs Claim.

                 64.    “Governmental Unit” means the United States, a State, a Commonwealth,
a District, a Territory, a municipality, or a department, agency, or instrumentality of the United
States (but not a United States trustee while serving as a trustee in a case under chapter 11 of the
Bankruptcy Code), or a State, a Commonwealth, a District, a Territory, a municipality of a foreign
state, or other foreign or domestic government.
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               65.    “Greenfield Purchaser” shall mean Greenfield Grain, LLC, an indirect
subsidiary of Greenfield Holdings, LLC.

              66.     “Greenfield Sale” means the assets sold to the Greenfield Purchaser and
approved pursuant to the Greenfield Sale Order.

              67.    “Greenfield Sale Order” means the Order (A) Approving the Purchase
Agreement; (B) Authorizing the Sale of the Debtors’ “Big River” Assets Free and Clear of Liens,
Claims, and Encumbrances and Interests; (C) Authorizing the Assumption and Assignment [D.I.
179].

               68.    “Greenfield Sale Proceeds” means the proceeds from the Greenfield Sale,
inclusive of any proceeds of any escrows released to the Debtors in connection therewith,
regardless of when received.

                69.     “GUC Contribution Amount” means up to $250,000.00 of the Greenfield
Sale Proceeds that the Prepetition Secured Parties agree may be distributed to fund the GUC
Contribution Amount (which amounts would otherwise be distributed to the Prepetition Secured
Parties on account of the Prepetition Secured Parties’ Claims) for Pro Rata distribution to Holders
of Allowed General Unsecured Claims in AMR Class 7, not to exceed 98% of the amount of any
such Allowed General Unsecured Claim, free and clear of any Liens, claims or encumbrances,
provided that Holders of General Unsecured Claims in requisite number and amount as to
constitute a vote in favor of the Combined Disclosure Statement and Plan by the Class, (x) vote in
favor of the Combined Disclosure Statement and Plan, (y) do not opt out of the Combined
Disclosure Statement and Plan’s Third Party Release, and (z) do not otherwise oppose the
Combined Disclosure Statement and Plan or any provision therein, provided further, that to the
extent that all Holders of Allowed General Unsecured Claims receive distributions in an amount
equal to 98% of the amount of their respective Allowed General Unsecured Claims, any and all
remaining amounts of the GUC Contribution Amount shall be Distributed to the Prepetition
Secured Parties in accordance with the treatment provided in Article VIII of the Combined
Disclosure Statement and Plan solely to the extent that the Prepetition Secured Parties’ Claims
have not been fully satisfied pursuant to the Combined Disclosure Statement and Plan.

                 70.   “Holdco” means non-debtor Agspring Holdco, LLC, parent of Agspring.

                 71.   “Holder” means an Entity holding a Claim or Equity Interest.

                 72.   “HVS” means HVS V LLC.

              73.      “Impaired” means with respect to a Claim or Class of Claims, a Claim or
Class of Claims that is impaired within the meaning of § 1124 of the Bankruptcy Code.

               74.   “Indemnified Parties” shall have the meaning ascribed to it in Section
XIII.G of the Combined Disclosure Statement and Plan.

                75.     “Initial Distribution Date” means the Effective Date, or as soon as
practicable thereafter when the initial distribution shall be made to the Holders of Allowed Claims,
as determined by the Responsible Officer in his reasonable discretion.
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             76.        “Insider” means an insider of the Debtors, as defined in § 101(31) of the
Bankruptcy Code.

                 77.    “Insurance Policies” means all insurance policies maintained by the
Debtors.

                78. “Interim Fee Order” means the Order (I) Establishing Procedures for
Interim Compensation and Reimbursement of Expenses of Professionals and (II) Granting Related
Relief [D.I. 112].

                 79.    “LakeProv” means Debtor Lake Providence Grain and Rice LLC.

               80.    “Lenders” means the DIP Lenders and the Prepetition Secured Parties (and
each, respectively, a “Lender”). The term “Lenders” shall apply to the applicable Lender
dependent on the given context, or the Lenders collectively, as the case may be.

             81.    “Lenders’ Secured Claims” means the secured portion of the Prepetition
Term Loan Claims and the Prepetition Bridge Loan Claims.

                82.   “Lenders’ Unsecured Deficiency Claims” means the unsecured portion of
the Prepetition Term Loan Claims.

               83.     “Lien” means any charge against or interest in property (including, but not
limited to, any mortgage, lien, pledge, charge, security interest, encumbrance, or other security
device of any kind) to secure payment of a debt or performance of an obligation.

                 84.    “Liquidating Debtors” means the Debtor(s) on or after the Effective Date.

                85.     “Liquidation Proceeds” means any Cash or other consideration paid to or
assets of the Estate.

               86.      “Local Rules” means the Local Rules for the United States Bankruptcy
Court for the District of Delaware, as amended from time to time, as applicable to the Chapter 11
Cases.

                 87.    “LVS” means LVS II SPE XVIII LLC.

               88.     “Person” means any individual, corporation, limited liability company,
general partnership, association, joint stock company, joint venture, estate, trust, unincorporated
organization, Governmental Unit or other Entity.

                89.     “Petition Date” means September 10, 2021, the date on which the Debtors
filed their voluntary petitions for relief commencing the Chapter 11 Cases.

                 90.      “Plan Contribution Amount” means the contribution made by the
Prepetition Secured Parties on the Effective Date from the Greenfield Sale Proceeds in the amount
required to: (i) fund (if required, subject to the terms and conditions thereof) the GUC Contribution
Amount; (ii) fund (if required, subject to the terms and conditions thereof) the Tubbs Contribution

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Amount; (iii) fund the Professional Fee Reserve; (iv) pay (or reserve for payment of)
Administrative Claims, Non-Priority Tax Claims, and Priority Tax Claims; and (v) make any
payment that may be required or contemplated pursuant to the Combined Disclosure Statement
and Plan and fund the necessary reserves required under the Combined Disclosure Statement and
Plan (including amounts payable to the U.S. Trustee pursuant to 28 U.S.C. § 1930), in each case
in the reasonable judgment and estimation of the Debtors, provided, however, that to the extent the
Liquidating Debtors hold any portion of Plan Contribution Amount in excess of the amounts
necessary to satisfy the Distributions, payments and expenses provided herein and after the full
administration of the Combined Disclosure Statement and Plan by the Liquidating Debtors, any
such remaining Plan Contribution Amount shall be Distributed to the Prepetition Term Secured
Parties in accordance with the treatment provided in Section I.B (AMR Class 3) of the Combined
Disclosure Statement and Plan solely to the extent that the Prepetition Secured Parties’ Claims
have not been fully satisfied pursuant to the Combined Disclosure Statement and Plan. The Plan
Contribution Amount shall be deposited into a segregated account or accounts established to hold
the Plan Contribution Amount (the “Plan Contribution Account”), which the Liquidating Debtors,
through the Responsible Officer, shall control and which shall be subject to a Lien in favor of the
Prepetition Secured Parties to secure the obligations to return such excess.

                 91.   “Plan Proponents” means the Debtors and the Prepetition Term Lenders.

               92.   “Plan Supplement” means a potential supplement to the Combined
Disclosure Statement and Plan that the Debtors may file at a future date prior to the Combined
Hearing.

               93.   “Post-Petition Payment Amount” means $8,870,281.20 in payment to the
Holders of the Prepetition Term Loan Claim on account of the Prepetition Term Loan Claim
pursuant to the Adequate Protection Order.

                94.    “Prepetition Bridge Lenders” means HVS and LVS, in their capacities as
lenders to the Debtors under the Prepetition Bridge Notes.

              95.     “Prepetition Bridge Loan Claims” means the Claims of the Prepetition
Bridge Lenders in respect of the Prepetition Bridge Notes.

              96.    “Prepetition Bridge Notes” means those certain secured Promissory Notes
dated September 9, 2021, issued jointly and severally by each of the Debtors in the aggregate
amount of $1,000,000.00, the Holders of which are the Prepetition Bridge Lenders.

               97.      “Prepetition Credit Agreement” means that certain Credit Agreement, dated
as of December 11, 2015, as amended restated, supplemented or otherwise modified from time to
time by and between Agspring (as Borrower), the lenders party thereto and U.S. Bank National
Association, as Administrative Agent, the obligations of which are irrevocably and unconditionally
guaranteed, inter alia, by AMR and AGMS1 pursuant to that certain Guaranty Agreement, dated
as of December 11, 2015 (as amended, supplemented or otherwise modified from time to time, the
“Prepetition Term Guaranty”).

              98.    “Prepetition    Lenders’  Unsecured     Deficiency    Claim” means
$105,597,653.52 less the Prepetition Term Secured Parties’ Secured Claim, all of which is in
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respect of the Prepetition Term Guaranty. The Prepetition Lenders’ Unsecured Deficiency Claim
is an Allowed unsecured Claim.

               99.   “Prepetition Secured Parties” means the Prepetition Term Agent, the
Prepetition Term Lenders and the Prepetition Bridge Lenders.

             100. “Prepetition Term Guaranty” means that certain guaranty of the Prepetition
Credit Agreement referred to in the definition of Prepetition Credit Agreement.

                101. “Prepetition Term Secured Parties” means the Prepetition Term Agent and
the Prepetition Term Lenders.

             102. “Prepetition Term Secured Parties’ Secured AGMS1 Claim” means an
Allowed Secured Claim against AGMS1 in an amount equal to the Distributed Value from AGMS
to AGMS1.

               103. “Prepetition Term Secured Parties’ Secured AMR Claim” means an
Allowed Secured Claim against AMR in an amount equal to the sum of (a) the value of the
Greenfield Sale Proceeds allocated to AMR pursuant to the Allocated Value (Greenfield Sale), (b)
the Allocated Value (Tubbs Properties – PSP), and (c) the Distributed Value from AGMS1 to
AMR on account of (i) AMR’s equity membership interests in AGMS1, (ii) the Tubbs Plan
Contribution Amount, and/or (iii) the GUC Contribution Amount.

             104. “Prepetition Term Secured Parties’ Secured Claim” means the Prepetition
Term Secured Parties’ Secured AGMS1 Claim and the Prepetition Term Secured Parties’ Secured
AMR Claim.

              105. “Prepetition Term Agent” means U.S. Bank, National Association, in its
capacity as administrative agent for the Prepetition Term Lenders under the Prepetition Credit
Agreement.

                106. “Prepetition Term Lenders” means the lenders from time to time party to
the Prepetition Credit Agreement, which as of the date hereof are LVS and HVS.

               107. “Priority Non-Tax Claim” means any Claim, other than an Administrative
Claim or a Priority Tax Claim, to the extent entitled to priority under § 507(a) of the Bankruptcy
Code.

               108. “Priority Tax Claim” means a Claim that is entitled to priority under
§§ 502(i) and 507(a)(8) of the Bankruptcy Code.

               109. “Pro Rata” means the proportion that the Allowed Claim in a particular
Class bears to the aggregate amount of (a) Allowed Claims in such Class as of the date of
determination, plus (b) Disputed Claims in such Class as of the date of determination, in their
aggregate face amounts or such other amount: (i) as calculated by the Debtors or Liquidating
Debtors on or before the date of any such Distribution; (ii) as determined by an Order of the
Bankruptcy Court estimating such Disputed Claim; or (iii) as directed by a Final Order of the
Bankruptcy Court.
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               110. “Professional” means an Entity: (a) employed pursuant to a Final Order in
accordance with §§ 327 and 1103 of the Bankruptcy Code and to be compensated for services
rendered prior to the Effective Date, pursuant to §§ 327, 328, 329, 330 and 331 of the Bankruptcy
Code, or (b) for which compensation and reimbursement has been allowed by the Bankruptcy
Court pursuant to § 503(b)(4) of the Bankruptcy Code.

                111. “Professional Fee Claim” means those fees and expenses claimed by
Professionals pursuant to §§ 330, 331 or 503 of the Bankruptcy Code, and accrued and unpaid as
of the Effective Date.

                112. “Professional Fee Reserve” means a reserve fund established by the
Liquidating Debtors, on or as soon as practicable after the Effective Date, to pay any accrued and
unpaid (a) Professional Fee Claims incurred by a Professional and which have not yet been
approved by the Bankruptcy Court; and (b) Professional Fee Claims approved by the Bankruptcy
Court. The amounts deposited into the Professional Fee Reserve shall be free and clear of all
Liens, claims and encumbrances of any Persons or Entities, other than the Prepetition Secured
Parties, and to the extent that any excess amounts remain in the Professional Fee Reserve after
payment of all Allowed Professional Fee Claims, such excess amounts shall be distributed to the
Prepetition Secured Parties in accordance with the Combined Disclosure Statement and Plan.

             113. “Proof of Claim” means a proof of claim filed pursuant to § 501 of the
Bankruptcy Code or any order of the Bankruptcy Court, together with supporting documents.

                114. “Rejection Bar Date” means the last date for any Entity whose claims arise
out of the Bankruptcy Court approved rejection of an executory contract or unexpired lease to file
a proof of claim for damages related to such rejection unless otherwise ordered by the Court. The
Rejection Bar Date for Claims arising from the rejection of executory contracts and unexpired
leases rejected pursuant to the Combined Disclosure Statement and Plan shall be 30 days after the
Effective Date of the Combined Disclosure Statement and Plan, unless otherwise provided in the
Confirmation Order. For all other rejected executory contracts and unexpired leases, the Rejection
Bar Date shall be the date set forth in the order approving such rejection.

                115. “Released Parties” means, collectively, (a) the Debtors; (b) the Liquidating
Debtors; (c) the Lenders; and (d) each of such Entities’ respective successors and assigns, and
respective current and former shareholders, affiliates, subsidiaries, principals, employees, agents,
officers, including the Responsible Officer, directors, managers, trustees, partners, members,
professionals, representatives, advisors, attorneys, financial advisors, accountants and consultants.

                 116.   “Responsible Officer” means Kyle Sturgeon.

                117. “Schedules” means (a) the schedules of assets and liabilities the Debtors
filed with the Bankruptcy Court pursuant to § 521 of the Bankruptcy Code, the Official Bankruptcy
Forms and the Bankruptcy Rules, as they may be amended and supplemented from time to time,
and (b) the statements of financial affairs the Debtors filed with the Bankruptcy Court pursuant to
§ 521 of the Bankruptcy Code, the Official Bankruptcy Forms, and the Bankruptcy Rules, as they
may be amended and supplemented from time to time.


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                118. “Secured Claim” means any Claim that is secured in whole or part, as of the
Petition Date, by a Lien which is valid, perfected and enforceable under applicable law and is not
subject to avoidance under the Bankruptcy Code or applicable non-bankruptcy law, or subject to
setoff under § 553 of the Bankruptcy Code, to the extent of the value of such Lien or right of setoff
as determined under §§ 506(a) or 1129(b) of the Bankruptcy Code, as applicable.

                119. “Stipulated Plan Value” means, as set forth in the allocation calculated by
the Greenfield Purchaser, (a) as to the assets of Bayou subject to the Greenfield Sale,
$3,805,562.30, of which $859,655.58 remains in escrow pursuant to the terms of the Greenfield
Sale, less any claims against the escrowed amounts under, and pursuant to, the terms of the
Greenfield Sale, (b) as to the assets of LakeProv subject to the Greenfield Sale, $1,245,236.50, of
which 363,376.92 remains in escrow pursuant to the terms of the Greenfield Sale, less any claims
against the escrowed amounts under, and pursuant to, the terms of the Greenfield Sale, and (c) as
to the assets of AMR subject to the Greenfield Sale $10,365,098.70, of which $1,494,817.50
remains in escrow pursuant to the terms of the Greenfield Sale, less any claims against the
escrowed amounts under, and pursuant to, the terms of the Greenfield Sale.

              120. “Subsequent Distribution Date” means any date after the Initial Distribution
Date upon which the Liquidating Debtors make a Distribution to any Holders of Allowed
Administrative, Secured, Priority, or Unsecured Claims.

                121. “Solicitation Procedures Order” means the Bankruptcy Court’s Order (I)
Granting Interim Approval of the Adequacy of Disclosures in the Combined Disclosure Statement
and Plan; (II) Scheduling the Combined Confirmation Hearing and Approving Deadlines Related
Thereto; (III) Approving Solicitation Packages and Procedures; (IV) Approving the Forms of
Ballots; and (V) Granting Related Relief, entered on [●], 2021 [D.I. [●]].

                122. “Tax” means any tax, charge, fee, levy, impost or other assessment by any
federal, state, local, or foreign taxing authority, including, without limitation, income, excise,
property, sales, transfer, employment, payroll, franchise, profits, license, use, ad valorem,
estimated, severance, stamp, occupation and withholding tax. “Tax” shall include any interest or
additions attributable to, imposed on, or with respect to such assessments.

             123. “Tax Claim” means all or that portion of an Allowed Claim held by a
Governmental Unit for a Tax assessed or assessable against the Debtors.

                124. “Third Party Release” shall have the meaning ascribed to it in Section
XIII.E.2 of the Combined Disclosure Statement and Plan.

                125. “Tubbs Claims” means the claims asserted by the Tubbs Parties through
their proofs of claim filed in the Chapter 11 Cases. For the avoidance of doubt, such proofs of
claim are: Claims Nos. 6-9 on the AMR claims register (Case No. 21-11238-CTG); Claim Nos. 1-
4 on the AGMS1 claims register (Case No. 21-11239-CTG); Claim Nos. 3-6 on the AGMS claims
register (Case No. 21-11240-CTG); Claim Nos. 1-4 on the LakeProv claims register (Case No. 21-
11241-CTG); and Claim Nos. 1-4 on the Bayou claims register (Case No. 21-11242-CTG). The
Tubbs Claims are partially secured. The Debtors anticipate objecting to the Claims of the Tubbs
Parties at Bayou, LakeProv, AGMS and AGMS1, such claims are deemed Disputed Claims for all

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purposes under this Combined Disclosure Statement and Plan, this Combined Disclosure
Statement and Plan presumes that such Claims are disallowed for all purposes.

                126. “Tubbs Contribution Amount” means $750,000.00 of the Greenfield Sale
Proceeds that the Prepetition Term Secured Parties agree may be Distributed to fund the Tubbs
Contribution Amount (which amounts would otherwise be Distributed to the Prepetition Term
Secured Parties on account of the Prepetition Term Secured Parties’ Claims) for Pro Rata
distribution to Holders of Allowed Tubbs Claims, provided that the Holders of the Tubbs Claims
unanimously (a) vote in favor of the Combined Disclosure Statement and Plan, (b) do not opt out
of the Combined Disclosure Statement and Plan’s Third Party Release, (c) do not otherwise oppose
the Combined Disclosure Statement and Plan or any provision therein, (d) dismiss with prejudice
the Louisiana Litigation, including all claims and causes of action asserted by the Tubbs Parties
therein, and, to the extent applicable, the Louisiana Transfer Proceedings, and (e) release any and
all claims, obligations, rights, suits, damages, causes of action, remedies, and liabilities whatsoever
that could be asserted by any Tubbs Party against any Released Party as of the Effective Date.

                127. “Tubbs Parties” means the Tubbs Plaintiffs, and all of their direct or indirect
parents, subsidiaries, affiliates, successors, assigns and their respective current and former officers,
directors, principals, partners, members, management, employees, shareholders, trustees, agents,
financial advisors, attorneys, accountants, professionals, advisors and representatives.

             128. “Tubbs Plaintiffs” means Larry Tubbs, Tubbs Rice Dryers, Inc., Chief
Ventures, LLC, and Big River Grain, LLC.

               129. “Tubbs Properties” means the real and personal property at AMR’s
facilities commonly known as the Pioneer Facility, Mer Rouge Facility, and the Monticello
Facility.

                130. “Tubbs Properties Liquidation Event” means the occurrence of all of the
following: (a) the entry of a final order resolving the Adversary Proceeding (Tubbs Parties) and
the expiration of any applicable appeal period; (b) the Debtors’ sale of all or a portion of the Tubbs
Properties, with the Liens of the Holders of Liens on such assets attaching to the proceeds of such
sale in the same order of priority and with the same extent, validity, force, and effect that such
Holders had prior to the consummation of such sale; and (c) entry of a non-appealable judicial
determination as to the Allocated Value (Tubbs Properties – LT); provided, for the avoidance of
doubt, a Tubbs Properties Liquidation Event shall only be deemed to have occurred with respect
to such portion of the Tubbs Properties sold in connection therewith.

                131. “Tubbs Properties Surrender Event” means: (a) the entry of a final order
resolving the Adversary Proceeding (Tubbs Parties) and the expiration of any applicable appeal
period; and (b) the Debtors having (i) surrendered to the Prepetition Secured Parties the portion of
the Tubbs Properties on which the Prepetition Secured Parties hold first-priority Liens, or (ii)
provided the Prepetition Secured Parties a reasonable opportunity to remove or otherwise dispose
of the portion of the Tubbs Properties subject to the Prepetition Secured Parties’ first-priority
Liens.



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                 132. “Tubbs Sale” means any sale of any Debtor’s property that is subject to a
first priority perfected prepetition Lien, mortgage, or encumbrance in favor of the Tubbs Parties.

                133. “Tubbs Sale Order” means any Final Order of the Bankruptcy Court entered
prior to the Effective Date approving any Tubbs Sale.

                 134.   “Tubbs Sale Proceeds” means any proceeds from any Tubbs Sale.

               135. “Tubbs Secured Claims” means the Tubbs Parties’ Secured Claims against
AMR in an aggregate amount equal to the Allocated Value (Tubbs Properties – LT), less any
amounts surcharged by the Debtors pursuant to § 506(c) of the Bankruptcy Code as Allowed
pursuant to a Final Order of the Bankruptcy Court or otherwise agreed by the Debtors in writing
and approved by the Bankruptcy Court at or prior to the Combined Hearing.

              136. “Tubbs Unsecured Deficiency Claims” means the Tubbs Claims less the
amount of the Tubbs Secured Claims.

               137. “Unimpaired Claim” means an unimpaired Claim within the meaning of
§ 1124 of the Bankruptcy Code.

                 138.   “U.S. Trustee” means the Office of the United States Trustee for the District
of Delaware.

                 139.   “Voting Deadline” means [●], 2022 at 4:00 p.m. (prevailing Eastern Time).

               140. “Voting Instructions” means the instructions for voting on the Combined
Disclosure Statement and Plan contained herein and in the Ballots.

               141. “Voting Record Date” means the date fixed by the Bankruptcy Court as of
which the identity of Holders of Claims is set for purposes of determining the Entities entitled to
receive and vote on the Combined Disclosure Statement and Plan.

              142. “Wind-Up” means the process of completing the liquidation and dissolution
of the Liquidating Debtors by the Responsible Officer pursuant to the Combined Disclosure
Statement and Plan and the Confirmation Order.

                                                    II.

                             BACKGROUND AND DISCLOSURES

       On the Petition Date, the Debtors filed voluntary petitions for relief pursuant to chapter 11
of the Bankruptcy Code and, since that date, have operated as debtors in possession pursuant to
§§ 1107 and 1108 of the Bankruptcy Code.




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A.       General Background3

         1.       Corporate Structure

        Debtor AMR, a Delaware limited liability company, is the sole managing member of and
wholly owns AGMS1, a Delaware limited liability company, which, in turn, is the sole managing
member of and wholly owns MS, a Delaware limited liability company, which in turn is the sole
managing member of and wholly owns LakeProv, a Delaware limited liability company, which,
in turn, wholly owns Bayou, an Arkansas corporation.

      The Debtors other than AMR are indirect subsidiaries of non-debtors Holdco and Agspring,
and AMR is an indirect subsidiary of Holdco and a direct subsidiary of Agspring.

                  2.       The Debtors’ Businesses

        The Debtors, historically a leading grain and oilseed handler in Louisiana and Arkansas,
are a family of companies commonly referred to for marketing and management purposes as “Big
River Rice and Grain” (referred to for purposes of this Article II as “Big River”).

       As subsidiaries of Agspring, the Debtors are part of a larger agribusiness and logistics
company formed in August 2012 with the express aim of acquiring, consolidating, and operating
midstream agricultural commodity firms. Between 2012 and 2015, Agspring’s former founders
and equity sponsor created four agribusiness units: three business units focused on commodity
purchasing and one providing logistics broker services.

       From May to August 2013, Agspring spent over $100 million to combine three companies
operating in the Big River region (Tubbs Rice Dryers, Raley Brothers, and Bayou Grain and
Chemical) to form one of these business units: the Debtors’ businesses. The Debtors were
headquartered in Pioneer, Louisiana, with facilities in Delhi, Mer Rouge, Monticello, Lake
Providence, and Crowville, Louisiana, as well as Eudora and Parkdale, Arkansas.

                From their inception in 2012 through 2019, the Debtors provided origination, grain
drying, storage and handling, logistics, marketing and distribution, and risk management for the
region’s crops of soybeans, corn, rice, wheat, and milo. In 2018, the Debtors handled over 42
million bushels of grain and had commercial relationships with major companies including ADM,
Cargill, Foster Farms, and Tyson. The eight locations comprising the Debtors’ property have the
capacity to store over 26 million bushels of grain, and include a barge terminal and loader capable



3
  Further information regarding the Debtors’ business, assets, capital structure, and the circumstances leading to the
filing of these Chapter 11 Cases is set forth in detail in the Declaration of Kyle Sturgeon [D.I. 19], which is
incorporated by reference herein. Copies of the First Day Declaration and all other filings in the Chapter 11 Cases
can be obtained (and viewed) for a fee at the Court’s website at http://www.deb.uscourts.gov. A login identification
and password to the Court’s Public Access to Court Electronic Records (“PACER”) are required to access this
information and can be obtained through the PACER Service Center at http://www.pacer.psc.uscourts.gov. Copies of
the other documents filed in the Chapter 11 Cases also may be examined between the hours of 9:00 a.m. and 4:30 p.m.
(prevailing Eastern Time), Monday through Friday, at the office of the Clerk of the Bankruptcy Court, United States
Bankruptcy Court for the District of Delaware, 824 Market Street, 3rd Floor, Wilmington, Delaware 19801.
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of handling eight barges per day, and a location serviced by Kansas City Southern Railway capable
of loading 25 railcar units of grain daily.

          3.      Prepetition Debt Structure

        The following chart sets forth the Debtors’ funded debt obligations, including guaranties,
as of the Petition Date:4

       Debt Obligation              Original             Approximate            Maturity           Collateral
                                    Principal          Principal Amount
                                    Amount             Outstanding as of
                                                         Petition Date5

    Term Loan (defined         $74,745,480.27          $101,707,347.48          03/31/22      Liens on all
    below), Prepetition                                                                       personal
    Term Agent, as agent,                                                                     property assets
    and LVS and HVS as                                                                        of AMR and
    Prepetition Term                                                                          AGMS1 and on
    Lenders                                                                                   the leasehold
                                                                                              interests of AMR
                                                                                              in the Lake
                                                                                              Providence
                                                                                              lease,
                                                                                              contractually
                                                                                              subordinate to
                                                                                              Liens under
                                                                                              CGB
                                                                                              Documents6 per
                                                                                              Intercreditor
                                                                                              Agreement.




4
  The summaries in the following chart are subject in all respects to the terms set forth in the applicable documents
governing such obligations.
5
  Principal at the Petition Date includes paid in kind interest.
6
  As defined in the Final DIP Order and as used in this Section II.A.3, “CGB Documents” means, collectively, (a) that
certain Promissory Note in the original principal amount of $400,000, issued by the Debtors in favor of CGB and
arising from that certain Purchase Agreement, effective as of June 14, 2019, by and between the Debtors and CGB,
(b) that certain Security Agreement, dated as of June 14, 2019 between the Debtors and CGB, (c) that certain Facility
Lease Agreement, dated as of November 24, 2014 (as amended by that certain First Amendment to Facility Lease
Agreement and as further amended, supplemented or otherwise modified from time to time), between CGB, as
successor lessor to Farm Credit Leasing Services Corporation (“FCLSC”), and AMR, (d) that certain Interim Funding
Agreement (Facility), dated as of November 24, 2014 (as amended, supplemented or otherwise modified from time),
between CGB, as successor to FCLSC, and AMR, (e) that certain Mortgage Security Agreement and Pledge of Rents,
dated as of June 14, 2019, and (f) that certain Lease Agreement, dated as of February 21, 2008 (as amended by that
certain First Amendment to Lease Agreement and as further amended, supplemented or otherwise modified from time
to time), between CGB, as successor to Bayou, and AMR.
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    New Notes (defined        $1,000,000.00          $1,000,000.00            01/1/22       Liens on all
    below), LVS and HVS                                                                     Debtors’
    as separate New Note                                                                    personal
    Lenders.                                                                                property assets,
                                                                                            senior to Liens
                                                                                            of Prepetition
                                                                                            Term Agent and
                                                                                            junior to Liens
                                                                                            under CGB
                                                                                            Documents per
                                                                                            intercreditor
                                                                                            agreements.

    CGB                        $13,438,437.00        $5,500,000               06/14/24      Mortgage on
                                                                                            Lake Providence
                                                                                            Real Property7
                                                                                            and
                                                                                            improvements,
                                                                                            Liens on all
                                                                                            Debtors’
                                                                                            personal
                                                                                            property, senior
                                                                                            to Prepetition
                                                                                            Term Agent and
                                                                                            New Note
                                                                                            Lenders per
                                                                                            Intercreditor
                                                                                            Agreement.

    Tubbs Note (defined        $22,000,000.00        22,000,000.008           09/01/22      Mortgages and
    below)                                                                                  Liens on
                                                                                            personal
                                                                                            property related
                                                                                            to the Tubbs
                                                                                            Properties,
                                                                                            obligations are
                                                                                            disputed.


        The Debtors’ funded debt and guaranties arise principally from (a) the Lake Providence
Lease and CGB Note (defined in Section II.B.2 below), (b) the Prepetition Term Guaranty of the
Prepetition Credit Agreement by AMR and AGMS1, (c) the New Notes (defined below), (d) the
deferred asset purchase price promissory notes and mortgages on the Tubbs Properties issued in
7
  “Real Property” has the meaning ascribed to it in that certain Mortgage, Security Agreement and Pledge of Rents
dated June 14, 2019 between AMR as Mortgagor and CGB as Mortgagee.
8
  The Debtors’ obligations under the Tubbs Note are the subject of dispute and litigation, as described further in
Section I.A.7 below.
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connection with the Big River asset acquisitions from the Tubbs Parties in 2013, and (e) advances
by the Tubbs Parties subsequent to the sale of the Tubbs Properties to the Debtors.

        As set forth above, in 2013, Agspring bought three grain handling businesses in the
Mississippi River Delta, consolidating them as Big River. Most of Big River’s assets as they
existed in 2013 were purchased from the Tubbs Parties for $29.5 million. To finance the
transaction, AMR obtained a $7 million term loan from Larry Tubbs in the form of a promissory
note dated June 26, 2013 (the “Tubbs Note”). Larry Tubbs became CEO of AMR on or about July
1, 2013 and held that position through January 2015. In September 2013 and February 2014, AMR
sought two additional loans from Mr. Tubbs while he was CEO of AMR ($10 million and $5
million), each of which were executed through amendments to the Tubbs Note. Mr. Tubbs has
filed a UCC-1 financing statement against AMR in August 2019 on the personal property and
equipment located on the Tubbs Properties. The Tubbs Note has been in default since October
2018, and the Debtors have not made any payments on the Tubbs Note since that time. Since early
2021, the Debtors have marketed the assets related to the Tubbs Properties through their
investment banker, Piper Sandler & Co. (“Piper”).

        In 2015, Big River entered into the Lake Providence Lease and refinanced certain existing
debt for capital improvements through the Term Loan (defined in Section II.B.1 below), for which
the Prepetition Term Agent is the Agent and HVS and LVS are both Prepetition Term Lenders.
The obligations in respect of the Term Loan include interest under the Term Loan that is paid in
kind by adding such interest to the Term Loan principal balance. The Term Loan has been
amended and supplemented numerous times and at the Petition Date was the subject of a
forbearance agreement whose scheduled termination date was September 30, 2021. More detail
regarding the Term Loan is set forth in the Final DIP Order.

        On September 9, 2021, LVS and HVS together (the “New Note Lenders”) loaned Big River
$1 million for purposes of financing bankruptcy planning and filing to permit the orderly sale of
the Big River assets (the “New Notes”). The New Notes are secured by all of the Debtors’ personal
property. Per intercreditor arrangements among the Prepetition Secured Parties and CGB: (i) the
Prepetition Secured Parties’ Liens on the personal property assets of AMR and AGMS1 are junior
to the Liens of the New Note Lenders and CGB on such assets; (ii) the Prepetition Secured Parties’
Liens on the (i) property owned by LakeProv and Bayou and (ii) LakeProv subleased/subsubleased
premises, each as set forth in the DIP Motion and including improvements and personal property,
are junior to the Liens under the CGB Documents on such assets; and (iii) the Liens of the New
Note Lenders on the Debtors’ personal property assets are junior to the Liens under the CGB
Documents on such assets.

B.      Events Leading to Commencement of the Chapter 11 Cases

        1.       Pre-Petition Liquidity and Operational Concerns

       The Debtors had some early success, including (i) improved operations at the Big River
barge loading facility in Lake Providence, resulting in greater delivery efficiencies for producers
and improved environmental impact, and (ii) upgrading of platform scales to improve the rate at
which grain could be dumped. However, the Debtors’ historically high profit margins from 2012
were not sustainable. As operators of elevators and silos, the Debtors were increasingly subject to

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competition from operators with ties to exporters and lower costs of capital due to their larger
scale, and thus subsequently experienced decreasing profit margins.

        In 2015, the Debtors’ former founders and equity sponsor sold the Debtors and affiliated
nondebtors to American Infrastructure MLP Funds for $272 million (the “2015 Sale”). In relation
thereto, Agspring incurred $80 million in loans (the “Term Loan”), pursuant to the Prepetition
Credit Agreement, which are guaranteed by certain Debtors (AMR and AGMS1) pursuant to the
Prepetition Term Guaranty and secured by pledges of their assets, excluding certain real property
assets of AMR. Agspring suffered significantly lower EBITDA in 2016 than forecasted during
the 2015 Sale process, which resulted in Agspring’s inability to service the significant debt load
taken on to finance the 2015 Sale. Agspring and Holdco are currently pursuing litigation in
Delaware Chancery Court against founders Brad Clark and Randal Linville and former equity
owner NGP X US Holdings LP on fraud theories related to the 2015 Sale.

        After their 2016 fiscal year, the Debtors’ thin profit margins from increased market
competition, combined with their level of debt obligations, made the continued successful
operation of the Debtors unsustainable. Since this time, the Debtors have engaged in multiple
restructurings.

        In addition to the issues raised above, during this same timeframe, the Debtors experienced
additional financial stress as participants in the agribusiness sector in general and grain sector in
particular, which faced continued decline in demand and margins for the Debtors’ products.
Additionally, the larger Agspring family of companies had anticipated opportunities to exploit
certain synergies that ultimately failed to materialize.

         2.      CGB Transaction and Transition of Operations in 2018 and Through Present

        To address the foregoing issues, in 2018, the Debtors entered into an agreement with CGB
to allow CGB to provide managerial and marketing services to the Debtors.

        On December 31, 2018, in anticipation of a possible joint venture, AMR entered into a
capital contribution agreement that contributed, among other things, AMR’s real property interest
in the real property facilities commonly known as the Crowville and Dunn facilities and its equity
interest in Bayou to LakeProv in exchange for the increased value of the equity of AGMS1, which
indirectly owns LakeProv through AGMS. The Prepetition Term Secured Parties held Liens
encumbering the Crowville and Dunn properties at the time of the capital contribution agreement,
which Liens were released following the contribution transaction in or about February 2019. The
joint venture transaction, however, did not come to fruition.

        Subsequently, in June 2019, CGB and Big River entered into (a) a purchase agreement
whereby Big River sold the operational aspects of the business, including the contracts and
inventory, to CGB (the “CGB Purchase Agreement”), (b) two separate five-year leases of land,
grain storage facilities, and other real and personal property to CGB (the “CGB Leases”), and (c)
a number of agreements ancillary to the CGB Purchase Agreement and the CGB Leases (together
with the CGB Purchase Agreement and the CGB Leases, the “CGB Transaction”). Pursuant to
the CGB Transaction, CGB took over all operations formerly conducted by the Debtors, and,
consequently, the Debtors currently have no employees or operations. In conjunction with the

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CGB Transaction, CGB loaned the Debtors $400,000 to allow the Debtors to pay farmers from
whom the Debtors had purchased product. The Debtors issued CGB a note for this amount in
return (the “CGB Note”).

        Later that same year, in late 2019, the Tubbs Plaintiffs filed suit against AMR and certain
nondebtors. The Tubbs Plaintiffs had sold the Tubbs Properties that became part of the Big River
assets in 2013 and received a promissory note in return. The litigation with the Tubbs Plaintiffs is
ongoing, as described in more detail in Section I.A.7 below.

         CGB continues to lease and use the facilities and assets for grain and other crop storage,
processing, handling, shipment, and related operations. Pursuant to the CGB Leases, CGB pays
the Debtors $750,000 per year in rent. The CGB Leases each have a five-year term, with an early
termination option after two years in the event of a sale of a leased property, subject to a right of
first refusal in favor of CGB.

        3.       Initial Turnaround Activities

                 a.     Prepetition Marketing Efforts and Sale Process

         Prior to the Petition Date, the Debtors engaged in substantial efforts to market and solicit
interest in their assets. On January 27, 2021, Holdco, a non-debtor affiliate of the Debtors, engaged
Piper as financial advisor and investment banker to assist the Debtors—as well as other non-debtor
affiliates—with regard to the sale of their respective assets. Specifically, Holdco engaged Piper
to assist in identifying potential purchasers for some or all of Agspring’s and its subsidiaries’
assets, including the Debtors’ assets, and commenced discussions with those potential purchasers.

       In connection therewith, Piper prepared a Confidential Investment Memorandum and
organized an online data site to share information with potential purchasers and, on February 19,
2021, began contacting strategic and financial purchasers.

        In this initial vigorous marketing process, Piper contacted more than 65 potential
purchasers to evaluate their interest in exploring a transaction involving some or all of the Debtors’
assets.

        By March 31, 2021, as a result of its ongoing and broad marketing process, Piper had
received four “Indications of Interest” from potential purchasers for some or all of the Debtors’
assets.

       One bidder, the Greenfield Purchaser, entered into substantive negotiations with the
Debtors for the purchase of the Debtors’ “Big River” assets, which ultimately resulted in the
Purchase Agreement.

                 b.     Appointment of CRO and Commencement of Chapter 11 Cases

       On September 8, 2021, the Debtors appointed Kyle Sturgeon to serve as their Chief
Restructuring Officer (“CRO”) to assist the Debtors in the sale of their assets, to forecast and
manage their liquidity, and to provide advice and recommendations regarding their restructuring.


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        With the ultimate goals of (a) preserving the going-concern value of the Debtors’
businesses for their stakeholders and parties in interest and (b) effectuating an orderly sale process
and liquidation, on the Petition Date, the Debtors filed the Chapter 11 Cases.

C.      The Chapter 11 Cases

       The following is a brief description of certain material events that have occurred during
these Chapter 11 Cases.

        1.       First Day Motions and Orders

       On the Petition Date, in addition to the voluntary petitions for relief filed by the Debtors
under chapter 11 of the Bankruptcy Code, the Debtors also filed the following routine motions and
seeking certain “first day” relief:

                    Debtors’ Motion for Order Directing Joint Administration of Related
Chapter 11 Cases. The Debtors sought entry of an Order directing the joint administration of the
Chapter 11 Cases and consolidation thereof for procedural purposes only [D.I. 2]. On September
13, 2021, the Bankruptcy Court entered an Order granting the relief requested in the motion [D.I.
7].

                       Debtors' Motion Seeking Entry of an Order (I) Authorizing the Debtors to
(A) File a Consolidated List of Creditors in Lieu of Submitting a Separate Mailing Matrix for Each
Debtor, (B) File a Consolidated List of the Debtors' Twenty Largest Unsecured Creditors, and (C)
Redact Certain Personally Identifiable Information for Individual Creditors and Interest Holders
and (II) Granting Related Relief. The Debtors sought entry of an Order relating to the list of
creditors required to be filed at the commencement of the Chapter 11 Cases [D.I. 3]. On September
13, 2021, the Bankruptcy Court entered an Order granting the relief requested in the motion [D.I.
8].

        2.       Employment and Compensation of Debtors’ Professionals and Advisors

         On October 12, 2021, the Bankruptcy Court entered Orders authorizing the Debtors to
retain Dentons US LLP as bankruptcy counsel [D.I. 89] and Pachulski Stang Ziehl & Jones LLP
as bankruptcy co-counsel [D.I. 90]. Additionally, on that same date, the Bankruptcy Court entered
an Order authorizing the Debtors to retain Meru, LLC to provide the Debtors with a CRO and
additional staff, and designating Kyle Sturgeon as CRO [D.I. 88]. On October 25, 2021, the
Bankruptcy Court entered Orders authorizing the Debtors to retain Piper as investment banker
[D.I. 128] and Faegre Drinker Biddle & Reath LLP as special corporate, transactional, and
litigation counsel [D.I. 129].

       On October 15, 2021, overruling a limited objection by the Tubbs Plaintiffs [D.I. 80], the
Bankruptcy Court entered an Order establishing procedures for interim compensation and
reimbursement of expenses of the Debtors’ retained professionals [D.I. 112].




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        3.       Administrative Matters, Reporting and Disclosures

       The Debtors were required to address the various administrative matters attendant to the
commencement of these Chapter 11 Cases, which required an extensive amount of work by the
Debtors’ employees and their professionals. These matters included the preparation of the
Schedules for each of the Debtors’ five Chapter 11 Cases (see, e.g., D.I. 43-52, 229), and
preparation of the materials required by the U.S. Trustee.

         The Debtors have made every effort to comply with their duties under §§ 521, 1106 and
1107 and all applicable U.S. Trustee guidelines, including the filing of the Debtors’ monthly
operating reports. See D.I. 121-25, 189-93, 208-12, 233-37, 255-59. The Debtors also attended
their initial interview with the U.S. Trustee and the meeting of creditors required under § 341(a).

        4.       Post-Petition Financing

        On October 14, 2021, the Debtors filed the DIP Motion, and a declaration of the Debtors’
CRO in support thereof [D.I. 98]. The DIP Motion requested the Bankruptcy Court to, among
other things, authorize the Debtors to use “cash collateral,” as such term is defined in the § 363 of
the Bankruptcy Code and enter into a back-up financing facility with the Lenders to fund the
administrative expenses of the Chapter 11 Cases, including the fees payable to the U.S. Trustee,
costs such as property taxes and insurance, plus the fees and expenses of professionals through the
conclusion of the sale process of the Debtors’ assets. The Bankruptcy Court entered an Order
granting the relief requested in the motion on November 4, 2021 [D.I. 174]. On November 15,
2021, the Bankruptcy Court entered a further Order [D.I. 185] approving a related stipulation [D.I.
184] among the Debtors and DIP Lenders for the establishment of a deposit account to receive the
proceeds of the facility approved by the Final DIP Order.

        The Final DIP Order includes, among other things, certain findings, stipulations, and
releases as to the validity of the Term Loan that became binding on all parties in interest on January
19, 2022. These findings, stipulations, and releases include:

                that the Term Loan was an extension of loans and other financial accommodations
                 by the Term Lenders to Agspring which was guaranteed by AMR and AGMS1;

                that the “Prepetition Obligations [including the Term Loan] constitute legal, valid,
                 binding, and non-avoidable obligations of the Debtors enforceable in accordance
                 with the terms of the applicable Prepetition Loan Documents, as applicable”;

                that “no offsets, challenges, objections, defenses, claims or counterclaims of any
                 kind or nature to any of the Prepetition Liens or Prepetition Obligations exist, and
                 no portion of the Prepetition Liens or Prepetition Obligations (or any payment made
                 in respect of any thereof) is subject to any challenge or defense, including, without
                 limitation, avoidance, disallowance, disgorgement, recharacterization, or
                 subordination (equitable or otherwise) pursuant to the Bankruptcy Code or other
                 applicable law”; and

                a complete release of claims against all Prepetition Secured Parties and their
                 affiliates relating to and/or otherwise in connection with the Prepetition Liens, the
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                 Prepetition Obligations, the Prepetition Loan Documents or the debtor-creditor
                 relationship between any of the Prepetition Secured Parties, on the one hand, and
                 any of the Debtors, on the other hand, subject only to a 75-day challenge period
                 that expired on January 19, 2022 without any party in interest having filed a
                 challenge.

       On February 11, 2022, the Debtors filed the Adequate Protection Motion. Following a
hearing, the Court overruled the Tubbs Parties’ objection to the Adequate Protection Motion, and
on March 2, 2022, entered the Adequate Protection Order.

       On March 16, 2022, the Tubbs Parties filed a notice of appeal of the Adequate Protection
Order to the U.S. District Court for the District of Delaware, which was docketed as Bankruptcy
Court Appeal (BAP) No. 21-26 and, subsequently, District Court Civil Action No. 22-cv-338. The
case has been referred to a U.S. Magistrate Judge to determine the appropriateness of mediation.
No briefing schedule has been set.

       On March 17, 2022, the Prepetition Term Lenders commenced the Adversary Proceeding
(Tubbs Parties), Case No. 22-50235-CTG, against the Tubbs Parties by filing a complaint in the
Bankruptcy Court [D.I. 310]. The Prepetition Term Lenders seek a declaratory judgment under
Bankruptcy Rule 7001(9) seeking a determination as to the validity, priority, and extent of the
Tubbs Parties’ Liens on certain property of the Debtors.

        5.       Claims Process and Bar Date

                 a.     Section 341(a) Meeting of Creditors

       On October 21, 2021, the U.S. Trustee presided over the § 341(a) meeting of creditors in
the Chapter 11 Cases [D.I. 120].

        No committee of unsecured creditors was appointed in the Chapter 11 Cases [D.I. 41].

                 b.     Schedules and Statements

       The Debtors filed with the Bankruptcy Court their Schedules on September 27, 2021 [D.I.
43-52, 229].

                 c.     Bar Date

        On December 1, 2021, the Debtors filed the Debtors' Motion For Entry Of An Order (I)
Setting Bar Dates For Filing Proofs Of Claim, Including Requests For Payment Under Section
503(B)(9), (II) Setting A Bar Date For the Filing Of Proofs Of Claim By Governmental Units, (III)
Setting A Bar Date For the Filing Of Requests For Allowance Of Administrative Expense Claims,
(IV) Establishing Amended Schedules Bar Date And Rejection Damages Bar Date, (V) Approving
the Form Of And Manner For Filing Proofs Of Claim, (VI) Approving Notice Of Bar Dates, and
(VII) Granting Related Relief [D.I. 194], seeking entry of an Order establishing the Bar Dates,
including the General Claims Bar Date and an initial Administrative Claims Bar Date. The
Bankruptcy Court entered the Bar Date Order, which granted the relief requested in the motion,
on December 13, 2021 [D.I. 199].

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        6.       Postpetition Sale Process

                 a.     “Big River” Assets (Greenfield Sale)

        On September 30, 2021, the Debtors filed a motion to approve the Greenfield Sale with the
Bankruptcy Court [D.I. 61] (the “Greenfield Sale Motion”), and a declaration by their investment
banker in support thereof [D.I. 62]. The Greenfield Sale Motion sought (i) approval of the bid
procedures in connection with the Greenfield Sale and (ii) approval of the APA with the Greenfield
Purchaser, dated September 29, 2021, as the stalking horse bidder for the “Big River” assets for a
purchase price of $30,500,000 in cash, subject to certain purchase price adjustments as well as
certain bid protections, plus the aggregate fair market value of the assumed liabilities.

       No objections were received to the bid procedures portion of the relief requested in the
Greenfield Sale Motion, and on October 14, 2021, the Bankruptcy Court entered an Order
approving such relief [D.I. 103] (the “Bidding Procedures Order”).

       Pursuant to such Order, the Debtors were to conduct an Auction by October 25, 2021 if
they received any qualified bids other than the bids submitted by the Greenfield Purchaser. The
Debtors solicited but did not receive any additional qualified bids for the Greenfield Sale assets.
On October 26, 2021, the Debtors canceled the Auction [D.I. 131].

        On October 27, 2021, the Tubbs Plaintiffs filed a limited objection to the Greenfield Sale
[D.I. 135, 143], to which the Debtors filed a reply on November 1, 2021 [D.I. 160].

        On November 2, 2022, the Debtors and the Greenfield Purchaser filed declarations in
further support of the sale portion of the Greenfield Sale Motion [D.I. 162, 168].

        The Bankruptcy Court held a hearing to consider the Greenfield Sale on November 3, 2021,
at the conclusion of which the Bankruptcy Court approved the Greenfield Sale to the Greenfield
Purchaser, as reflected in its Order entered on November 4, 2021 [D.I. 179].

       The Greenfield Sale closed on December 14, 2021. The Debtors received approximately
$18.6 million in Greenfield Sale Proceeds, which constitute the Prepetition Secured Parties’ Cash
Collateral.

                 b.     Other Assets (Tubbs Sale)

       The Debtors continue to evaluate the sale of their remaining assets, including the Tubbs
Properties through a Tubbs Sale. Over the last few months, the Debtors have negotiated an asset
purchase agreement with a stalking horse bidder for a sale of the Mer Rouge property. The
Debtors intend to file the related sale motion shortly.

       Recently, on March 16, 2022, the Tubbs Parties filed a second motion in the Chapter 11
Cases for relief from the automatic stay, pursuant to § 362(d) of the Bankruptcy Code [D.I. 297]
(the “Second Tubbs Stay Relief Motion”), which relates to the Debtors’ Mer Rouge, Pioneer, and
Monticello properties. Given the foregoing, the Debtors intend to oppose the Second Tubbs Stay
Relief Motion as these properties are essential to a successful reorganization.


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        7.       Tubbs Litigation and Related Chapter 11 Filings

       In addition to their participation in the Chapter 11 Cases through their various objections,
the Tubbs Plaintiffs have sought the following relief in and out of the Chapter 11 Cases as follows:

                 a.     Louisiana Litigation and the Lift Stay Motions

        On September 30, 2019, the Tubbs Plaintiffs filed suit (the “Louisiana Litigation”) in the
Sixth Judicial District Court, Parish of Madison, State of Louisiana (the “Louisiana State Court”),
Case No. 19-198, against Debtors AMR and LakeProv, Agspring, Pacific Investment Management
Company LLC, and other defendants with regard to the Tubbs Note. The Louisiana Litigation was
stayed by the filing of the Chapter 11 Cases. On the Petition Date, the Debtors removed the
Louisiana Litigation to the U.S. District Court for the Western District of Louisiana (the
“Louisiana District Court”), Case No. 3:21-cv-03268-TAD-KDM.

         On October 8, 2021, the Tubbs Plaintiffs filed a motion in the Chapter 11 Cases for limited
relief from the automatic stay, pursuant to § 362(d) of the Bankruptcy Code, to proceed with the
Louisiana Litigation [D.I. 81] (the “First Tubbs Stay Relief Motion”). Both the Debtors [D.I. 136]
and Lenders [D.I. 138] opposed the First Tubbs Stay Relief Motion on October 27, 2021. The
Tubbs Plaintiffs filed their reply on November 1, 2021 [D.I. 159]. On November 3, 2021, the
Bankruptcy Court held a hearing to consider the First Tubbs Stay Relief Motion, which it denied
without prejudice, as reflected in its Order entered on November 4, 2021 [D.I. 178].

        On October 8, 2021, the Tubbs Plaintiffs filed a motion to remand the Louisiana Litigation
to the Louisiana State Court, which motion the Debtors opposed. The Debtors filed a motion to
transfer venue of the Louisiana Litigation from the Louisiana District Court to the Bankruptcy
Court (the “Louisiana Transfer Proceedings”), which the Tubbs Plaintiffs opposed. The Louisiana
District Court has not yet ruled on either motion.

        On March 16, 2022, the Tubbs Plaintiffs filed the Second Stay Relief Motion. Objections
to the Second Tubbs Stay Relief Motion are due March 23, 2022, with a hearing scheduled for
March 30, 2022. The Debtors intend to oppose the Second Stay Relief Motion for the reasons set
forth in Section I.A.6.b above relating to the Tubbs Sale, as well as that the Second Tubbs Stay
Relief Motion appears to be an attempted end-run against the Bankruptcy Court’s denial of the
First Tubbs Stay Relief Motion.

                 b.     Request for Adequate Protection

       On October 27, 2021, the Tubbs Plaintiffs filed a motion to prohibit or condition the
Debtors’ use of cash collateral or for adequate protection pursuant to § 363(e) of the Bankruptcy
Code [D.I. 137] (the “Tubbs AP Motion”).

       On November 4, 2021, the Tubbs Plaintiffs filed a notice of deposition and request for the
production of documents [D.I. 177].

        On December 6, 2021, the Tubbs Plaintiffs withdrew the Tubbs AP Motion [D.I. 197].



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        8.       Other Litigation

        The Debtors recognize the possibility that they may become aware of additional actions
following their review of proofs of claim filed in these Chapter 11 Cases, at which point the
Debtors will need to analyze such potential actions to determine whether to remove any such
Actions. Accordingly, on December 6, 2021, the Debtors filed a motion to extend their deadline
to remove actions [D.I. 196], which the Bankruptcy Court granted on January 5, 2022 [D.I. 222],
extending the deadline to March 9, 2022. On March 7, 2022, the Debtors filed a motion to further
extend the removal deadline by an additional 90 days [D.I. 288]. Pursuant to Local Rule 9006-2,
the previous removal deadline was automatically extended until the Bankruptcy rules on the recent
motion.

                                                   III.

  SUMMARY OF COMBINED DISCLOSURE STATEMENT AND PLAN STRUCTURE

        The Plan provides for, among other things:

            100% recoveries for all Allowed Claims at Bayou, LakeProv, and AGMS, and 100%
             recoveries for all Allowed Claims, other than the Claims of the Prepetition Term
             Secured Parties, at AGMS1;

            Equity Interest Distributions by Bayou, LakeProv, AGMS, and AGMS1 to their
             respective Equity Interest Holders;

            98% recoveries paid from the GUC Contribution Amount for Allowed General
             Unsecured Claims at AMR, subject to the terms of the Combined Disclosure Statement
             and Plan; and

            Pro rata distribution of the Tubbs’ Contribution Amount to each Holder of an Allowed
             Tubbs Parties’ Unsecured Deficiency Claim, subject to the terms of the Combined
             Disclosure Statement and Plan.

       The Combined Disclosure Statement and Plan is a joint plan proposed by the Plan
Proponents. Except as specifically set forth herein, nothing in the Combined Disclosure Statement
and Plan shall constitute or be deemed to constitute an admission that any one of the Debtors is
subject to or liable for any Claim against any other Debtor. Additionally, Claimants holding
Claims against multiple Debtors, to the extent such Claims are Allowed in each Debtor’s Chapter
11 Case, will be treated as Holders of separate Claims against each applicable Estate for all
purposes (including, but not limited to, voting and distributions); provided, however, that no
Holder shall be entitled to receive more than payment in full of its Allowed Claim (plus
postpetition interest, if and to the extent provided in the Combined Disclosure Statement and Plan),
and such Claims will be administered and treated in the manner provided in the Combined
Disclosure Statement and Plan.




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       Classification, treatment, and estimated recoveries under this Combined Disclosure
Statement and Plan structure are summarized in Article IV below and set forth in Article VIII of
this Combined Disclosure Statement and Plan.

        1.       Greenfield Sale

        The Combined Disclosure Statement and Plan proposes distributions to holders of Allowed
claims from proceeds of the Greenfield Sale in accordance with the Stipulated Plan Value, as
defined in Section I.B.119, which is based on the allocation provided by the Greenfield Purchaser.
This Stipulated Plan Value maximizes value by avoiding the need for the Debtors to incur the cost
of proving the allocation of the Greenfield Sale Proceeds among the sellers to the Greenfield Sale
(Bayou, LakeProv and AMR), as the Prepetition Term Secured Parties are entitled to such proceeds
under any allocation by virtue of (a) their first-priority Lien on AMR’s Greenfield Sale Proceeds,
(b) their Prepetition Term Loan Claim against AMR and AGMS1 in respect of the Prepetition
Term Guaranty, and (c) the fact that the Combined Disclosure Statement and Plan provides for the
payment in full of all other Allowed Claims at Bayou, LakeProv, AGMS, and AGMS1.

        To the extent any Greenfield Sale Proceeds are allocated to AMR, the Prepetition Term
Secured Parties are entitled to the proceeds thereof by virtue of their first-priority Lien on the assets
of AMR sold through the Greenfield Sale. To the extent Greenfield Sale Proceeds are allocated to
Bayou or LakeProv (i.e., the entities furthest down in the Debtors’ organizational chart), such
proceeds will be used to satisfy all Allowed Claims at Bayou, LakeProv, AGMS and AGMS1
(other than the Prepetition Term Loan Claim at AGMS1). Any remaining value after satisfying
all other Allowed Claims at these Debtors will then be distributed in respect of the Prepetition
Term Loan Claim, less any applicable Plan Contribution Amount.

        No party-in-interest is prejudiced by the Debtors and Prepetition Term Secured Parties
stipulating as to the allocation of the Greenfield Sale Proceeds. As noted above, if the value is
allocated to AMR, the Prepetition Term Secured Parties are entitled to such value by virtue of the
Prepetition Term Loan Claim against AMR and first-priority Lien on AMR’s Greenfield Sale
Proceeds. If the value is allocated below AMR, such value will first be used to satisfy all Allowed
Claims at the Debtors below AMR before being distributed at AGMS1 in respect of the Prepetition
Term Loan Claim at AGMS1.

        2.       Tubbs Properties

        The Tubbs Parties assert a first-priority, validly perfected security interest in the land, grain
elevator facilities, and their component parts on the Tubbs Properties. Second Tubbs Stay Relief
Motion (as defined in Section I.A.6.b), ¶16, at 6. The Combined Disclosure Statement and Plan
proposes to either sell or surrender the Tubbs Properties to the Tubbs Parties subject to the terms
in the Combined Disclosure Statement and Plan. The Prepetition Secured Parties have asserted
through the Adversary Proceeding (Tubbs Parties) that they have a first-priority Lien on the
personal property used at the Tubbs Properties, and that, if the Tubbs Parties want to have that
collateral surrendered to them, the Tubbs Parties must first pay the Prepetition Secured Parties for
the value of the personal property. However, the Tubbs Parties assert that they have a first-priority
Lien on the same personal property. Id., ¶17, at 6. Thus, the Debtors’ surrender of the Tubbs
Properties will be contingent on: (a) resolution of the competing Liens on the personal property

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either by the Bankruptcy Court or by agreement of the competing parties, or (b) escrow by the
Tubbs Parties of funds equal to the Allocated Value (Tubbs Properties – PSP) pending resolution
of the competing Liens on the personal property by the Bankruptcy Court or by agreement of the
competing parties.

                                                           IV.

    SUMMARY OF CLASSIFICATION, TREATMENT, AND ESTIMATED RECOVERY
                   OF CLAIMS AND EQUITY INTERESTS

        The following tables provide a summary of classification, treatment, and an estimate of the
recoveries9 of each Class of Claims and Equity Interests (other than Administrative Claims and
Priority Tax Claims) in each of the Debtors for all purposes, including voting, Confirmation and
Distribution (if any) pursuant to the Combined Disclosure Statement and Plan and pursuant to
§§ 1122 and 1123(a)(1) of the Bankruptcy Code. The treatment provided in these tables is for
informational purposes only and is qualified in its entirety by Article VIII of this Combined
Disclosure Statement and Plan.

       The following tables designate the Classes of Claims against and Equity Interests in each
of the Debtors, and specifies which of those Classes are (i) Impaired or Unimpaired by the
Combined Disclosure Statement and Plan, (ii) entitled to vote to accept the Combined Disclosure
Statement and Plan in accordance with § 1126 of the Bankruptcy Code, (iii) deemed to reject the
Combined Disclosure Statement and Plan, or (iv) deemed to accept the Combined Disclosure
Statement and Plan.

A.       Bayou Grain & Chemical Corporation (Bayou)

Class                 Combined Disclosure Statement and Plan                         Estimated      Status;
                      Treatment                                                      Amount of      Voting
                                                                                     Allowed Claims Right

                                                                                     Projected
                                                                                     Recovery
Class 1 – Priority    Each Holder of an Allowed Priority Non-Tax Claim                                    Unimpaired;
Non-Tax Claims        shall receive, in full and final satisfaction of such                               Deemed to
                      Allowed Priority Non-Tax Claim: (i) Cash in the                                     Accept;
                                                                                             $0
                      amount of such claim, as soon as practicable following                              Not Entitled
                      the later of: (a) the Effective Date and (b) the date such                          to Vote
                                                                                           100%
                      Priority Non-Tax Claim becomes an Allowed Claim; or
                      (ii) such other treatment as may be agreed by the
                      Debtors and such Holder.


9
  These amounts represent estimated Allowed Claims, and do not represent amounts actually asserted by Creditors in
proofs of claim or otherwise. The Debtors have not completed their analysis of Claims in the Chapter 11 Cases and
objections to such Claims have not been fully litigated. Therefore, there can be no assurances of the exact amount of
the Allowed Claims at this time. Rather, the actual amount of the Allowed Claims may be greater or lower than
estimated.


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Class 2 –              The Prepetition Bridge Lenders shall receive their Pro                               Unimpaired;
Prepetition Bridge     Rata share of all Allocated Value (Greenfield Sale)                                  Deemed to
Lenders’ Secured       allocated to Bayou in satisfaction of their Prepetition                              Accept;
Claims                 Bridge Loan Claims (and adequate protection claims of                                Not Entitled
                       the Prepetition Bridge Lenders, if any), less any                                    to Vote
                       amounts Distributed to the Holders of Allowed Claims
                       in Classes 1 and 3 in order to satisfy the treatment of
                       those Classes, in an amount not to exceed in the                $1,067,750.0010
                       aggregate, together with all other distributions to the
                       Prepetition Bridge Lenders under this Combined                        100%
                       Disclosure Statement and Plan, the amount of the
                       Prepetition Bridge Loan Claims. For the avoidance of
                       doubt, amounts paid to the Prepetition Bridge Lenders
                       from other Debtors in respect of the Prepetition Bridge
                       Loan Claims (and adequate protection claims of the
                       Prepetition Bridge Lenders, if any) shall reduce the
                       amounts payable hereunder, and vice versa.
Class 3 – General Each Holder of an Allowed General Unsecured Claim                                         Unimpaired;
Unsecured Claims shall be paid in full and final satisfaction of such                          $0           Deemed to
                  Allowed General Unsecured Claim in accordance with                                        Accept;
                  the instruments governing the Allowed General                              100%           Not Entitled
                  Unsecured Claim.                                                                          to Vote
Class 4 – Equity       To the extent of any Distributed Value after full and                                Impaired;
Interests              final satisfaction of all Allowed Claims in Bayou’s                                  Entitled to
                                                                                        $3,037,812.30
                       Classes 1-3, such value shall be dividended up to                                    Vote
                       Bayou’s sole shareholder, LakeProv.




10
  The Debtors are jointly and severally liable to the Prepetition Bridge Lenders in the amount of $1,067,750.00, and,
as such, the Prepetition Bridge Lenders hold Allowed Claims against each Debtor in the amount of $1,067,750.00.
To avoid duplicative Distributions by any Debtor, the amount of this Class 2 Allowed Claim is reduced by the amount
of Distributions made in respect of any other Debtor’s Class 2 Allowed Claims. It is anticipated that all Distributions
in respect of the Prepetition Bridge Loan Claims shall be made by Bayou.
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B.       Lake Providence Grain and Rice LLC (LakeProv)

Class                  Combined Disclosure Statement and Plan                          Estimated          Status /
                       Treatment                                                       Amount of          Voting
                                                                                       Allowed            Right
                                                                                       Claims

                                                                                       Projected
                                                                                       Recovery
Class 1 – Priority     Each Holder of an Allowed Priority Non-Tax Claim                                   Unimpaired;
Non-Tax Claims         shall receive, in full and final satisfaction of such                              Deemed to
                       Allowed Priority Non-Tax Claim: (i) Cash in the                                    Accept;
                                                                                              $0
                       amount of such claim, as soon as practicable following                             Not Entitled
                       the later of: (a) the Effective Date and (b) the date such                         to Vote
                                                                                            100%
                       Priority Non-Tax Claim becomes an Allowed Claim; or
                       (ii) such other treatment as may be agreed by the
                       Debtors and such Holder.
Class 2 –              To the extent the Prepetition Bridge Loan Claims (and                              Unimpaired;
Prepetition Bridge     any adequate protection claims, if any) are not fully                              Deemed to
Lenders’ Secured       satisfied by Bayou, the Prepetition Bridge Lenders                                 Accept;
Claims                 shall receive their Pro Rata share of (a) all Allocated                            Not Entitled
                       Value (Greenfield Sale) allocated to LakeProv, and (b)                             to Vote
                       all Distributed Value dividended up by Bayou to
                       LakeProv in satisfaction of their Prepetition Bridge
                       Loan Claims (and any adequate protection claims, if
                       any), less any amounts Distributed to the Holders of
                       Allowed Claims in Classes 1 and 3 in order to satisfy                 $011
                       the treatment of those Classes, in an amount not to
                       exceed in the aggregate, together with all other                     100%
                       distributions to the Prepetition Bridge Lenders under
                       this Combined Disclosure Statement and Plan, the
                       amount of the Prepetition Bridge Loan Claims. For the
                       avoidance of doubt, amounts paid to the Prepetition
                       Bridge Lenders from other Debtors in respect of the
                       Prepetition Bridge Loan Claims (and adequate
                       protection claims of the Prepetition Bridge Lenders, if
                       any) shall reduce the amounts payable hereunder, and
                       vice versa.




11
  The Debtors are jointly and severally liable to the Prepetition Bridge Lenders in the amount of $1,067,750.00, and,
as such, the Prepetition Bridge Lenders hold Allowed Claims against each Debtor in the amount of $1,067,750.00.
To avoid duplicative Distributions by any Debtor, the amount of this Class 2 Allowed Claim is reduced by the amount
of Distributions made in respect of any other Debtor’s Class 2 Allowed Claims. It is anticipated that all Distributions
in respect of the Prepetition Bridge Loan Claims shall be made by Bayou.
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Class 3 – General Each Holder of an Allowed General Unsecured Claim                                Unimpaired;
Unsecured Claims shall be paid in full and final satisfaction of such                    $0        Deemed to
                  Allowed General Unsecured Claim in accordance with                               Accept;
                  the instruments governing the Allowed General                         100%       Not Entitled
                  Unsecured Claim.                                                                 to Vote
Class 4 – Equity      To the extent of any Distributed Value after full and                       Impaired;
Interests             final satisfaction of all Allowed Claims in LakeProv’s                      Entitled to
                                                                                    $4,646,425.72
                      Classes 1-3, such value shall be dividended up to its                       Vote
                      sole member, AGMS.

C.      Agspring MS, LLC (AGMS)

Class                 Combined Disclosure Statement and Plan                        Estimated      Status /
                      Treatment                                                     Amount of      Voting
                                                                                    Allowed        Right
                                                                                    Claims

                                                                                    Projected
                                                                                    Recovery
Class 1 – Priority    Each Holder of an Allowed Priority Non-Tax Claim                             Unimpaired;
Non-Tax Claims        shall receive, in full and final satisfaction of such                        Deemed to
                      Allowed Priority Non-Tax Claim: (i) Cash in the                              Accept;
                                                                                         $0
                      amount of such claim, as soon as practicable following                       Not Entitled
                      the later of: (a) the Effective Date and (b) the date such                   to Vote
                                                                                        100%
                      Priority Non-Tax Claim becomes an Allowed Claim; or
                      (ii) such other treatment as may be agreed by the
                      Debtors and such Holder.




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Class 2 –              To the extent the Prepetition Bridge Loan Claims (and                              Unimpaired;
Prepetition Bridge     any adequate protection claims, if any) are not fully                              Deemed to
Lenders’ Secured       satisfied by Bayou or LakeProv, the Prepetition Bridge                             Accept;
Claims                 Lenders shall receive their Pro Rata share of all                                  Not Entitled
                       Distributed Value dividended up by LakeProv to                                     to Vote
                       AGMS in satisfaction of their Prepetition Bridge Loan
                       Claims (and any adequate protection claims, if any),
                       less any amounts Distributed to the Holders of Allowed
                       Claims in Classes 1 and 3 in order to satisfy the                     $012
                       treatment of those Classes, in an amount not to exceed
                       in the aggregate, together with all other distributions to           100%
                       the Prepetition Bridge Lenders under this Combined
                       Disclosure Statement and Plan, the amount of the
                       Prepetition Bridge Loan Claims. For the avoidance of
                       doubt, amounts paid to the Prepetition Bridge Lenders
                       from other Debtors in respect of the Prepetition Bridge
                       Loan Claims (and adequate protection claims of the
                       Prepetition Bridge Lenders, if any) shall reduce the
                       amounts payable hereunder, and vice versa.
Class 3 – General Each Holder of an Allowed General Unsecured Claim                                       Unimpaired;
Unsecured Claims shall be paid in full and final satisfaction of such                         $0          Deemed to
                  Allowed General Unsecured Claim in accordance with                                      Accept;
                  the instruments governing the Allowed General                             100%          Not Entitled
                  Unsecured Claim.                                                                        to Vote
Class 4 – Equity       To the extent of any Distributed Value after full and                         Impaired;
Interests              final satisfaction of all Allowed Claims in AGMS’s                            Entitled to
                                                                                       $4,646,425.72
                       Classes 1-3, such value shall be dividended up to its                         Vote
                       sole member, AGMS1.




12
  The Debtors are jointly and severally liable to the Prepetition Bridge Lenders in the amount of $1,067,750.00, and,
as such, the Prepetition Bridge Lenders hold Allowed Claims against each Debtor in the amount of $1,067,750.00.
To avoid duplicative Distributions by any Debtor, the amount of this Class 2 Allowed Claim is reduced by the amount
of Distributions made in respect of any other Debtor’s Class 2 Allowed Claims. It is anticipated that all Distributions
in respect of the Prepetition Bridge Loan Claims shall be made by Bayou.
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D.       Agspring MS 1, LLC (AGMS1)

Class                  Combined Disclosure Statement and Plan                          Estimated      Status;
                       Treatment                                                       Amount of      Voting
                                                                                       Allowed Claims Right

                                                                                       Projected
                                                                                       Recovery
Class 1 – Priority     Each Holder of an Allowed Priority Non-Tax Claim                                     Unimpaired;
Non-Tax Claims         shall receive, in full and final satisfaction of such                                Deemed to
                       Allowed Priority Non-Tax Claim: (i) Cash in the                                      Accept;
                                                                                               $0
                       amount of such claim, as soon as practicable following                               Not Entitled
                       the later of: (a) the Effective Date and (b) the date such                           to Vote
                                                                                             100%
                       Priority Non-Tax Claim becomes an Allowed Claim; or
                       (ii) such other treatment as may be agreed by the
                       Debtors and such Holder.
Class 2 –              To the extent the Prepetition Bridge Loan Claims (and                                Unimpaired;
Prepetition Bridge     any adequate protection claims, if any) are not fully                                Deemed to
Lenders’ Secured       satisfied by Bayou, LakeProv, or AGMS, the                                           Accept;
Claims                 Prepetition Bridge Lenders shall receive their Pro Rata                              Not Entitled
                                                                                              $013
                       share of all Distributed Value dividended up by AGMS                                 to Vote
                       to AGMS1 in satisfaction of their Prepetition Bridge
                                                                                             100%
                       Loan Claims (and any adequate protection claims, if
                       any), less any amounts Distributed to the Holders of
                       Allowed Claims in Classes 1 and 4 in order to satisfy
                       the treatment of those Classes.
Class 3 –             The Prepetition Term Secured Parties shall receive on                                 Impaired;
Prepetition Term      account of their Allowed Prepetition Term Secured                                     Entitled to
Secured Parties’      Parties’ Secured AGMS1 Claim an amount equal to all                                   Vote
Secured Claims        Distributed Value dividended up by AGMS to AGMS1,
                                                                                        $4,646,425.72
                      less (i) the amount of AGMS1’s Distributions to
                      Classes 1, 2, and 4 at AGMS1, and (ii) the Plan
                                                                                            10-40%
                      Contribution Amount, which shall be separately
                      dividended to AMR and then “gifted” to support the
                      Combined Disclosure Statement and Plan and deducted
                      from the distributions to Class 3 at AMR.14




13
   The Debtors are jointly and severally liable to the Prepetition Bridge Lenders in the amount of $1,067,750.00, and,
as such, the Prepetition Bridge Lenders hold Allowed Claims against each Debtor in the amount of $1,067,750.00.
To avoid duplicative Distributions by any Debtor, the amount of this Class 2 Allowed Claim is reduced by the amount
of Distributions made in respect of any other Debtor’s Class 2 Allowed Claims. It is anticipated that all Distributions
in respect of the Prepetition Bridge Loan Claims shall be made by Bayou.
14
   The Plan Proponents anticipate that all or a substantial portion of the Distributed Value dividended up from AGMS
to AGMS1 will be utilized to fund the Plan Contribution Amount.
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Class 4 – General Each Holder of an Allowed General Unsecured Claim                                      Unimpaired;
Unsecured Claims shall be paid in full and final satisfaction of such                        $0          Deemed to
                  Allowed General Unsecured Claim in accordance with                                     Accept;
                  the instruments governing the Allowed General                            100%          Not Entitled
                  Unsecured Claim.                                                                       to Vote
Class 5 – Equity        After full and final satisfaction of all Allowed Claims                          Impaired;
Interests               in AGMS1’s Classes 1, 2, and 4, and the treatment of                             Entitled to
                                                                                       $2,787,855.43 -
                        all Allowed Claims in AGMS1’s Class 3, value equal                               Vote
                                                                                        $4,181,783.15
                        to the Plan Contribution Amount shall be dividended
                        up to AGMS1’s sole member, AMR.15

E.         Agspring Mississippi Region, LLC (AMR)

Class                   Combined Disclosure Statement and Plan                        Estimated          Status;
                        Treatment                                                     Amount of          Voting
                                                                                      Allowed            Right
                                                                                      Claims

                                                                                      Projected
                                                                                      Recovery
Class 1 – Priority      Each Holder of an Allowed Priority Non-Tax Claim                                 Unimpaired;
Non-Tax Claims          shall receive, in full and final satisfaction of such                            Deemed to
                        Allowed Priority Non-Tax Claim: (i) Cash in the                                  Accept;
                                                                                            $0
                        amount of such claim, as soon as practicable following                           Not Entitled
                        the later of: (a) the Effective Date and (b) the date such                       to Vote
                                                                                           100%
                        Priority Non-Tax Claim becomes an Allowed Claim; or
                        (ii) such other treatment as may be agreed by the
                        Debtors and such Holder.




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     See note 14.
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Class 2 –              To the extent the Prepetition Bridge Loan Claims (and                               Unimpaired;
Prepetition Bridge     any adequate protection claims, if any) are not fully                               Deemed to
Lenders’ Secured       satisfied by Bayou, LakeProv, AGMS, or AGMS1, the                                   Accept;
Claims                 Prepetition Bridge Lenders shall receive their Pro Rata                             Not Entitled
                       share of all Allocated Value (Greenfield Sale) allocated                            to Vote
                       to AMR in respect of personal property in satisfaction
                       of their Prepetition Bridge Loan Claims (and adequate
                       protection claims of the Prepetition Bridge Lenders, if
                                                                                             $016
                       any) in an amount not to exceed in the aggregate,
                       together with all other distributions to the Prepetition
                                                                                            100%
                       Bridge Lenders under this Combined Disclosure
                       Statement and Plan, the amount of the Prepetition
                       Bridge Loan Claims. For the avoidance of doubt,
                       amounts paid to the Prepetition Bridge Lenders from
                       other Debtors in respect of the Prepetition Bridge Loan
                       Claims (and adequate protection claims of the
                       Prepetition Bridge Lenders, if any) shall reduce the
                       amounts payable hereunder, and vice versa.
Class 3 –              On account of their Allowed Prepetition Term Secured                   Impaired;
Prepetition Term       Parties’ Secured AMR Claim, the Prepetition Term                       Entitled to
Secured Parties’       Secured Parties shall (x) receive and retain the Post-                 Vote
Secured Claims         Petition Payment Amount (and for the avoidance of
                       doubt, such receipt and retention shall reduce the
                       amount of such Allowed Prepetition Term Secured
                       Parties’ Secured AMR Claim) and (y) receive the sum
                                                                              $8,870,281.20 -
                       of (i) the Allocated Value (Greenfield Sale) allocated
                                                                              $19,086,076.77
                       to AMR, less any amounts (if any) actually Distributed
                       to AMR’s Class 2 out of the Allocated Value
                                                                                  40-87%
                       (Greenfield Sale) allocated to AMR, (ii) the Allocated
                       Value (Tubbs Properties – PSP), and (iii) the
                       Distributed Value (if any) dividended up from AGMS1
                       to AMR, less the amount of any applicable Plan
                       Contribution Amount, which shall be “gifted” to
                       support the Combined Disclosure Statement and Plan
                       and deducted from the Distributions to AMR’s Class 3.




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  The Debtors are jointly and severally liable to the Prepetition Bridge Lenders in the amount of $1,067,750.00, and,
as such, the Prepetition Bridge Lenders hold Allowed Claims against each Debtor in the amount of $1,067,750.00.
To avoid duplicative Distributions by any Debtor, the amount of this Class 2 Allowed Claim is reduced by the amount
of Distributions made in respect of any other Debtor’s Class 2 Allowed Claims. It is anticipated that all Distributions
in respect of the Prepetition Bridge Loan Claims shall be made by Bayou.
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                      Notwithstanding anything to the contrary, (A) no
                      Distributions shall be made in respect of the funds
                      escrowed in connection with the Greenfield Sale until
                      such time as such funds are released from escrow under
                      the terms of the Greenfield Sale, and (B) no
                      Distributions shall be made in respect of the Allocated
                      Value (Tubbs Properties – PSP) until (x) the occurrence
                      of a Tubbs Properties Liquidation Event or (y)
                      following entry of a final order resolving the Adversary
                      Proceeding (Tubbs Parties) and the expiration of any
                      applicable appeal period, the Debtors determine, in
                      their reasonable discretion, to engage in a Tubbs
                      Properties Surrender Event.
Class 4 – Tubbs       Each Holder of an Allowed Tubbs Secured Claim shall                          Impaired;
Parties’ Secured      receive, in full and final satisfaction of and in exchange                   Entitled to
Claims                for such Allowed Tubbs Secured Claim: (i) upon the                           Vote
                      occurrence of a Tubbs Properties Liquidation Event,
                      their Pro Rata share of the Allocated Value (Tubbs
                      Properties) attributable to the portion of the Tubbs
                      Properties sold in connection with such Tubbs
                      Properties Liquidation Event upon which the Tubbs
                      Parties hold a first-priority Lien (which Liens on such
                                                                                        $TBD
                      property are expressly preserved hereby); and (ii) upon
                      the occurrence of a Tubbs Properties Surrender Event,
                                                                                        100%
                      surrender of all remaining property of AMR subject to
                      a valid and perfected, first priority Lien of the Tubbs
                      Parties. For the avoidance of doubt, in the event of a
                      Tubbs Properties Liquidation Event, the Tubbs Parties
                      shall be entitled to credit bid for the entirety of the
                      Tubbs Properties subject to such sale so long as they
                      pay cash for the portion of the purchase price allocated
                      to the portion of the Tubbs Properties upon which the
                      Lenders hold first-priority Liens, if any.




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Class 5 –             Each Holder of an Allowed Prepetition Lenders’                                Impaired;
Prepetition Term      Unsecured Deficiency Claim shall receive, in full and                         Entitled to
Secured Parties’      final satisfaction of and in exchange for such Allowed                        Vote
Unsecured             Prepetition Lenders’ Unsecured Deficiency Claim,
Deficiency            together with the Holders of the General Unsecured
Claims                Claims and the Tubbs Unsecured Deficiency Claim,
                      such Holder’s Pro Rata share of proceeds of
                      unencumbered AMR property (including, to the extent          $85,000,000.00
                      applicable, any unencumbered Causes of Action)                     -
                      liquidated or disposed of on or after the Effective Date;    $95,000,000.00
                      provided, in no event shall any Holder of Lenders’
                      Unsecured Deficiency Claim receive greater than                  0-0.1%
                      100% of its Lenders’ Unsecured Deficiency Claim. For
                      the avoidance of doubt, all cash Distributions made on
                      account of the Prepetition Term Guaranty shall be
                      made to the Prepetition Term Agent for further
                      distribution to the Prepetition Term Lenders in
                      accordance with the Prepetition Credit Agreement and
                      Prepetition Term Guaranty.




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Class 6 – Tubbs       Each Holder of an Allowed Tubbs Parties’ Unsecured                           Impaired;
Parties’              Deficiency Claim shall receive, in full and final                            Entitled to
Unsecured             satisfaction of and in exchange for such Allowed                             Vote
Deficiency            Unsecured Deficiency Claim: (i) Pro Rata Distribution
Claims                of the Tubbs’ Contribution Amount, contingent upon
                      Holders of Tubbs Unsecured Deficiency Claims
                      unanimously (v) voting in favor of the Combined
                      Disclosure Statement and Plan, (w) not opting out of
                      the Third Party Release under the Combined Disclosure
                      Statement and Plan, (x) not otherwise opposing the
                      Combined Disclosure Statement and Plan or any
                      provision therein, (y) dismissing with prejudice the
                      Louisiana Litigation, including all claims and causes of
                      action asserted by the Tubbs Parties therein, and, to the
                      extent applicable, the Louisiana Transfer Proceedings,
                      and (z) releasing any and all claims, obligations, rights,
                                                                                        $TBD
                      suits, damages, causes of action, remedies, and
                      liabilities whatsoever that could be asserted by any
                                                                                        TBD%
                      Tubbs Party against any Released Party as of the
                      Effective Date; and (ii) together with the Holders of the
                      General Unsecured Claims and the Lenders’ Unsecured
                      Deficiency Claims, such Holder’s Pro Rata share of
                      proceeds of unencumbered Debtor property (including,
                      to the extent applicable, any unencumbered Causes of
                      Action) liquidated or disposed of on or after the
                      Effective Date; provided, in no event shall any Holder
                      of a Tubbs Unsecured Deficiency Claim receive greater
                      than 100% of its Holder of a Tubbs Unsecured
                      Deficiency Claim. Each Holder of an Allowed Tubbs
                      Claim shall receive its Pro Rata share of the Tubbs
                      Contribution Amount, to the extent applicable, as soon
                      as practicable following the later of: (a) the Effective
                      Date and (b) the date such Tubbs Claim becomes an
                      Allowed Claim.




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Class 7 – General Each Holder of an Allowed General Unsecured Claim                             Impaired;
Unsecured Claims shall receive, in full and final satisfaction of and in                        Entitled to
                  exchange for such Allowed General Unsecured Claim:                            Vote
                  (i) Pro Rata Distribution of the GUC Contribution
                  Amount in an amount not to exceed 98% of such
                  Holder’s Allowed General Unsecured Claim,
                  contingent upon Holders of General Unsecured Claims
                  in requisite number and amount as is necessary for
                  Class 7 to accept the Combined Disclosure Statement
                  and Plan, (x) voting in favor of the Combined
                  Disclosure Statement and Plan, (y) not opting out of the
                  Third Party Release provided under the Combined
                  Disclosure Statement and Plan, and (z) not otherwise
                  opposing the Combined Disclosure Statement and Plan
                                                                                  $146,214.00
                  or any provision therein, and (ii) together with the
                  Holders of the Lenders’ Unsecured Deficiency Claim
                                                                                     98%
                  and the Tubbs Unsecured Deficiency Claim, such
                  Holder’s Pro Rata share of proceeds of any remaining
                  unencumbered Debtor property (including, to the
                  extent applicable, any unencumbered Causes of
                  Action) liquidated or disposed of on or after the
                  Effective Date; provided, in no event shall any Holder
                  of an Allowed General Unsecured Claim receive
                  greater than 100% of its Allowed General Unsecured
                  Claim. Each Holder of an Allowed General Unsecured
                  Claim shall receive its Pro Rata share of the GUC
                  Contribution Amount, to the extent applicable, as soon
                  as practicable following the later of: (a) the Effective
                  Date and (b) the date such General Unsecured Claim
                  becomes an Allowed Claim
Class 8 – Equity      As of the Effective Date, all Equity Interests of any                     Impaired;
Interests             kind shall be deemed void, cancelled and of no further                    Deemed to
                      force and effect and the Holders thereof shall not                        Reject
                                                                                      $0
                      receive or retain any property or interest in property
                      under the Combined Disclosure Statement and Plan on
                      account of such Equity Interests.

                                                       V.

                         CONFIRMATION AND VOTING PROCEDURES

A.      Confirmation Procedure

        1.               Combined Hearing

        On [●], 2022, the Bankruptcy Court entered the Solicitation Procedures Order [D.I. [●]].
Among other things, the Solicitation Procedures Order, approved the adequacy of disclosures in
the Combined Disclosure Statement and Plan on an interim basis and set certain deadlines for the
solicitation of the Combined Disclosure Statement and Plan, voting on the Combined Disclosure
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Statement and Plan, filing objections to the Combined Disclosure Statement and Plan and a hearing
to consider approval of the Combined Disclosure Statement and Plan. The Combined Hearing has
been scheduled for [●], 2022 at [●].m. (prevailing Eastern Time) at the Bankruptcy Court, 824
North Market Street, 3rd Floor, Courtroom 7, Wilmington, Delaware 19801 to consider (i) final
approval of the Combined Disclosure Statement and Plan as providing adequate information
pursuant to § 1125 of the Bankruptcy Code and (ii) confirmation of the Combined Disclosure
Statement and Plan pursuant to § 1129 of the Bankruptcy Code. The Combined Hearing may be
adjourned from time to time by the Plan Proponents without further notice, except for an
announcement of the adjourned date made at the Combined Hearing or by Filing a notice with the
Bankruptcy Court.

        2.             Procedures for Objections

        Any objection to final approval of the Combined Disclosure Statement and Plan as
providing adequate information pursuant to § 1125 of the Bankruptcy Code and/or confirmation
of the Combined Disclosure Statement and Plan must be made in writing and filed with the
Bankruptcy Court and served, by no later than [●], 2022 at 4:00 p.m. (prevailing Eastern Time),
on: (i) the Debtors, c/o Meru LLC 1372 Peachtree Road NE, Atlanta, GA 30309, Attn: Kyle
Sturgeon (Kyle@wearemeru.com); (ii) counsel for the Debtors, (1) Dentons US LLP, 601 S.
Figueroa, Suite 2500, Los Angeles, CA 90017, Attn: Samuel R. Maizel
(samuel.maizel@dentons.com), and (2) Pachulski Stang Ziehl & Jones LLP, 919 North Market
Street, 17th Floor, P.O. Box 8705, Wilmington, DE 19899-8705 (Courier 19801), Attn: Laura
Davis Jones (ljones@pszjlaw.com); (iii) counsel to the Debtors’ Prepetition Secured Parties, (1)
Moore & Van Allen PLLC, 100 North Tryon Street, Suite 4700, Charlotte, NC 28202-4003, Attn:
Zachary     H.     Smith     (zacharysmith@mvalaw.com)         and    Gabriel    L.    Mathless
(gabrielmathless@mvalaw.com), and (2) Richards, Layton & Finger, P.A., One Rodney Square,
920 North King Street, Wilmington, DE 19801, Attn: Jason M. Madron, Esq. (madron@rlf.com);
and (iv) the Office of The United States Trustee, 844 King Street, Suite 2207, Lockbox 35,
Wilmington, DE 19801, Attn: David L. Buchbinder (david.l.buchbinder@usdoj.gov). Unless an
objection is timely filed and served, it may not be considered by the Bankruptcy Court at the
Combined Hearing.

        3.             Requirements for Confirmation

        Among the requirements for confirmation of a plan pursuant to section 1129 of the
Bankruptcy Code are: (1) the plan is accepted by all impaired classes of claims, or if rejected by
an impaired class, the plan (a) is accepted by at least one impaired class and (b) “does not
discriminate unfairly” and is “fair and equitable” as to the rejecting impaired class(es); (2) the plan
is feasible; and (3) the plan is in the “best interests” of holders of claims or interests.

        At the Combined Hearing, the Bankruptcy Court will determine whether the Combined
Disclosure Statement and Plan satisfies all of the requirements of § 1129 of the Bankruptcy Code.
The Plan Proponents believe that: (1) the Combined Disclosure Statement and Plan satisfies, or
will satisfy, all of the necessary statutory requirements of chapter 11 for plan confirmation; (2) the
Debtors have complied, or will have complied, with all of the necessary requirements of chapter 11
for plan confirmation; and (3) the Combined Disclosure Statement and Plan has been proposed in
good faith.

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        4.             Classification of Claims and Equity Interests

        Section 1122 of the Bankruptcy Code requires the Combined Disclosure Statement and
Plan to place a Claim or Equity Interest in a particular Class only if such Claim or Equity Interest
is substantially similar to the other Claims or Equity Interests in such class. The Combined
Disclosure Statement and Plan creates separate Classes to deal respectively with secured Claims,
unsecured Claims and Equity Interests. The Plan Proponents believe that the Combined Disclosure
Statement and Plan’s classifications place substantially similar Claims or Equity Interests in the
same Class and thus, meet the requirements of § 1122 of the Bankruptcy Code.

        5.             Impaired Claims or Equity Interests

        Pursuant to § 1126 of the Bankruptcy Code, only the Holders of Claims in Classes impaired
by the Combined Disclosure Statement and Plan and receiving a payment or Distribution under
the Combined Disclosure Statement and Plan may vote on the Combined Disclosure Statement
and Plan. Pursuant to § 1124 of the Bankruptcy Code, a Class of Claims may be impaired if the
Combined Disclosure Statement and Plan alters the legal, equitable, or contractual rights of the
Holders of such Claims or Equity Interests treated in such Class. The Holders of Claims not
impaired by the Combined Disclosure Statement and Plan are deemed to accept the Combined
Disclosure Statement and Plan and do not have the right to vote on the Combined Disclosure
Statement and Plan. The Holders of Claims or Equity Interests in any Class which will not receive
any payment or Distribution or retain any property pursuant to the Combined Disclosure Statement
and Plan are deemed to reject the Combined Disclosure Statement and Plan and do not have the
right to vote. Finally, the Holders of Claims or Equity Interests whose Claims or Equity Interests
are not classified under the Combined Disclosure Statement and Plan are not entitled to vote on
the Combined Disclosure Statement and Plan.

        6.             Alternative Plan

        If the Combined Disclosure Statement and Plan is not confirmed, the Debtors or any other
party in interest could attempt to formulate a different plan. However, the additional costs, all of
which would constitute Administrative Claims may be so significant that one or more parties in
interest could request that the Chapter 11 Cases be converted to cases under chapter 7.
Accordingly, the Plan Proponents believe that the Combined Disclosure Statement and Plan
enables creditors to realize the best return under the circumstances.

        7.             Best Interests Test and Liquidation Analysis

        Section 1129(a)(7) of the Bankruptcy Code requires that each Holder of an Impaired Claim
or Equity Interest either (a) accept the Combined Disclosure Statement and Plan or (b) receive or
retain under the Combined Disclosure Statement and Plan property of a value, as of the Effective
Date, that is not less than the value such Holder would receive if the Debtors were liquidated under
chapter 7 of the Bankruptcy Code. A hypothetical chapter 7 liquidation analysis is attached to this
Combined Disclosure Statement and Plan as Exhibit A. The value of any Distributions if the
Debtors’ Chapter 11 Cases were converted to cases under chapter 7 of the Bankruptcy Code would
be less than the value of Distributions under the Combined Disclosure Statement and Plan for a
variety of reasons. Conversion of the Chapter 11 Cases to chapter 7 cases would require the

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appointment of a chapter 7 trustee, who would be entitled to statutory fees relating to the
Distributions of the already-monetized assets. Accordingly, a portion of the Cash currently
available, or that would be available upon the Effective Date under the Combined Disclosure
Statement and Plan, for Distribution to Holders of Allowed Claims would instead have to be paid
to a chapter 7 trustee. In addition, the chapter 7 trustee would likely retain new professionals. The
“learning curve” that the trustee and new professionals would be faced with comes with potentially
additional costs to the Estates and with a delay compared to the time of Distributions under the
Combined Disclosure Statement and Plan.

        In addition, the Combined Disclosure Statement and Plan contains a number of concessions
by certain parties in interest. Among other things, the Prepetition Secured Parties have agreed to
fund the Plan Contribution Amount, which fund provides for a recovery to Holders of Allowed
General Unsecured Claims. Although this consideration was assumed in the chapter 7 liquidation
analysis, there are no assurances that these concessions would be available in a hypothetical
chapter 7 liquidation. In any event, the conversion to chapter 7 cases would likely require the
chapter 7 trustee to negotiate with the Prepetition Secured Parties, resulting in additional costs and
administrative expenses incurred in connection there with, as well as a resulting delay in
Distributions.

        As a result, the Plan Proponents believe that the Estates would have fewer funds to be
distributed in a hypothetical chapter 7 liquidation than they would if the Combined Disclosure
Statement and Plan is confirmed. Moreover, based on the structure of the Combined Disclosure
Statement and Plan, and the settlements contained herein, the Holders of Allowed General
Unsecured Claims will recover more than in the hypothetical chapter 7 cases. Accordingly, the
Plan Proponents believe that the “best interests” test of Bankruptcy Code § 1129 is satisfied.

        8.              Releases by the Debtors and Third Parties

        Under applicable law, a release provided by a debtor is appropriate where: (a) there is an
identity of interest between the debtor and the third party, such that a suit against the released non-
debtor party is, at core, a suit against the debtor or will deplete assets of the estate; (b) there is a
substantial contribution by the non-debtor of assets to the reorganization; (c) the injunction is
essential to the reorganization; (d) there is overwhelming creditor support for the injunction; and
(e) the chapter 11 plan will pay all or substantially all of the claims affected by the injunction. In
re Indianapolis Downs, LLC, 486 B.R. 286, 303 (Bankr. D. Del. 2013). Importantly, these factors
are “neither exclusive nor are they a list of conjunctive requirements,” but “[i]nstead, they are
helpful in weighing the equities of the particular case after a fact-specific review.” Id. In addition,
exculpation is appropriate where it applies to estate fiduciaries. Id. at 306. Finally, an injunction
is appropriate where it is necessary to the reorganization and fair pursuant to section 105(a) of the
Bankruptcy Code. In re W.R. Grace & Co., 475 B.R. 34, 107 (D. Del. 2012). In addition, approval
of the releases, exculpations, and injunctions for each of the Released Parties and each Exculpated
Party as part of confirmation of the Combined Disclosure Statement and Plan will be limited to
the extent such releases, exculpations, and injunctions are permitted by applicable law.

        The Plan Proponents believe that the releases, exculpations, and injunctions set forth in
Section XIII.E of the Combined Disclosure Statement and Plan are appropriate because, among
other things, the releases are narrowly tailored to the Debtors’ Chapter 11 Cases, and each of the

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Released Parties has contributed value to the Debtors and aided in the sale process, which
facilitated the Debtors’ ability to propose and pursue confirmation. The Plan Proponents believe
that each of the Released Parties has played an integral role in formulating the Combined
Disclosure Statement and Plan and has expended significant time and resources analyzing and
negotiating the issues presented by the Debtors’ prepetition capital structure. The Debtors further
believe that such releases, exculpations, and injunctions are a necessary and integral part of the
consideration for the Plan Contribution Amount which formed the basis for this Combined
Disclosure Statement and Plan. Absent such releases, the Prepetition Secured Parties would not
have agreed to fund the Plan Contribution Amount and the Holders of Allowed Claims would
receive a diminished (or, in some cases, no) recovery on account of such Claims. The Debtors
will be prepared to meet their burden to establish the basis for the releases, exculpations, and
injunctions for each of the Released Parties and each Exculpated Party as part of confirming the
Combined Disclosure Statement and Plan.

        9.            Feasibility

        Section 1129(a)(11) of the Bankruptcy Code requires that confirmation of a plan not be
likely to be followed by the liquidation, or the need for further financial reorganization, of the
Debtors or any successor to the Debtors (unless such liquidation or reorganization is proposed in
the Combined Disclosure Statement and Plan). Because the Combined Disclosure Statement and
Plan proposes a liquidation of all of the Debtors’ assets, for purposes of this test, the Plan
Proponents have analyzed the ability of the Responsible Officer to meet its obligations under the
Combined Disclosure Statement and Plan. Based on the Plan Proponents’ analysis, the
Responsible Officer will have sufficient assets to accomplish its tasks under the Combined
Disclosure Statement and Plan. Therefore, the Plan Proponents believe that the liquidation
pursuant to the Combined Disclosure Statement and Plan will meet the feasibility requirements of
the Bankruptcy Code.

B.      Voting Procedure

        1.            Eligibility to Vote on the Combined Disclosure Statement and Plan

        Unless otherwise Ordered by the Bankruptcy Court, only Holders of Allowed Claims and
Equity Interests in AMR Classes 3, 4, 5, 6, and 7, AGMS1 Classes 3 and 5, AGMS Class 4,
LakeProv Class 4, and Bayou Class 4 may vote on the Combined Disclosure Statement and Plan.
Further, subject to the tabulation procedures that were approved by the Solicitation Procedures
Order, in order to vote on the Combined Disclosure Statement and Plan, you must hold an Allowed
Claim in the above Classes, or be the Holder of a Claim in any such Class that has been temporarily
Allowed for voting purposes only under Bankruptcy Rule 3018(a).

        2.            Solicitation Notice

       All Holders of Allowed Claims and Equity Interests in AMR Classes 3, 4, 5, 6, and 7,
AGMS1 Classes 3 and 5, AGMS Class 4, LakeProv Class 4, and Bayou Class 4 will receive (i)
notice of the Combined Hearing on the Combined Disclosure Statement and Plan (the
“Confirmation Notice”) and (ii) a form of ballot. All other Creditors, Equity Interest Holders, and


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parties in interest not entitled to vote on the Combined Disclosure Statement and Plan will only
receive a copy of the Confirmation Notice.

        3.             Procedure/Voting Deadlines

         In order for your ballot to count, you must complete, date, sign and properly mail, courier
or personally deliver a paper ballot to counsel for the Debtors (in this capacity, the “Voting Agent”)
at the following address: Pachulski Stang Ziehl & Jones LLP, 919 North Market Street, 17th Floor,
P.O. Box 8705, Wilmington, DE 19899-8705 (Courier 19801), Attn: Laura Davis Jones and Mary
F. Caloway. BALLOTS SENT BY FACSIMILE TRANSMISSION OR E-MAIL ARE NOT
ALLOWED AND WILL NOT BE COUNTED.

       Ballots must be RECEIVED BY THE VOTING AGENT on or before [●], 2022 at 4:00
p.m. (prevailing Eastern Time) (the “Voting Deadline”). Subject to the tabulation procedures
approved by the Solicitation Procedures Order, you may not change your vote once a ballot is
submitted electronically or the Claims Agent receives your original paper ballot.

        Subject to the tabulation procedures approved by the Solicitation Procedures Order, any
ballot that is timely and properly submitted will be counted and will be deemed to be cast as an
acceptance, rejection or abstention, as the case may be, of the Combined Disclosure Statement and
Plan.

        4.             Acceptance of the Combined Disclosure Statement and Plan

        As a Creditor, your acceptance of the Combined Disclosure Statement and Plan is
important. In order for the Combined Disclosure Statement and Plan to be accepted by an impaired
Class of Claims, a majority in number (i.e., more than half) and two-thirds in dollar amount of the
Claims voting (of each impaired Class of Claims) must vote to accept the Combined Disclosure
Statement and Plan. At least one impaired Class of Creditors, excluding the votes of insiders, must
actually vote to accept the Combined Disclosure Statement and Plan. The Plan Proponents urge
that you vote to accept the Combined Disclosure Statement and Plan. YOU ARE URGED TO
COMPLETE, DATE, SIGN AND PROMPTLY SUBMIT YOUR BALLOT. PLEASE BE
SURE TO COMPLETE THE BALLOT PROPERLY AND LEGIBLY IDENTIFY THE
EXACT AMOUNT OF YOUR CLAIM AND THE NAME OF THE CREDITOR.

        5.             Elimination of Vacant Classes

       Any Class of Claims or Equity Interests that does not contain, as of the date of
commencement of the Combined Hearing, a Holder of an Allowed Claim or Equity Interest, or a
Holder of a Claim temporarily allowed under Bankruptcy Rule 3018, shall be deemed deleted from
the Combined Disclosure Statement and Plan for all purposes, including for purposes of
determining acceptance of the Combined Disclosure Statement and Plan by such Class under §
1129(a)(8) of the Bankruptcy Code.




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                                                   VI.

                                  CERTAIN RISK FACTORS

        The Holders of General Unsecured Claims and Prepetition Lender Claims should read and
carefully consider the following factors, as well as the other information set forth in this Article
VI, before deciding whether to vote to accept or reject the Combined Disclosure Statement and
Plan. These risk factors should not, however, be regarded as constituting the only risks associated
with the Combined Disclosure Statement and Plan and its implementation.

A.      Non-Confirmation of the Combined Disclosure Statement and Plan

        Even if the voting Class votes in favor of the Combined Disclosure Statement and Plan,
and even if, with respect to any Impaired Class deemed to have rejected the Combined Disclosure
Statement and Plan, the requirements for “cramdown” are met, the Bankruptcy Court, which is a
court of equity, may exercise substantial discretion and may choose not to confirm the Combined
Disclosure Statement and Plan. In addition, while the Plan Proponents believe the feasibility test
and the best interests test for confirmation are satisfied, there can be no assurance that the
Bankruptcy Court will reach the same conclusion.

B.      Classification Risk

        The Plan Proponents believe that the Combined Disclosure Statement and Plan has
classified all Claims and Equity Interests in compliance with the provisions of Bankruptcy Code
§ 1122 and applicable case law, but it is possible that a Holder of a Claim may challenge the
classification of Claims, and that the Bankruptcy Court may determine that a different
classification is required for the Combined Disclosure Statement and Plan to be confirmed. In that
event, the Plan Proponents intend, to the extent permitted by the Bankruptcy Code, the Combined
Disclosure Statement and Plan, and the Bankruptcy Court, to make such reasonable modifications
of the classifications under the Combined Disclosure Statement and Plan to permit confirmation
and to use the Combined Disclosure Statement and Plan acceptances received for purposes of
obtaining the approval of the reconstituted Class or Classes of which each accepting holder
ultimately is deemed to be a member. Any such reclassification could adversely affect the Class
in which such holder initially was a member, or any other Class under the Combined Disclosure
Statement and Plan, by changing the composition of such Class and the vote required of that Class
for approval of the Combined Disclosure Statement and Plan.

C.      Claims Estimations

        There can be no assurance that any estimated Claim amounts set forth in this Combined
Disclosure Statement and Chapter 11 Plan are correct. The actual Allowed amount of Claims
likely will differ in some respect from the estimates. The estimated amounts are subject to certain
risks, uncertainties, and assumptions. Should one or more of these risks or uncertainties
materialize, or should the underlying assumptions prove incorrect, the actual Allowed amount of
Claims may vary from those estimated herein.



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D.      Administrative and Priority Claims

        The Debtors have been paying their administrative expenses in the ordinary course and do
not anticipate any outstanding Administrative Expense Claims, Priority Tax Claims, and Other
Priority Claims following the claims reconciliation process.

        Notwithstanding the foregoing, if the actual number and amount of such Claims exceeds
the amount of Cash the Debtors have to satisfy all such Claims in full, then unless the Holders of
such Claims consent to less than full payment, then the Bankruptcy Court may deny confirmation
of the Combined Disclosure Statement and Plan.

E.      Conditions Precedent to Consummation; Timing

        The Combined Disclosure Statement and Plan provides for certain conditions that must be
satisfied (or waived) prior to the Effective Date. There can be no assurance that any or all of the
conditions in the Combined Disclosure Statement and Plan will be satisfied (or waived).
Accordingly, even if the Combined Disclosure Statement and Plan is confirmed by the Bankruptcy
Court, there can be no assurance that the Combined Disclosure Statement and Plan will be
consummated.

F.      Certain Tax Considerations

       There are a number of material income tax considerations, risks and uncertainties
associated with the Combined Disclosure Statement and Plan of liquidation of the Debtor
described in the Combined Disclosure Statement and Plan.


     THE U.S. FEDERAL INCOME TAX CONSEQUENCES OF THE COMBINED
DISCLOSURE STATEMENT AND PLAN ARE COMPLEX. NOTHING HEREIN SHALL
CONSTITUTE TAX ADVICE. THE TAX CONSEQUENCES ARE IN MANY CASES
UNCERTAIN AND MAY VARY DEPENDING ON A HOLDER’S PARTICULAR
CIRCUMSTANCES. ACCORDINGLY, HOLDERS ARE URGED TO CONSULT THEIR TAX
ADVISORS ABOUT THE UNITED STATES FEDERAL, STATE AND LOCAL, AND
APPLICABLE FOREIGN INCOME AND OTHER TAX CONSEQUENCES OF THE
COMBINED DISCLOSURE STATEMENT AND PLAN.

                                               VII.

                         UNCLASSIFIED ADMINISTRATIVE CLAIMS,
                      PROFESSIONAL FEES, AND PRIORITY TAX CLAIMS

A.      Introduction

       Certain types of Claims are not placed into voting Classes; instead they are unclassified.
They are not considered Impaired and they do not vote on the Combined Disclosure Statement and
Plan because they are automatically entitled to the specific treatment provided for them in the
Bankruptcy Code, as set forth below.


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B.      Administrative Claims

        Except to the extent that a Holder of an Allowed Administrative Claim agrees to a less
favorable treatment, each Holder of an Allowed Administrative Claim (other than a Professional
Fee Claim) shall receive, without interest, Cash equal to the Allowed amount of such Claim: (a)
on or as soon as practicable after the later of (i) the Effective Date or (ii) the date upon which the
Bankruptcy Court enters a Final Order Allowing such Claim; (b) in accordance with the terms and
conditions of agreements between the Holder of such Claim and the Debtors, as the case may be;
(c) with respect to any Administrative Claims representing obligations incurred in the ordinary
course of the Debtors’ business, upon such regular and customary payment or performance terms
as may exist in the ordinary course of the Debtors’ business or as otherwise provided in the
Combined Disclosure Statement and Plan; or (d) with respect to statutory fees due pursuant to 28
U.S.C. § 1930(a)(6), as and when due under applicable law.

        Notwithstanding any provision in the Combined Disclosure Statement and Plan regarding
payment of Administrative Claims to the contrary, all Administrative Claims (other than
Professional Fee Claims and the Lenders’ Claims which are Allowed) must be filed, or have
already been filed, with the Bankruptcy Court and served on the Debtors or Liquidating Debtors,
as applicable, no later than the applicable Administrative Claims Bar Date. Holders of
Administrative Claims that do not file/have not filed such requests by the applicable deadlines
provided for herein may be subject to objection for untimeliness and may be prohibited by order
of the Bankruptcy Court from asserting such claims against the Debtors or Liquidating Debtors,
the Estates, or their successors or assigns, or their property. In the event that the Debtors, the
Liquidating Debtors, or Lenders, as applicable, object to an Administrative Claim, the Bankruptcy
Court shall determine the Allowed amount of such Administrative Claim. Notwithstanding the
foregoing: (a) no request for payment need be filed with respect to an undisputed postpetition
obligation which was paid or is payable by the Debtors in the ordinary course of business;
provided, however, that in no event shall a postpetition obligation that is contingent or disputed
and subject to liquidation through pending or prospective litigation, including, but not limited to,
alleged obligations arising from personal injury, property damage, products liability, consumer
complaints, employment law (excluding claims arising under workers’ compensation law),
secondary payor liability, or any other disputed legal or equitable claim based on tort, statute,
contract, equity, or common law, be considered to be an obligation which is payable in the ordinary
course of business; (b) no request need be filed with respect to a cure amount owing under an
Executory Agreement if (i) the amount of the cure is fixed or proposed to be fixed by the
Confirmation Order or other order of the Bankruptcy Court either pursuant to the Combined
Disclosure Statement and Plan or pursuant to a motion to assume and fix the amount of Cure filed
by the Debtors, and (ii) a timely objection asserting an increased amount of the cure has been filed
by the non-Debtors party to the subject contract or lease; and (c) no request for payment need be
filed with respect to fees payable pursuant to 28 U.S.C. § 1930. No Holder of an Administrative
Claim shall have recourse for any deficiency in the payment of its Administrative Claim against
any of the Released Parties.

C.      Professional Fee Claims

       Professionals requesting compensation or reimbursement of expenses, pursuant to §§ 327,
328, 330, 331, 503(b) or 1103 of the Bankruptcy Code, or required to file fee applications by order

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of the Bankruptcy Court for services rendered prior to the Effective Date, must file and serve,
pursuant to the notice provisions of the Interim Fee Order, an application for final allowance of
compensation and reimbursement of expenses no later than forty-five (45) days after the Effective
Date. All such applications for final allowance of compensation and reimbursement of expenses
will be subject to the authorization and approval of the Bankruptcy Court. Any objection to
Professional Fee Claims shall be filed on or before seventy-five (75) days after the Effective Date.

         On the Effective Date, or as soon as practicable thereafter, the Liquidating Debtors shall
establish the Professional Fee Reserve, to be funded out of the Greenfield Sale Proceeds, and
otherwise acceptable to the Pre-Petition Secured Parties, to be utilized for anticipated fees provided
by Professionals for services rendered and expenses incurred prior to the Effective Date, including
estimated fees for services rendered, and actual and necessary costs incurred, in connection with
the filing, service, and prosecution of any applications for allowance of Professional Fees pending
on the Effective Date or filed and/or served after the Effective Date. Upon approval of the fee
applications by the Bankruptcy Court for Professional Fee Claims, the Liquidating Debtors shall
pay Professionals all of their respective accrued and Allowed fees and reimburse Allowed
expenses arising prior to the Effective Date.

D.      Priority Tax Claims

       Except to the extent that a Holder of an Allowed Priority Tax Claim agrees to a less
favorable treatment, in exchange for full and final satisfaction of each Allowed Priority Tax Claim,
the Liquidating Debtors shall pay each Holder of an Allowed Priority Tax Claim the full unpaid
amount of such Allowed Priority Tax Claim as follows: (a) Cash equal to the unpaid portion of the
Allowed Priority Tax Claim on the later of the Effective Date or thirty (30) days following the date
on which such Priority Tax Claim becomes an Allowed Priority Tax Claim, or (b) such other
treatment as to which the Holder of an Allowed Priority Tax Claim and the Debtors shall have
agreed upon in writing.

                                   VIII.
            TREATMENT OF CLASSIFIED CLAIMS AND EQUITY INTERESTS

A.      Classification of Claims and Equity Interests by Debtor

        A Claim or Equity Interest shall be deemed classified in a particular Class only to the extent
that the Claim or Equity Interest qualifies within the description of that Class and shall be deemed
classified in a different Class to the extent that any remainder of such Claim or Equity Interest
qualifies within the description of such different Class. A Claim or Equity Interest is in a particular
Class only to the extent that such Claim or Equity Interest is Allowed in that Class and has not
been paid or otherwise settled prior to the Effective Date. Each Class set forth below is treated
hereunder as a distinct Class for voting and Distribution purposes.

        Subject to all other applicable provisions of this Combined Disclosure Statement and Plan
(including its Distribution provisions), classified Claims shall receive the treatment described in
Section VIII herein. This Combined Disclosure Statement and Plan will not provide any
Distributions on account of a Claim to the extent that such Claim has been disallowed, released,
withdrawn, waived, or otherwise satisfied or paid as of the Effective Date, including, without

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limitation, payments by third parties.

       In addition, the Debtors have not classified any Claims they may have against any other
Debtor, which is described further in Section VIII.C.

B.      Treatment of Claims and Equity Interests by Debtor

                 (i)   Bayou Grain & Chemical Corporation (Bayou)

                 1.    Class 1 – Priority Non-Tax Class

                 a.    Classification: Class 1 consists of the Priority Non-Tax Class.

                b.       Treatment: Each Holder of an Allowed Priority Non-Tax Claim shall
        receive, in full and final satisfaction of such Allowed Priority Non-Tax Claim: (i) Cash in
        the amount of such claim, as soon as practicable following the later of: (a) the Effective
        Date and (b) the date such Priority Non-Tax Claim becomes an Allowed Claim; or (ii) such
        other treatment as may be agreed by the Debtors and such Holder.

                c.      Voting: Class 1 is an Unimpaired Class, and the Holders of Claims in this
        Class are deemed to accept the Combined Disclosure Statement and Plan and are therefore
        not entitled to vote.

                 2.    Class 2 – Prepetition Bridge Lenders’ Secured Claims

               a.      Classification: Class 2 consists of the Prepetition Bridge Lenders’ Secured
        Claims.

                b.      Treatment: The Prepetition Bridge Lenders shall receive their Pro Rata
        share of all Allocated Value (Greenfield Sale) allocated to Bayou in satisfaction of their
        Prepetition Bridge Loan Claims (and adequate protection claims of the Prepetition Bridge
        Lenders, if any), less any amounts Distributed to the Holders of Allowed Claims in Classes
        1 and 3 in order to satisfy the treatment of those Classes, in an amount not to exceed in the
        aggregate, together with all other distributions to the Prepetition Bridge Lenders under this
        Combined Disclosure Statement and Plan, the amount of the Prepetition Bridge Loan
        Claims. For the avoidance of doubt, amounts paid to the Prepetition Bridge Lenders from
        other Debtors in respect of the Prepetition Bridge Loan Claims (and adequate protection
        claims of the Prepetition Bridge Lenders, if any) shall reduce the amounts payable
        hereunder, and vice versa.

                c.      Voting: Class 2 is an Unimpaired Class, and the Holders of Claims in this
        Class are deemed to accept the Combined Disclosure Statement and Plan and are therefore
        not entitled to vote.

                 3.    Class 3 – General Unsecured Class

                 a.    Classification: Class 3 consists of the General Unsecured Claims.


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                b.      Treatment: Each Holder of an Allowed General Unsecured Claim shall be
        paid in full and final satisfaction of such Allowed General Unsecured Claim in accordance
        with the instruments governing the Allowed General Unsecured Claim.

                c.      Voting: Class 3 is an Unimpaired Class, and the Holders of Claims in this
        Class are deemed to accept the Combined Disclosure Statement and Plan and are therefore
        not entitled to vote.

       4.               Class 4 – Equity Interests

                 a.     Classification: Class 4 consists of Equity Interests.

                b.      Treatment: To the extent of any Distributed Value after full and final
        satisfaction of all Allowed Claims in Bayou’s Classes 1-3, such value shall be dividended
        up to Bayou’s sole shareholder, LakeProv.

                c.      Voting: Class 4 is an Impaired Class, and the Holders of Claims in this
        Class are entitled to vote to accept or reject the Combined Disclosure Statement and Plan.

                 (ii)   Lake Providence Grain and Rice LLC (LakeProv)

       1.       Class 1 – Priority Non-Tax Class

                 a.     Classification: Class 1 consists of the Priority Non-Tax Claims.

                b.       Treatment: Each Holder of an Allowed Priority Non-Tax Claim shall
        receive, in full and final satisfaction of such Allowed Priority Non-Tax Claim: (i) Cash in
        the amount of such claim, as soon as practicable following the later of: (a) the Effective
        Date and (b) the date such Priority Non-Tax Claim becomes an Allowed Claim; or (ii) such
        other treatment as may be agreed by the Debtors and such Holder.

                c.      Voting: Class 1 is an Unimpaired Class, and the Holders of Claims in this
        Class are deemed to accept the Combined Disclosure Statement and Plan and are therefore
        not entitled to vote.

       2.        Class 2 – Prepetition Bridge Lenders‘ Secured Claims

               a.       Classification: Class 2 consists of the Prepetition Bridge Lenders’ Secured
        Claims.

                 b.      Treatment: To the extent the Prepetition Bridge Loan Claims (and any
        adequate protection claims, if any) are not fully satisfied by Bayou, the Prepetition Bridge
        Lenders shall receive their Pro Rata share of (a) all Allocated Value (Greenfield Sale)
        allocated to LakeProv, and (b) all Distributed Value dividended up by Bayou to LakeProv
        in satisfaction of their Prepetition Bridge Loan Claims (and any adequate protection claims,
        if any), less any amounts Distributed to the Holders of Allowed Claims in Classes 1 and 3
        in order to satisfy the treatment of those Classes, in an amount not to exceed in the
        aggregate, together with all other distributions to the Prepetition Bridge Lenders under this

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        Combined Disclosure Statement and Plan, the amount of the Prepetition Bridge Loan
        Claims. For the avoidance of doubt, amounts paid to the Prepetition Bridge Lenders from
        other Debtors in respect of the Prepetition Bridge Loan Claims (and adequate protection
        claims of the Prepetition Bridge Lenders, if any) shall reduce the amounts payable
        hereunder, and vice versa.

                c.      Voting: Class 2 is an Unimpaired Class, and the Holders of Claims in this
        Class are deemed to accept the Combined Disclosure Statement and Plan and are therefore
        not entitled to vote.

        3.       Class 3 – General Unsecured Class

                 a.      Classification: Class 3 consists of the General Unsecured Claims.

                b.      Treatment: Each Holder of an Allowed General Unsecured Claim shall be
        paid in full and final satisfaction of such Allowed General Unsecured Claim in accordance
        with the instruments governing the Allowed General Unsecured Claim.

                c.      Voting: Class 3 is an Unimpaired Class, and the Holders of Claims in this
        Class are deemed to accept the Combined Disclosure Statement and Plan and are therefore
        not entitled to vote.

       4.        Class 4 – Equity Interests

                 a.      Classification: Class 4 consists of Equity Interests.

                b.     Treatment: To the extent of any Distributed Value after full and final
        satisfaction of all Allowed Claims in LakeProv’s Classes 1-3, such value shall be
        dividended up to its sole member, AGMS.

                c.      Voting: Class 4 is an Impaired Class, and the Holders of Claims in this
        Class are entitled to vote to accept or reject the Combined Disclosure Statement and Plan.

                 (iii)   Agspring MS, LLC (AGMS)

       1.       Class 1 – Priority Non-Tax Class

                 a.      Classification: Class 1 consists of the Priority Non-Tax Claims.

                b.       Treatment: Each Holder of an Allowed Priority Non-Tax Claim shall
        receive, in full and final satisfaction of such Allowed Priority Non-Tax Claim: (i) Cash in
        the amount of such claim, as soon as practicable following the later of: (a) the Effective
        Date and (b) the date such Priority Non-Tax Claim becomes an Allowed Claim; or (ii) such
        other treatment as may be agreed by the Debtors and such Holder.

                c.      Voting: Class 1 is an Unimpaired Class, and the Holders of Claims in this
        Class are deemed to accept the Combined Disclosure Statement and Plan and are therefore
        not entitled to vote.

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       2.       Class 2 – Prepetition Bridge Lenders’ Secured Claims

               a.       Classification: Class 2 consists of the Prepetition Bridge Lenders’ Secured
        Claims.

                b.      Treatment: To the extent the Prepetition Bridge Loan Claims (and any
        adequate protection claims, if any) are not fully satisfied by Bayou or LakeProv, the
        Prepetition Bridge Lenders shall receive their Pro Rata share of all Distributed Value
        dividended up by LakeProv to AGMS in satisfaction of their Prepetition Bridge Loan
        Claims (and any adequate protection claims, if any), less any amounts Distributed to the
        Holders of Allowed Claims in Classes 1 and 3 in order to satisfy the treatment of those
        Classes, in an amount not to exceed in the aggregate, together with all other distributions
        to the Prepetition Bridge Lenders under this Combined Disclosure Statement and Plan, the
        amount of the Prepetition Bridge Loan Claims. For the avoidance of doubt, amounts paid
        to the Prepetition Bridge Lenders from other Debtors in respect of the Prepetition Bridge
        Loan Claims (and adequate protection claims of the Prepetition Bridge Lenders, if any)
        shall reduce the amounts payable hereunder, and vice versa.

                c.      Voting: Class 2 is an Unimpaired Class, and the Holders of Claims in this
        Class are deemed to accept the Combined Disclosure Statement and Plan and are therefore
        not entitled to vote.

       3.       Class 3 – General Unsecured Class

                 a.     Classification: Class 3 consists of the General Unsecured Claims.

                b.      Treatment: Each Holder of an Allowed General Unsecured Claim shall be
        paid in full and final satisfaction of such Allowed General Unsecured Claim in accordance
        with the instruments governing the Allowed General Unsecured Claim.

                c.      Voting: Class 3 is an Unimpaired Class, and the Holders of Claims in this
        Class are deemed to accept the Combined Disclosure Statement and Plan and are therefore
        not entitled to vote.

       4.       Class 4 – Equity Interests

                 a.     Classification: Class 4 consists of Equity Interests.

                 b.     Treatment: To the extent of any Distributed Value after full and final
        satisfaction of all Allowed Claims in AGMS’s Classes 1-3, such value shall be dividended
        up to its sole member, AGMS1.

                c.      Voting: Class 4 is an Impaired Class, and the Holders of Claims in this
        Class are entitled to vote to accept or reject the Combined Disclosure Statement and Plan.




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                 (iv)   Agspring MS 1, LLC (AGMS1)

       1.       Class 1 – Priority Non-Tax Class

                 a.     Classification: Class 1 consists of the Priority Non-Tax Claims.

                b.       Treatment: Each Holder of an Allowed Priority Non-Tax Claim shall
        receive, in full and final satisfaction of such Allowed Priority Non-Tax Claim: (i) Cash in
        the amount of such claim, as soon as practicable following the later of: (a) the Effective
        Date and (b) the date such Priority Non-Tax Claim becomes an Allowed Claim; or (ii) such
        other treatment as may be agreed by the Debtors and such Holder.

                c.      Voting: Class 1 is an Unimpaired Class, and the Holders of Claims in this
        Class are deemed to accept the Combined Disclosure Statement and Plan and are therefore
        not entitled to vote.

       2.       Class 2 – Prepetition Bridge Lenders‘ Secured Claims

               a.       Classification: Class 2 consists of the Prepetition Bridge Lenders’ Secured
        Claims.

               b.      Treatment: To the extent the Prepetition Bridge Loan Claims (and any
        adequate protection claims, if any) are not fully satisfied by Bayou, LakeProv, or AGMS,
        the Prepetition Bridge Lenders shall receive their Pro Rata share of all Distributed Value
        dividended up by AGMS to AGMS1 in satisfaction of their Prepetition Bridge Loan Claims
        (and any adequate protection claims, if any), less any amounts Distributed to the Holders
        of Allowed Claims in Classes 1 and 4 in order to satisfy the treatment of those Classes.

                c.      Voting: Class 2 is an Unimpaired Class, and the Holders of Claims in this
        Class are deemed to accept the Combined Disclosure Statement and Plan and are therefore
        not entitled to vote.

       3.       Class 3 – Prepetition Term Secured Parties‘ Secured Claims.

               a.    Classification: Class 3 consists of the Prepetition Term Secured Parties’
        Secured Claims.

                b.      Treatment: The Prepetition Term Secured Parties shall receive on account
        of their Allowed Prepetition Term Secured Parties’ Secured AGMS1 Claim an amount
        equal to all Distributed Value dividended up by AGMS to AGMS1, less (i) the amount of
        AGMS1’s Distributions to Classes 1, 2, and 4 at AGMS1, and (ii) the Plan Contribution
        Amount, which shall be separately dividended to AMR and then “gifted” to support the
        Combined Disclosure Statement and Plan and deducted from the distributions to Class 3 at
        AMR.

                c.      Voting: Class 3 is an Impaired Class, and the Holders of Claims in this
        Class are entitled to vote to accept or reject the Combined Disclosure Statement and Plan.


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       4.       Class 4 – General Unsecured Class

                 a.     Classification: Class 4 consists of General Unsecured Claims.

                b.      Treatment: Each Holder of an Allowed General Unsecured Claim shall be
        paid in full and final satisfaction of such Allowed General Unsecured Claim in accordance
        with the instruments governing the Allowed General Unsecured Claim.

                c.      Voting: Class 4 is an Unimpaired Class, and the Holders of Claims in this
        Class are deemed to accept the Combined Disclosure Statement and Plan and are therefore
        not entitled to vote.

       5.       Class 5 – Equity Interests

                 a.     Classification: Class 5 consists of Equity Interests.

                b.     Treatment: After full and final satisfaction of all Allowed Claims in
        AGMS1’s Classes 1, 2, and 4, and the treatment of all Allowed Claims in AGMS1’s Class
        3, value equal to the Plan Contribution Amount shall be dividended up to AGMS1’s sole
        member, AMR.

                c.      Voting: Class 5 is an Impaired Class, and the Holders of Claims in this
        Class are entitled to vote to accept or reject the Combined Disclosure Statement and Plan.

                 (v)    Agspring Mississippi Region, LLC (AMR)

       1.       Class 1 – Priority Non-Tax Class

                 a.     Classification: Class 1 consists of the Priority Non-Tax Claims.

                b.       Treatment: Each Holder of an Allowed Priority Non-Tax Claim shall
        receive, in full and final satisfaction of such Allowed Priority Non-Tax Claim: (i) Cash in
        the amount of such claim, as soon as practicable following the later of: (a) the Effective
        Date and (b) the date such Priority Non-Tax Claim becomes an Allowed Claim; or (ii) such
        other treatment as may be agreed by the Debtors and such Holder.

                c.      Voting: Class 1 is an Unimpaired Class, and the Holders of Claims in this
        Class are deemed to accept the Combined Disclosure Statement and Plan and are therefore
        not entitled to vote.

       2.       Class 2 – Prepetition Bridge Lenders’ Secured Claims

               a.       Classification: Class 2 consists of the Prepetition Bridge Lenders’ Secured
        Claims.

               b.       Treatment: The Prepetition Bridge Lenders shall receive their Pro Rata
        share of all Allocated Value (Greenfield Sale) allocated to AMR in respect of personal
        property in satisfaction of their Prepetition Bridge Loan Claims (and adequate protection

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        claims of the Prepetition Bridge Lenders, if any) in an amount not to exceed in the
        aggregate, together with all other distributions to the Prepetition Bridge Lenders under this
        Combined Disclosure Statement and Plan, the amount of the Prepetition Bridge Loan
        Claims. For the avoidance of doubt, amounts paid to the Prepetition Bridge Lenders from
        other Debtors in respect of the Prepetition Bridge Loan Claims (and adequate protection
        claims of the Prepetition Bridge Lenders, if any) shall reduce the amounts payable
        hereunder, and vice versa.

                c.      Voting: Class 2 is an Unimpaired Class, and the Holders of Claims in this
        Class are deemed to accept the Combined Disclosure Statement and Plan and are therefore
        not entitled to vote.

       3.       Class 3 – Prepetition Term Secured Parties’ Secured Claims

               a.    Classification: Class 3 consists of the Prepetition Term Secured Parties’
        Secured Claims.

                 b.     Treatment: On account of their Allowed Prepetition Term Secured
        Parties’ Secured AMR Claim, the Prepetition Term Secured Parties shall (x) receive and
        retain the Post-Petition Payment Amount (and for the avoidance of doubt, such receipt and
        retention shall reduce the amount of such Allowed Prepetition Term Secured Parties’
        Secured AMR Claim) and (y) receive the sum of (i) the Allocated Value (Greenfield Sale)
        allocated to AMR, less any amounts (if any) actually Distributed to AMR’s Class 2 out of
        the Allocated Value (Greenfield Sale) allocated to AMR, (ii) the Allocated Value (Tubbs
        Properties – PSP), and (iii) the Distributed Value (if any) dividended up from AGMS1 to
        AMR, less the amount of any applicable Plan Contribution Amount, which shall be “gifted”
        to support the Combined Disclosure Statement and Plan and deducted from the
        Distributions to AMR’s Class 3.

                         Notwithstanding anything to the contrary, (A) no Distributions shall be
        made in respect of the funds escrowed in connection with the Greenfield Sale until such
        time as such funds are released from escrow under the terms of the Greenfield Sale, and
        (B) no Distributions shall be made in respect of the Allocated Value (Tubbs Properties)
        until (x) the occurrence of a Tubbs Properties Liquidation Event or (y) following entry of
        a final order resolving the Adversary Proceeding (Tubbs Parties) and the expiration of any
        applicable appeal period, the Debtors determine, in their reasonable discretion, to engage
        in a Tubbs Properties Surrender Event.

               c.       Voting: Class 3 is an Impaired Class, and the Holders of Claims in this
        Class are entitled to vote to accept or reject the Combined Disclosure Statement and Plan.

       4.       Class 4 – Tubbs Parties Secured Claims

                 a.     Classification: Class 4 consists of the Tubbs Parties’ Secured Claims.

                b.       Treatment: Each Holder of an Allowed Tubbs Secured Claim shall
        receive, in full and final satisfaction of and in exchange for such Allowed Tubbs Secured
        Claim: (i) upon the occurrence of a Tubbs Properties Liquidation Event, their Pro Rata
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        share of the Allocated Value (Tubbs Properties) attributable to the portion of the Tubbs
        Properties sold in connection with such Tubbs Properties Liquidation Event upon which
        the Tubbs Parties hold a first-priority Lien (which Liens on such property are expressly
        preserved hereby); and (ii) upon the occurrence of a Tubbs Properties Surrender Event,
        surrender of all remaining property of AMR subject to a valid and perfected, first priority
        Lien of the Tubbs Parties. For the avoidance of doubt, in the event of a Tubbs Properties
        Liquidation Event, the Tubbs Parties shall be entitled to credit bid for the entirety of the
        Tubbs Properties subject to such sale so long as they pay Cash for the portion of the
        purchase price allocated by the Debtors, in their reasonable discretion, to the portion of the
        Tubbs Properties upon which the Prepetition Secured Parties hold first-priority Liens, if
        any.

                c.      Voting: Class 4 is an Impaired Class, and the Holders of Claims in this
        Class are entitled to vote to accept or reject the Combined Disclosure Statement and Plan.

       5.       Class 5 – Prepetition Term Secured Parties’ Unsecured Deficiency Claims

               a.      Classification: Class 5 consists of the Prepetition Term Secured Parties’
        and Prepetition Bridge Lenders’ Unsecured Deficiency Claims.

                b.     Treatment: Each Holder of an Allowed Prepetition Lenders’ Unsecured
        Deficiency Claim shall receive, in full and final satisfaction of and in exchange for such
        Allowed Prepetition Lenders’ Unsecured Deficiency Claim, together with the Holders of
        the General Unsecured Claims and the Tubbs Unsecured Deficiency Claim, such Holder’s
        Pro Rata share of proceeds of unencumbered AMR property (including, to the extent
        applicable, any unencumbered Causes of Action) liquidated or disposed of on or after the
        Effective Date; provided, in no event shall any Holder of Lenders’ Unsecured Deficiency
        Claim receive greater than 100% of its Lenders’ Unsecured Deficiency Claim. For the
        avoidance of doubt, all cash Distributions made on account of the Prepetition Credit
        Agreement shall be made to the Prepetition Term Agent for further distribution to the
        Prepetition Term Lenders in accordance with the Prepetition Credit Agreement.

                c.      Voting: Class 5 is an Impaired Class, and the Holders of Claims in this
        Class are entitled to vote to accept or reject the Combined Disclosure Statement and Plan.

       6.       Class 6 – Tubbs Parties’ Unsecured Deficiency Claims

               a.     Classification:      Class 6 consists of the Tubbs Parties’ Unsecured
        Deficiency Claims.

                b.      Treatment: Each Holder of an Allowed Tubbs Parties’ Unsecured
        Deficiency Claim shall receive, in full and final satisfaction of and in exchange for such
        Allowed Unsecured Deficiency Claim: (i) Pro Rata Distribution of the Tubbs’ Contribution
        Amount, contingent upon Holders of Tubbs Unsecured Deficiency Claims unanimously
        (v) voting in favor of the Combined Disclosure Statement and Plan, (w) not opting out of
        the Third Party Release under the Combined Disclosure Statement and Plan, (x) not
        otherwise opposing the Combined Disclosure Statement and Plan or any provision therein,
        (y) dismissing with prejudice the Louisiana Litigation, including all claims and causes of
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        action asserted by the Tubbs Parties therein, and, to the extent applicable, the Louisiana
        Transfer Proceedings, and (z) releasing any and all claims, obligations, rights, suits,
        damages, causes of action, remedies, and liabilities whatsoever that could be asserted by
        any Tubbs Party against any Released Party as of the Effective Date; and (ii) together with
        the Holders of the AMR Class 7 General Unsecured Claims and the Lenders’ AMR Class
        5 Unsecured Deficiency Claims, such Holder’s Pro Rata share of proceeds of
        unencumbered Debtor property (including, to the extent applicable, any unencumbered
        Causes of Action) liquidated or disposed of on or after the Effective Date; provided, in no
        event shall any Holder of a Tubbs Unsecured Deficiency Claim receive greater than 100%
        of its Tubbs Unsecured Deficiency Claim. Each Holder of an Allowed Tubbs Claim shall
        receive its Pro Rata share of the Tubbs Contribution Amount, to the extent applicable, as
        soon as practicable following the later of (a) the Effective Date and (b) the date such Tubbs
        Claim becomes an Allowed Claim.

                c.      Voting: Class 6 is an Impaired Class, and the Holders of Claims in this
        Class are entitled to vote to accept or reject the Combined Disclosure Statement and Plan.

       7.       Class 7 – General Unsecured Class

                 a.     Classification: Class 7 consists of the General Unsecured Claims.

                b.      Treatment: Each Holder of an Allowed General Unsecured Claim shall
        receive, in full and final satisfaction of and in exchange for such Allowed General
        Unsecured Claim: (i) Pro Rata Distribution of the GUC Contribution Amount in an amount
        not to exceed 98% of such Holder’s Allowed General Unsecured Claim, contingent upon
        Holders of General Unsecured Claims, in requisite number and amount as is necessary for
        Class 7 to accept the Combined Disclosure Statement and Plan, (x) voting in favor of the
        Combined Disclosure Statement and Plan, (y) not opting out of the Third Party Release
        provided under the Combined Disclosure Statement and Plan, and (z) not otherwise
        opposing the Combined Disclosure Statement and Plan or any provision therein; and (ii)
        together with the Holders of the Lenders’ Unsecured Deficiency Claim and the Tubbs
        Unsecured Deficiency Claim, such Holder’s Pro Rata share of proceeds of any remaining
        unencumbered Debtor property (including, to the extent applicable, any unencumbered
        Causes of Action) liquidated or disposed of on or after the Effective Date; provided, in no
        event shall any Holder of an Allowed General Unsecured Claim receive greater than 100%
        of its Allowed General Unsecured Claim. Each Holder of an Allowed General Unsecured
        Claim shall receive its Pro Rata share of the GUC Contribution Amount, to the extent
        applicable, as soon as practicable following the later of: (a) the Effective Date and (b) the
        date such General Unsecured Claim becomes an Allowed Claim.

                c.      Voting: Class 7 is an Impaired Class, and the Holders of Claims in this
        Class are entitled to vote to accept or reject the Combined Disclosure Statement and Plan.

       8.       Class 8 – Equity Interests

                 a.     Classification: Class 8 consists of Equity Interests.


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                b.     Treatment: As of the Effective Date, all Equity Interests of any kind shall
        be deemed void, cancelled and of no further force and effect and the Holders thereof shall
        not receive or retain any property or interest in property under the Combined Disclosure
        Statement and Plan on account of such Equity Interests.

                c.      Voting: Class 8 is an Impaired Class, and the Holders of Claims in this
        Class are deemed to reject the Combined Disclosure Statement and Plan and are therefore
        not entitled to vote.

C.      Treatment of Intercompany Claims

        As noted above, the Debtors have not classified any Claims they may have against any
other Debtor. Specifically, as of the Petition Date, there were two intercompany claims, both of
which were included in the Schedules: (1) a $4,313.15 Claim held by AMR against Bayou that
will be paid through the successive dividending of Equity Interest value from Bayou up, through
intermediate members, to AMR; and (2) a $169,258 Claim held by LakeProv against AMR on
account of AMR’s lease of LakeProv property to CGB, and included within AMR’s Schedules,
which Debt is effectively uncollectable to the extent AMR has no assets to pay any Debt beyond
the treatment to nondebtor Creditors provided for below.

                                               IX.

                         ACCEPTANCE OR REJECTION OF THE
                      COMBINED DISCLOSURE STATEMENT AND PLAN

A.      Holders of Claims and Equity Interests Entitled to Vote

         Pursuant to § 1126 of the Bankruptcy Code, each Impaired Class of Claims or Interests that
will receive a Distribution pursuant to this Combined Disclosure Statement and Plan may vote
separately to accept or reject this Combined Disclosure Statement and Plan. Each Holder of an
Allowed Claim in such an Impaired Class shall receive a Ballot and may cast a vote to accept or
reject this Combined Disclosure Statement and Plan. Only those votes cast by Holders of Allowed
Claims shall be counted in determining whether acceptances have been received sufficient in
number and amount to obtain Confirmation. The following Classes of each of the Debtors are
Impaired and entitled to vote:

 Debtor                                               Impaired Classes Entitled to Vote

 Agspring Mississippi Region, LLC (AMR)               Class 3, Class 4, Class 5, Class 6, and Class
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 Agspring MS 1, LLC (AGMS1)                           Class 3 and Class 5

 Agspring MS, LLC (AGMS)                              Class 4

 Lake Providence Grain and Rice LLC (LakeProv) Class 4



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 Bayou Grain & Chemical Corporation (Bayou)                  Class 4


B.      Deemed to Reject

       The following Classes of each of the Debtors are Impaired, are not entitled to a Distribution
and are deemed to reject the Combined Disclosure Statement and Plan:

 Debtor                                                      Impaired Classes Deemed to Reject


 Agspring Mississippi Region, LLC (AMR)                      Class 8


C.      Classes Deemed to Accept

       The following Classes of the Debtors are Unimpaired, not entitled to vote to accept or reject
the Combined Disclosure Statement and Plan and are deemed to accept the Combined Disclosure
Statement and Plan17:

 Debtor                                                       Unimpaired Classes


 Agspring Mississippi Region, LLC (AMR)                       Class 1 and Class 2

 Agspring MS 1, LLC (AGMS1)                                   Class 1, Class 2, and Class 4

 Agspring MS, LLC (AGMS)                                      Class 1, Class 2, and Class 3

 Lake Providence Grain and Rice LLC (LakeProv) Class 1, Class 2, and Class 3

 Bayou Grain & Chemical Corporation (Bayou)                   Class 1, Class 2, and Class 3


D.      Acceptance by a Class

       A Class of Claims entitled to vote to accept or reject this Combined Disclosure Statement
and Plan accepts this Combined Disclosure Statement and Plan if the Holders of Claims in such
voting Class that hold at least two-thirds (2/3) in amount and more than one-half (1/2) in number
of the Claims that complete and return Ballots in such Class vote to accept this Combined
Disclosure Statement and Plan. A Class of Interests is deemed to accept this Combined Disclosure
Statement and Plan if this Combined Disclosure Statement and Plan has been accepted by Holders



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  In the event the Debtors seek confirmation of the Combined Disclosure Statement and Plan under § 1129(b) of the
Bankruptcy Code, the Debtors will not seek to propose Term Lenders’ Secured Classes or Term Lenders’ Unsecured
Deficiency Classes as the impaired accepting class required to confirm the Combined Disclosure Statement and Plan
provided under § 1129(a)(10) of the Bankruptcy Code.
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of at least two-thirds (2/3) of the amount of the Allowed Interests held by Holders of such Interests
who vote in such Class.

E.      Class Without Voting Claim Holders

        If Holders of Claims in a particular Impaired Class of Claims are entitled to vote to accept
or reject this Combined Disclosure Statement and Plan, but no Holders of Claims in such Impaired
Class of Claims vote to accept or reject this Combined Disclosure Statement and Plan, then such
Class of Claims shall be deemed to have accepted this Combined Disclosure Statement and Plan.

F.      Nonconsensual Confirmation

        In the event that any impaired class of claims or interests does not accept a plan, a debtor
nevertheless may move for confirmation of the plan. A plan may be confirmed, even if it is not
accepted by all impaired classes, if the plan has been accepted by at least one impaired class of
claims, and the plan meets the “cramdown” requirements set forth in § 1129(b) of the Bankruptcy
Code. Section 1129(b) requires that a court find that a plan (a) “does not discriminate unfairly”
and (b) is “fair and equitable,” with respect to each non-accepting impaired class of claims or
interests. Here, because Class 8 of Equity Interests in AMR is deemed to reject the Combined
Disclosure Statement and Plan by operation of law, the Plan Proponents will seek confirmation of
the Combined Disclosure Statement and Plan from the Bankruptcy Court by satisfying the
“cramdown” requirements set forth in § 1129(b) of the Bankruptcy Code. The Plan Proponents
believe that such requirements are satisfied by the proposed structure of the Combined Disclosure
Statement and Plan.

        A plan does not “discriminate unfairly” if (a) the legal rights of a non-accepting class are
treated in a manner that is consistent with the treatment of other classes whose legal rights are
similar to those of the non-accepting class and (b) no class receives payments in excess of that
which it is legally entitled to receive for its claims or interests. The Plan Proponents believe that,
under the Combined Disclosure Statement and Plan, all Impaired Classes of Claims or Interests
are treated in a manner that is consistent with the treatment of other Classes of Claims or Interests
that are similarly situated, if any, and no Class of Claims or Interests will receive payments or
property with an aggregate value greater than the aggregate value of the Allowed Claims or
Allowed Interests in such Class. Accordingly, the Plan Proponents believe that the Combined
Disclosure Statement and Plan does not discriminate unfairly as to any Impaired Class of Claims
or Interests.

        The Bankruptcy Code provides a nonexclusive definition of the phrase “fair and equitable.”
In order to determine whether a plan is “fair and equitable,” the Bankruptcy Code establishes “cram
down” tests for secured creditors, unsecured creditors, and equity holders, as follows:

        a.       Secured Creditors. Either (i) each impaired secured creditor retains its liens
                 securing its secured claim and receives on account of its secured claim deferred
                 cash payments having a present value equal to the amount of its allowed secured
                 claim, (ii) each impaired secured creditor realizes the “indubitable equivalent” of
                 its allowed secured claim or (iii) the property securing the claim is sold free and


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                 clear of liens with such liens to attach to the proceeds of the sale and the treatment
                 of such liens on proceeds to be as provided in clause (i) or (ii) above.

        b.       Unsecured Creditors. Either (i) each impaired unsecured creditor receives or
                 retains under the plan property of a value equal to the amount of its allowed claim
                 or (ii) the holders of claims and interests that are junior to the claims of the
                 dissenting class will not receive any property under the plan.

        c.       Equity Interests. Either (i) each holder of an equity interest will receive or retain
                 under the plan property of a value equal to the greatest of the fixed liquidation
                 preference to which such holder is entitled, the fixed redemption price to which
                 such holder is entitled or the value of the interest or (ii) the holder of an interest that
                 is junior to the non-accepting class will not receive or retain any property under the
                 plan.

As discussed above, the Plan Proponents believe that the Distributions provided under the
Combined Disclosure Statement and Plan satisfy the absolute priority rule, where required.

                                                       X.

                         MEANS FOR IMPLEMENTATION OF THE
                      COMBINED DISCLOSURE STATEMENT AND PLAN

A.      Revesting/Handling of Estate Assets

        The assets of the Estates shall revert to the Liquidating Debtors under the Combined
Disclosure Statement and Plan and shall be distributed only in accordance with this Combined
Disclosure Statement and Plan. Except as otherwise provided in this Combined Disclosure
Statement and Plan and the Confirmation Order, such assets shall be free and clear of all Claims
and Liens. The Liquidating Debtors shall promptly pay the Holders of (a) Allowed Administrative
Claims, (b) Allowed Professional Fee Claims, (c) Allowed Priority Tax Claims, and (d) Allowed
Priority Non-Tax Claims, as provided for under the Combined Disclosure Statement and Plan.
The Liquidating Debtors shall make the Cash payments to the Holders of Allowed Claims: (a) in
U.S. dollars by check, draft or warrant, drawn on a domestic bank selected by the Liquidating
Debtors in their sole discretion, or by wire transfer from a domestic bank, at the Liquidating
Debtors’ option, and (b) by first-class mail (or by other equivalent or superior means as determined
by the Liquidating Debtors). Any excess funds shall be available to pay any unpaid Allowed
Professional Fees, to the extent Allowed Professional Fees have not been completely satisfied, and
following delivery of a report of such outstanding fees to the Lenders in form and detail reasonably
acceptable to them. Thereafter, any excess funds shall be distributed as set forth in the Combined
Disclosure Statement and Plan.

B.      Payment of Combined Disclosure Statement and Plan Expenses

        All expenses of administering the Combined Disclosure Statement and Plan may be paid
by the Liquidating Debtors without further notice to Creditors or approval of the Bankruptcy Court.
Any disputes concerning the payment of Combined Disclosure Statement and Plan expenses shall
be submitted to the Bankruptcy Court for resolution.
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C.      Liquidation and Dissolution of the Debtors

        The Liquidating Debtors shall conduct no business following the Effective Date other than
winding up their affairs in accordance with applicable law and the provisions of this Combined
Disclosure Statement and Plan. Without limiting the generality or effect of the foregoing,
following the Effective Date the Liquidating Debtors shall: (i) undertake those transactions that
are necessary, advantageous or practicable to obtain the maximum value from Estates’ assets; and
(ii) exercise their best efforts and endeavor in good faith and without undue delay to liquidate all
Claims as set forth herein. Except as otherwise provided in this Combined Disclosure Statement
and Plan or the Confirmation Order, pursuant to applicable bankruptcy and non-bankruptcy law,
the Liquidating Debtors shall be authorized to (i) wind up their affairs and dissolve and (ii) put
into effect and carry out the terms of the Combined Disclosure Statement and Plan and any orders
of the Bankruptcy Court entered in the Chapter 11 Cases, without further action by their boards of
directors or Equity Interest Holders.

D.      Power and Authority of Responsible Officer

        From and after the Effective Date, the Liquidating Debtors will be managed and governed
by the Responsible Officer who shall act as the representative of the Liquidating Debtors.
Activities of the Liquidating Debtors as permitted and limited under this Combined Disclosure
Statement and Plan will be managed by the Responsible Officer. To the extent applicable, the
Responsible Officer may use lower priced employees of his firm as he deems appropriate.
Compensation and reimbursement of the Responsible Officer, and any lower priced employees
from his or her firm (if any), shall be considered expenses of the Combined Disclosure Statement
and Plan. Confirmation of the Combined Disclosure Statement and Plan shall constitute the
appointment of the Responsible Officer by the Bankruptcy Court as the representative of the
Liquidating Debtors to (a) exercise the rights, power and authority of the Liquidating Debtors
under applicable provisions of the Combined Disclosure Statement and Plan and bankruptcy and
non-bankruptcy law, (b) retain professionals to represent the Liquidating Debtors in performing
and implementing the Combined Disclosure Statement and Plan, (c) marshal and liquidate the
Estates’ assets and to collect the proceeds of the Combined Disclosure Statement and Plan for the
benefit of Creditors, (d) resolve Disputed Claims and effectuate Distributions to Holders of
Allowed Claims as set forth in the Combined Disclosure Statement and Plan, (e) make all
Distributions contemplated hereby and (f) otherwise implement the Combined Disclosure
Statement and Plan, wind up the affairs of the Liquidating Debtors and close the Chapter 11 Cases.
The compensation arrangements with the Responsible Officer shall be subject to approval by the
Bankruptcy Court prior to the Effective Date. On the Effective Date, the Responsible Officer will
be deemed to have retained the Debtors’ Professionals under the arrangements existing on the
Effective Date, without any need for new retention agreements or further orders of the Bankruptcy
Court. Except as otherwise provided in this Combined Disclosure Statement and Plan or the
Confirmation Order, the Responsible Officer shall (i) be authorized to execute a certificate of
dissolution for the Liquidating Debtors pursuant to applicable non-bankruptcy law, or otherwise
take any necessary steps required to wind up the Liquidating Debtors under applicable law, at such
time as the Liquidating Debtors have fully wound up their affairs in accordance with applicable
law pursuant to the provisions of the Combined Disclosure Statement and Plan, (ii) serve until the
Liquidating Debtors are dissolved and a final decree is entered closing their Chapter 11 Cases,
unless earlier removed by the Bankruptcy Court for cause shown, after notice and a hearing, (iii)
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ensure that the Liquidating Debtors comply with their obligations to pay statutory fees under 28
U.S.C. § 1930(a)(6), and (iv) file all post-Confirmation reports required by the Bankruptcy Rules,
the Bankruptcy Court, the Local Bankruptcy Rules, or any applicable Guidelines of the U.S.
Trustee. Upon the removal of the Responsible Officer for cause, or if the sitting Responsible
Officer becomes unable, unavailable, or unwilling to continue to serve, the Bankruptcy Court will
appoint a replacement upon the request of any party in interest.

E.       Causes of Action

       Except as otherwise provided in this Combined Disclosure Statement and Plan, all Causes
of Action are retained by and vested in the Liquidating Debtors pursuant to § 1123(b) of the
Bankruptcy Code.

F.       Full and Final Satisfaction

        Commencing upon the Effective Date, the Liquidating Debtors shall be authorized and
directed to Distribute the amounts required under the Combined Disclosure Statement and Plan to
the Holders of Allowed Claims according to the provisions of the Combined Disclosure Statement
and Plan. Upon the Effective Date, all Debts shall be deemed fixed and adjusted pursuant to this
Combined Disclosure Statement and Plan, and the Debtors and Liquidating Debtors 18 shall have
no liability on account of any Claims or Interests except as set forth in this Combined Disclosure
Statement and Plan. All payments and all Distributions made by the Liquidating Debtors under
the Combined Disclosure Statement and Plan shall be in full and final satisfaction, settlement and
release of all Claims filed against the Estates; provided, however, that nothing contained herein
shall be deemed to constitute or result in a discharge of the Debtors under § 1141(d) of the
Bankruptcy Code.

G.       Resolution of Disputed Claims

        All objections to Claims shall be filed and served not later than the Claims Objection
Deadline; provided, however, such date may be extended by the Bankruptcy Court upon motion
(the “Extension Motion”) filed by the Debtors or the Liquidating Debtors. If an objection is not
timely filed or if no Extension Motion is pending by such deadline, any remaining Disputed Claims
shall be deemed to be Allowed Claims for purposes of this Combined Disclosure Statement and
Plan. Unless otherwise provided in the Confirmation Order, the Liquidating Debtors are
authorized to settle, or withdraw any objections to, any Disputed Claim following the Effective
Date without further notice to Creditors or authorization of the Bankruptcy Court, in which event
such Claim shall be deemed to be an Allowed Claim in the amount compromised for purposes of
this Combined Disclosure Statement and Plan. Under no circumstances will any Distributions be
made on account of Disallowed Claims.

H.       Allocation of Distributions

      Distributions to any Holder of an Allowed Claim shall be allocated first to the principal
amount of any such Allowed Claim, as determined for federal income tax purposes, and then, to

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  For the avoidance of doubt, this section does not apply to or affect nondebtor entities Agspring or Holdco, or
release Liens on those entities’ property.
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the extent the consideration exceeds such amount, to the remainder of such Claim comprising
interest, if any (but solely to the extent that interest is an allowable portion of such Allowed Claim).

I.      Rounding

       Whenever any payment of a fraction of a cent would otherwise be called for, the actual
Distribution shall reflect a rounding of such fraction down to the nearest cent.

J.      Postpetition Interest on Claims

       Except as required by applicable bankruptcy law, postpetition interest shall not accrue or
be payable on account of any Claim.

K.      Insurance

       Notwithstanding anything to the contrary herein, if any Allowed Claim is covered by an
Insurance Policy, such Claim shall first be paid from the proceeds of such Insurance Policy, with
the balance, if any, treated in accordance with the provisions of this Combined Disclosure
Statement and Plan governing the Class applicable to such Claim.

L.      Unclaimed Property

        Any Entity that fails to claim any Cash within 90 days from the date upon which a
Distribution is first made to such Entity shall forfeit all rights to any Distribution under the
Combined Disclosure Statement and Plan. Upon forfeiture, such Cash (including interest thereon)
shall be returned to the Liquidating Debtors for redistribution as set forth in this Combined
Disclosure Statement and Plan. Entities that fail to claim Cash shall forfeit their rights thereto and
shall have no claim whatsoever against the Debtors, the Liquidating Debtors, or the Responsible
Officer.

M.      Setoffs

       Nothing contained in this Combined Disclosure Statement and Plan shall constitute a
waiver or release by the Debtors or the Liquidating Debtors of any right of setoff or recoupment
the Debtors or the Liquidating Debtors may have against any Creditor.

N.      No Distributions on Late-Filed Claims

        Except as otherwise provided in a Final Order of the Bankruptcy Court, any Claim as to
which a Proof of Claim was first filed after the applicable Bar Date shall be a Disallowed Claim,
and the Liquidating Debtors shall not make any Distribution to a Holder of such a Claim; provided,
however, that to the extent such Claim was listed in the Schedules (other than as contingent,
disputed, or unliquidated) and would be an Allowed Claim but for the lack of a timely proof of
Claim, the Liquidating Debtors shall treat such Claim as an Allowed Claim in the amount in which
it was so listed.




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O.      Withholding Taxes

        Pursuant to § 346(f) of the Bankruptcy Code, the Liquidating Debtors shall be entitled to
deduct any federal, state, or local withholding taxes from any Cash payments made with respect
to Allowed Claims, as appropriate. From and as of the Effective Date, the Liquidating Debtors
shall comply with all reporting obligations imposed on them by any Governmental Unit in
accordance with applicable law with respect to such withholding taxes. As a condition to making
any Distribution under this Combined Disclosure Statement and Plan, the Liquidating Debtors may
require that the Holder of an Allowed Claim provide such Holder’s taxpayer identification number
and such other information and certification as may be deemed necessary for the Liquidating
Debtors to comply with applicable tax reporting and withholding laws.

P.      De Minimis Distributions; Charitable Donation

       The Liquidating Debtors shall not be required to make any Distribution of Cash less than
$100.00 to any Holder of an Allowed Claim.

Q.      U.S. Trustee Fees

        All outstanding amounts due under 28 U.S.C. § 1930 that have not been paid shall be paid
by the Debtors or the Liquidating Debtors, as applicable, on or before the Effective Date.
Thereafter, the Liquidating Debtors shall pay any statutory fees due pursuant to 28 U.S.C. §
1930(a)(6) based upon actual Distributions, and such fees shall be paid until entry of a Final Decree
or an order converting or dismissing the case.

R.      Sole Recourse

       Except as otherwise set forth in this Combined Disclosure Statement and Plan or other
Final Orders of the Bankruptcy Court, Holders of Allowed Claims against any Debtor will have
recourse solely to the assets of the Liquidating Debtors on or after the Effective Date for the
payment of their Allowed Claims in accordance with the terms of this Combined Disclosure
Statement and Plan.

S.      Reservation of Rights Regarding Claims

        Except as otherwise provided in this Combined Disclosure Statement and Plan or in other
Final Orders of the Bankruptcy Court, nothing shall affect the Debtors’ or the Liquidating Debtors’
respective rights and defenses, whether legal or equitable, with respect to any Claim, including,
without limitation, all rights with respect to legal and equitable defenses to alleged rights of setoff
or recoupment.




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                                                XI.

       TREATMENT OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES

A.      Rejection of Executory Contracts and Unexpired Leases

         Except with respect to executory contracts or unexpired leases that: (i) were previously
assumed, assumed and assigned or rejected by order of the Bankruptcy Court (including, without
limitation, the Greenfield Sale Order) and (ii) are the subject of a pending motion to assume or
reject, pursuant to § 365 of the Bankruptcy Code, on the Effective Date, each executory contract
and unexpired lease entered into by the Debtors prior to the Petition Date that has not previously
expired or terminated pursuant to its own terms shall be deemed rejected pursuant to § 365 of the
Bankruptcy Code; provided, however, that nothing in this Section XI.A shall cause the rejection,
breach or termination of any contract of insurance benefiting the Debtors and the Estates or the
Debtors’ officers, directors and/or managers. Nothing in this Article XI shall be construed as an
acknowledgement that a particular contract or agreement is executory or is properly characterized
as a lease. For avoidance of doubt, nothing in the Combined Disclosure Statement and Plan or the
Confirmation Order shall impair or otherwise affect any rights or obligations of the Successful
Bidder (as defined in the Greenfield Sale Order).

         The Confirmation Order shall constitute an order of the Bankruptcy Court approving such
rejections pursuant to § 365 of the Bankruptcy Code, as of the Effective Date. The non-Debtor
parties to any rejected personal property leases shall be responsible for taking all steps necessary
to retrieve the personal property that is the subject of such executory contracts and leases, and the
Debtors and the Liquidating Debtors shall bear no liability for costs associated with respect to the
forgoing. For avoidance of doubt, any counterparty to an executory contract or unexpired lease
rejected pursuant to this Combined Disclosure Statement and Plan may file a claim for damages
pursuant to Section XI.B of this Combined Disclosure Statement and Plan, provided, however, that
the Debtors reserve all rights of the Debtors and the Liquidating Debtors to object to any such
claims on any and all available grounds.

B.      Claims Based on Rejection of Executory Contracts or Unexpired Leases

        All proofs of claim with respect to Claims arising from the rejection of executory contracts
or unexpired leases pursuant to Confirmation of the Combined Disclosure Statement and Plan, if
any, must be filed with the Bankruptcy Court within thirty (30) days after the earlier of the
Effective Date or an order of the Bankruptcy Court approving such rejection. Any Claim arising
from the rejection of an executory contract or unexpired lease pursuant to Confirmation of the
Combined Disclosure Statement and Plan that is not filed within such times will be subject to
objection. All such Claims for which Proofs of Claim are timely and properly filed and ultimately
Allowed will be treated as General Unsecured Claims subject to the provisions of Article VIII of
the Combined Disclosure Statement and Plan.

C.      Insurance Policies

       Notwithstanding anything to the contrary contained herein, Confirmation of the Combined
Disclosure Statement and Plan shall not discharge, impair, or otherwise modify any obligations of

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the Insurance Policies. To the extent one or more of the Insurance Policies provides potential
coverage related to one or more Causes of Action the Debtors hold or may hold against any Entity,
all net proceeds thereof (including, for the avoidance of doubt, net of any deductibles or retentions)
shall be treated as proceeds of such Causes of Action for all purposes under the Combined
Disclosure Statement and Plan. Neither the Debtors nor the Liquidating Debtors shall take any
action to impair the Insurance Policies. Nothing in this Combined Disclosure Statement and Plan
shall diminish or impair the enforceability of the Insurance Policies and related agreements that
may cover Claims and Causes of Action against the Debtors or any other Entity.

                                                 XII.

               CONDITIONS PRECEDENT TO CONFIRMATION
      OF THE COMBINED DISCLOSURE STATEMENT AND PLAN AND TO THE
                           EFFECTIVE DATE

A.      Conditions to Confirmation of the Combined Disclosure Statement and Plan

         Confirmation of this Combined Disclosure Statement and Plan is conditioned upon the
satisfaction of each of the following conditions precedent, unless waived in writing by the relevant
party: (i) the Bankruptcy Court shall have approved the Combined Disclosure Statement and Plan
in form and substance reasonably acceptable to the Plan Proponents in all reasonable respects;
(ii) the Debtors shall have determined that they will have sufficient Cash on the Effective Date to:
(A) pay Allowed Administrative Claims, Non-Tax Priority Claims and Priority Tax Claims in full
(or in such amount as may be agreed by the applicable Claimant); (B) fund Plan Contribution
Amount; and (C) adequately fund the Disputed Claims Reserve; and (iii) the Confirmation Order
to be presented to the Bankruptcy Court at the Combined Hearing shall be reasonably acceptable
to the Plan Proponents in form and substance in all reasonable respects.

B.      Effect of Failure of Conditions to Confirmation

       If any one or more of the conditions in Section XII.A is not met, the Plan Proponents may
withdraw this Combined Disclosure Statement and Plan and, if withdrawn, this Combined
Disclosure Statement and Plan shall be of no further force or effect.

C.      Conditions to Effective Date

       The occurrence of the Effective Date is conditioned upon the satisfaction of each of the
following conditions precedent: (i) a Confirmation Order in form and substance reasonably
acceptable to the Plan Proponents, in all reasonable respects, shall have been entered by the
Bankruptcy Court; (ii) the Plan Contribution Amount shall have been funded; (iii) the Bankruptcy
Court shall have entered an order disallowing the Tubbs Claims against any Debtor other than
AMR; and (iv) unless otherwise waived in writing by the Debtors, all other actions and documents
determined by the Debtors to be necessary to implement the Combined Disclosure Statement and
Plan shall have been effected and executed.




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D.      Effective Date

        Provided the above-referenced conditions to the occurrence of the Effective Date are
satisfied or waived, this Combined Disclosure Statement and Plan shall become effective on the
Effective Date. If any one or more of the conditions in Section XII.C is not met, the Debtors may
withdraw this Combined Disclosure Statement and Plan and, if withdrawn, this Combined
Disclosure Statement and Plan shall be of no further force or effect.

                                                XIII.

                                EFFECTS OF CONFIRMATION

A.      Binding Effect of Combined Disclosure Statement and Plan

        The provisions of the confirmed Combined Disclosure Statement and Plan shall bind the
Debtors, any Entity acquiring property under the Combined Disclosure Statement and Plan, and
any Creditor or Equity Interest Holder, whether or not such Creditor or Equity Interest Holder has
filed a Proof of Claim or Equity Interest in the Chapter 11 Cases, whether or not the Claim of such
Creditor or the Equity Interest of such Equity Interest Holder is impaired under the Combined
Disclosure Statement and Plan, and whether or not such Creditor or Equity Interest Holder has
accepted or rejected the Combined Disclosure Statement and Plan. All Claims and Debts shall be
fixed and adjusted pursuant to this Combined Disclosure Statement and Plan. This Combined
Disclosure Statement and Plan shall also bind any taxing authority, recorder of deeds, or similar
official for any county, state, or Governmental Unit or parish in which any instrument related to
under this Combined Disclosure Statement and Plan or related to any transaction contemplated
under this Combined Disclosure Statement and Plan is to be recorded with respect to any taxes of
the kind specified in § 1146(a) of the Bankruptcy Code.

B.      Liquidating Debtors Hold Assets of the Estate for Distribution

       Upon the Effective Date, title to all assets of the Estates, including all Causes of Action the
Debtors may hold against any Entity and any recoveries therefrom, shall be held by the Liquidating
Debtors for the purposes contemplated under this Combined Disclosure Statement and Plan.

C.      Property Free and Clear

                Except as otherwise provided in this Combined Disclosure Statement and Plan or
the Confirmation Order, all property that shall be held by the Liquidating Debtors shall be free and
clear of all Claims, Equity Interests, Liens, interests, charges or other encumbrances of Creditors
or Equity Interest Holders, other than as set forth herein, in the Final DIP Order and in relevant
documents, agreements and instruments contained in any Plan Supplement. For the avoidance of
doubt, the Liens of the Prepetition Secured Parties on the Tubbs Properties remain preserved until
resolution of the Adversary Proceeding (Tubbs Parties) (and thereafter, subject to other terms of
this Combined Disclosure Statement and Plan). Following the Effective Date, the Liquidating
Debtors may transfer and dispose of any such property free of any restrictions imposed by the
Bankruptcy Code or the Bankruptcy Rules and without further approval of the Bankruptcy Court
or notice to Creditors, except as may otherwise be required under the Combined Disclosure
Statement and Plan or the Confirmation Order.
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D.      EXCULPATION

     THE EXCULPATED PARTIES WILL NEITHER HAVE NOR INCUR ANY
LIABILITY TO ANY ENTITY FOR ANY ACTION IN GOOD FAITH TAKEN OR
OMITTED TO BE TAKEN AFTER THE PETITION DATE THROUGH AND
INCLUDING THE EFFECTIVE DATE IN CONNECTION WITH OR RELATED TO
THE CHAPTER 11 CASES, THE SALE OF THE DEBTORS’ ASSETS (INCLUDING,
WITHOUT LIMITATION THE SALE OF THE ASSETS PURSUANT TO THE
GREENFIELD SALE ORDER OR ANY TUBBS SALE ORDER) OR THE
FORMULATION,    PREPARATION,     DISSEMINATION,  IMPLEMENTATION,
CONFIRMATION OR CONSUMMATION OF THE COMBINED DISCLOSURE
STATEMENT AND PLAN, OR ANY AGREEMENT CREATED OR ENTERED INTO IN
CONNECTION WITH THE COMBINED DISCLOSURE STATEMENT AND PLAN;
PROVIDED, HOWEVER, THAT THIS LIMITATION WILL NOT AFFECT OR MODIFY
THE OBLIGATIONS CREATED UNDER THIS COMBINED DISCLOSURE
STATEMENT AND PLAN, OR THE RIGHTS OF ANY HOLDER OF AN ALLOWED
CLAIM TO ENFORCE ITS RIGHTS UNDER THE COMBINED DISCLOSURE
STATEMENT AND PLAN, AND SHALL NOT RELEASE ANY ACTION (OR
INACTION) CONSTITUTING WILLFUL MISCONDUCT, FRAUD OR GROSS
NEGLIGENCE (IN EACH CASE SUBJECT TO DETERMINATION OF SUCH BY
FINAL ORDER OF A COURT OF COMPETENT JURISDICTION). WITHOUT
LIMITING THE GENERALITY OF THE FOREGOING, EACH EXCULPATED PARTY
SHALL BE ENTITLED TO AND GRANTED THE PROTECTIONS OF § 1125(E) OF THE
BANKRUPTCY CODE. EXCEPT AS SPECIFICALLY SET FORTH IN SECTION XIII.E
BELOW, NO PROVISION OF THIS COMBINED DISCLOSURE STATEMENT AND
PLAN SHALL BE DEEMED TO ACT TO OR RELEASE ANY CLAIMS, CAUSES OF
ACTION, RIGHTS OR LIABILITIES THAT THE DEBTORS OR THE ESTATES MAY
HAVE AGAINST ANY ENTITY OR PERSON FOR ANY ACT, OMISSION OR FAILURE
TO ACT THAT OCCURRED PRIOR TO THE PETITION DATE, NOR SHALL ANY
PROVISION OF THIS COMBINED DISCLOSURE STATEMENT AND PLAN BE
DEEMED TO ACT TO RELEASE ANY CAUSES OF ACTION AND LITIGATION
CLAIMS.

E.      RELEASES

        1.       DEBTOR RELEASE.

     PURSUANT TO § 1123(b) OF THE BANKRUPTCY CODE, AND EXCEPT AS
OTHERWISE SPECIFICALLY PROVIDED IN THE COMBINED DISCLOSURE
STATEMENT AND PLAN, FOR GOOD AND VALUABLE CONSIDERATION, ON AND
AFTER AND SUBJECT TO THE OCCURRENCE OF THE EFFECTIVE DATE, THE
DEBTORS, THE LIQUIDATING DEBTORS, AND THE ESTATES SHALL RELEASE
EACH RELEASED PARTY, AND EACH RELEASED PARTY IS DEEMED RELEASED
BY THE DEBTORS, THE LIQUIDATING DEBTORS, AND THE ESTATES FROM ANY
AND ALL CLAIMS, OBLIGATIONS, RIGHTS, SUITS, DAMAGES, CAUSES OF
ACTION, REMEDIES AND LIABILITIES WHATSOEVER, INCLUDING ANY
DERIVATIVE CLAIMS, ASSERTED OR ASSERTABLE ON BEHALF OF ANY OF THE

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DEBTORS, THE LIQUIDATING DEBTORS, OR THE ESTATES, AS APPLICABLE,
WHETHER KNOWN OR UNKNOWN, FORESEEN OR UNFORESEEN, ASSERTED OR
UNASSERTED, ACCRUED OR UNACCRUED, MATURED OR UNMATURED,
DETERMINED OR DETERMINABLE, DISPUTED OR UNDISPUTED, LIQUIDATED
OR UNLIQUIDATED, OR DUE OR TO BECOME DUE, EXISTING OR HEREINAFTER
ARISING, IN LAW, EQUITY, OR OTHERWISE, THAT THE DEBTORS, THE
LIQUIDATING DEBTORS, OR THE ESTATES WOULD HAVE BEEN LEGALLY
ENTITLED TO ASSERT IN ITS OWN RIGHT, OR ON BEHALF OF THE HOLDER OF
ANY CLAIM OR INTEREST OR OTHER ENTITY, BASED ON OR RELATING TO, OR
IN ANY MANNER ARISING FROM, IN WHOLE OR IN PART, THE DEBTORS, THE
DEBTORS’ LIQUIDATION, THE CHAPTER 11 CASES, THE PURCHASE, SALE,
TRANSFER OF ANY SECURITY, ASSET, RIGHT, OR INTEREST OF THE DEBTORS,
THE TRANSACTIONS MADE BY OR CONTEMPLATION UNDER THE GREENFIELD
SALE ORDER OR ANY TUBBS SALE ORDER, THE SUBJECT MATTER OF, OR THE
TRANSACTIONS OR EVENTS GIVING RISE TO, ANY CLAIM OR INTEREST THAT
IS TREATED IN THE COMBINED DISCLOSURE STATEMENT AND PLAN, THE
BUSINESS OR CONTRACTUAL ARRANGEMENTS BETWEEN ANY DEBTOR AND
ANY RELEASED PARTY, THE TREATMENT OF CLAIMS AND EQUITY INTERESTS
PRIOR TO OR IN THE CHAPTER 11 CASES, THE NEGOTIATION, FORMULATION
OR PREPARATION OF THE COMBINED DISCLOSURE STATEMENT AND PLAN OR
RELATED AGREEMENTS, INSTRUMENTS OR OTHER DOCUMENTS, ANY OTHER
ACT OR OMISSION, TRANSACTION, AGREEMENT, EVENT OR OTHER
OCCURRENCE TAKING PLACE ON AND BEFORE THE PETITION DATE, OTHER
THAN CLAIMS OR LIABILITIES ARISING OUT OF OR RELATING TO ANY ACT OR
OMISSION OF A RELEASED PARTY THAT CONSTITUTES FRAUD, WILLFUL
MISCONDUCT, OR GROSS NEGLIGENCE; PROVIDED, THAT THE FOREGOING
DEBTOR RELEASE SHALL NOT OPERATE TO WAIVE OR RELEASE ANY
OBLIGATIONS OF ANY PARTY UNDER THE COMBINED DISCLOSURE
STATEMENT AND PLAN OR ANY OTHER DOCUMENT, INSTRUMENT, OR
AGREEMENT EXECUTED TO IMPLEMENT THE COMBINED DISCLOSURE
STATEMENT AND PLAN.

      ENTRY OF THE CONFIRMATION ORDER SHALL CONSTITUTE THE
BANKRUPTCY COURT’S APPROVAL, PURSUANT TO BANKRUPTCY RULE 9019,
OF THE DEBTOR RELEASE, WHICH INCLUDES BY REFERENCE EACH OF THE
RELATED PROVISIONS AND DEFINITIONS CONTAINED HEREIN, AND FURTHER,
SHALL CONSTITUTE THE BANKRUPTCY COURT’S FINDING THAT THE DEBTOR
RELEASE IS: (A) IN EXCHANGE FOR THE GOOD AND VALUABLE
CONSIDERATION PROVIDED BY THE RELEASED PARTIES; (B) A GOOD FAITH
SETTLEMENT AND COMPROMISE OF THE CLAIMS RELEASED BY THE DEBTOR
RELEASE; (C) IN THE BEST INTERESTS OF THE DEBTORS AND ALL HOLDERS OF
CLAIMS AND EQUITY INTERESTS; (D) FAIR, EQUITABLE, AND REASONABLE; (E)
GIVEN AND MADE AFTER DUE NOTICE AND OPPORTUNITY FOR HEARING; AND
(F) A BAR TO ANY OF THE DEBTORS, THE LIQUIDATING DEBTORS OR THE
ESTATES ASSERTING ANY CLAIM OR CAUSE OF ACTION RELEASED PURSUANT
TO THE DEBTOR RELEASE.

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        2.       THIRD PARTY RELEASE.

     ON, AND AS OF, THE EFFECTIVE DATE AND FOR GOOD AND VALUABLE
CONSIDERATION, THE RECEIPT AND SUFFICIENCY OF WHICH ARE
ACKNOWLEDGED, THE RELEASED PARTIES SHALL BE FOREVER RELEASED
(THE “THIRD PARTY RELEASE”) FROM ANY AND ALL CLAIMS, OBLIGATIONS,
ACTIONS, SUITS, RIGHTS, DEBTS, ACCOUNTS, CAUSES OF ACTION, REMEDIES,
AVOIDANCE ACTIONS, AGREEMENTS, PROMISES, DAMAGES, JUDGMENTS,
DEMANDS, DEFENSES AND LIABILITIES THROUGHOUT THE WORLD UNDER
ANY LAW OR COURT RULING THROUGH THE EFFECTIVE DATE (INCLUDING
ALL CLAIMS BASED ON OR ARISING OUT OF FACTORS OR CIRCUMSTANCES
THAT EXISTED AS OF OR PRIOR TO THE EFFECTIVE DATE, INCLUDING CLAIMS
BASED ON NEGLIGENCE OR STRICT LIABILITY, AND FURTHER INCLUDING
ANY DERIVATIVE CLAIMS ASSERTED ON BEHALF OF THE DEBTORS, WHETHER
KNOWN OR UNKNOWN, FORESEEN OR UNFORESEEN, EXISTING OR
HEREINAFTER ARISING, IN LAW, EQUITY OR OTHERWISE) WHICH THE
DEBTORS, THE LIQUIDATING DEBTORS, THE ESTATES, CREDITORS, OR OTHER
PERSONS RECEIVING OR WHO ARE ENTITLED TO RECEIVE DISTRIBUTIONS
UNDER THE COMBINED DISCLOSURE STATEMENT AND PLAN MAY HAVE
AGAINST ANY OF THEM IN ANY WAY RELATED TO THE CHAPTER 11 CASES,
THE NEGOTIATION, FORMULATION, OR PREPARATION OF THE COMBINED
DISCLOSURE STATEMENT AND PLAN OR RELATED AGREEMENTS,
INSTRUMENTS OR OTHER DOCUMENTS, ANY OTHER ACT OR OMISSION,
TRANSACTION, AGREEMENT, EVENT OR OTHER OCCURRENCE TAKING PLACE
ON AND BEFORE THE PETITION DATE, AND RELATED TO THE DEBTORS (OR
THEIR PREDECESSORS), THEIR BUSINESS AND/OR THEIR ASSETS; PROVIDED,
HOWEVER THAT THE FOREGOING RELEASES ARE GRANTED ONLY BY (A)
CREDITORS WHO ARE CONCLUSIVELY DEEMED TO HAVE ACCEPTED THE
COMBINED DISCLOSURE STATEMENT AND PLAN; (B) CREDITORS WHO
RETURNED A BALLOT AND DID NOT CHECK THE OPT-OUT BOX ON THE
BALLOT; AND (C) CREDITORS WHO WERE SENT A SOLICITATION PACKAGE,
BUT EITHER (I) DID NOT VOTE; OR (II) DID NOT RETURN A BALLOT WITH THE
OPT-OUT BOX CHECKED; PROVIDED, HOWEVER, THAT THE RELEASE
PROVIDED IN THIS SECTION SHALL NOT APPLY TO A CREDITOR’S CLAIMS
AGAINST THE TUBBS PARTIES SOLELY BASED UPON SUCH CREDITOR’S
DIRECT CONTRACTUAL RIGHTS, IF ANY, AGAINST THE TUBBS PARTIES,
PROVIDED FURTHER THAT NOTHING IN THIS SECTION SHALL RELEASE ANY
RELEASED PARTY FROM ACTS THAT ARE JUDICIALLY DETERMINED TO
CONSTITUTE FRAUD, WILLFUL MISCONDUCT OR GROSS NEGLIGENCE. FOR
AVOIDANCE OF DOUBT, THE LENDERS SHALL BE DEEMED TO HAVE GRANTED
THE THIRD PARTY RELEASE; PROVIDED, HOWEVER THAT THE THIRD PARTY
RELEASE DOES NOT RELEASE ANY OBLIGATIONS, ACTIONS, SUITS, RIGHTS,
DEBTS, ACCOUNTS, CAUSES OF ACTION, REMEDIES, AVOIDANCE ACTIONS,
AGREEMENTS, PROMISES, DAMAGES, JUDGMENTS, DEMANDS, DEFENSES AND
LIABILITIES BETWEEN OR AMONG THE PREPETITION TERM AGENT, ON THE
ONE HAND, AND THE PREPETITION TERM LENDERS, ON THE OTHER HAND.

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F.      INJUNCTION

     IN IMPLEMENTATION OF THE COMBINED DISCLOSURE STATEMENT
AND PLAN, EXCEPT AS OTHERWISE EXPRESSLY PROVIDED IN THE
CONFIRMATION ORDER OR THE COMBINED DISCLOSURE STATEMENT AND
PLAN, AND EXCEPT IN CONNECTION WITH THE ENFORCEMENT OF THE TERMS
OF THE COMBINED DISCLOSURE STATEMENT AND PLAN OR ANY DOCUMENTS
PROVIDED FOR OR CONTEMPLATED IN THE COMBINED DISCLOSURE
STATEMENT AND PLAN, ALL ENTITIES WHO HAVE HELD, HOLD OR MAY HOLD
CLAIMS AGAINST OR EQUITY INTERESTS IN THE DEBTORS OR THE ESTATES
THAT AROSE PRIOR TO THE EFFECTIVE DATE ARE PERMANENTLY ENJOINED
FROM: (A) COMMENCING OR CONTINUING IN ANY MANNER, DIRECTLY OR
INDIRECTLY, ANY ACTION OR OTHER PROCEEDING OF ANY KIND AGAINST
THE DEBTORS, THE LIQUIDATING DEBTORS, OR THE ESTATES WITH RESPECT
TO ANY SUCH CLAIM OR INTEREST; (B) THE ENFORCEMENT, ATTACHMENT,
COLLECTION, OR RECOVERY BY ANY MANNER OR MEANS, DIRECTLY OR
INDIRECTLY, OF ANY JUDGMENT, AWARD, DECREE, OR ORDER AGAINST THE
DEBTORS, THE LIQUIDATING DEBTORS, OR THE ESTATES WITH RESPECT TO
ANY SUCH CLAIM OR INTEREST; (C) CREATING, PERFECTING, OR ENFORCING,
DIRECTLY OR INDIRECTLY, ANY LIEN OR ENCUMBRANCE OF ANY KIND
AGAINST THE DEBTORS, THE LIQUIDATING DEBTORS, OR THE ESTATES WITH
RESPECT TO ANY SUCH CLAIM OR INTEREST; (D) ANY ACT, IN ANY MANNER,
IN ANY PLACE WHATSOEVER, THAT DOES NOT CONFORM TO OR COMPLY
WITH THE PROVISIONS OF THE COMBINED DISCLOSURE STATEMENT AND
PLAN WITH RESPECT TO SUCH CLAIM OR INTEREST, INCLUDING WITHOUT
LIMITATION, ANY ACT TAKEN IN VIOLATION OF SECTION XIII.E.2 AGAINST
ANY OF THE RELEASED PARTIES WITH RESPECT TO ANY MATTERS RELEASED
UNDER THIS COMBINED DISCLOSURE STATEMENT AND PLAN IN FAVOR OF
SUCH RELEASED PARTIES. NOTHING CONTAINED IN THIS SECTION SHALL
PROHIBIT THE HOLDER OF A TIMELY FILED PROOF OF CLAIM FROM
LITIGATING ITS RIGHT TO SEEK TO HAVE SUCH CLAIM DECLARED AN
ALLOWED CLAIM AND PAID IN ACCORDANCE WITH THE DISTRIBUTION
PROVISIONS OF THIS COMBINED DISCLOSURE STATEMENT AND PLAN, OR
OTHERWISE ENJOIN OR PROHIBIT THE INTERPRETATION OR ENFORCEMENT
BY THE CLAIMANT OF ANY OF THE OBLIGATIONS OF THE DEBTORS OR
LIQUIDATING DEBTORS UNDER THIS COMBINED DISCLOSURE STATEMENT
AND PLAN.

G.      Post-Confirmation Liability of the Responsible Officer

         The Responsible Officer, together with his respective consultants, agents, advisors,
attorneys, accountants, financial advisors, other representatives and the professionals engaged by
the foregoing (collectively, the “Indemnified Parties”) shall not be liable for any and all liabilities,
losses, damages, claims, causes of action, costs and expenses, including but not limited to
attorneys’ fees arising out of or due to their actions or omissions, or consequences of such actions
or omissions, to the Holders of Claims or Equity Interests for any action or inaction taken in good
faith in connection with the performance or discharge of his duties under this Combined Disclosure
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Statement and Plan, except the Indemnified Parties will be liable for actions or inactions that are
grossly negligent, fraudulent, or which constitute willful misconduct (in each case, liability shall
be subject to determination by Final Order of the Bankruptcy Court). However, any act or
omission taken with the approval of the Bankruptcy Court, and not inconsistent therewith, will be
conclusively deemed not to constitute gross negligence, fraud, or willful misconduct. In addition,
the Liquidating Debtors shall, to the fullest extent permitted by the laws of the State of Delaware,
indemnify and hold harmless the Indemnified Parties from and against and with respect to any and
all liabilities, losses, damages, claims, costs and expenses, including but not limited to attorneys’
fees arising out of or due to their actions or omissions, or consequences of such actions or
omissions, with respect to the Liquidating Debtors or the implementation or administration of the
Combined Disclosure Statement and Plan if the Indemnified Party acted in good faith and in a
manner reasonably believed to be in or not opposed to the best interest of the Liquidating Debtors.
To the extent the Liquidating Debtors indemnify and hold harmless the Indemnified Parties as
provided above, the legal fees and related costs incurred by counsel to the Liquidating Debtors in
monitoring and participating in the defense of such claims giving rise to the right of
indemnification shall be paid as expenses of the Combined Disclosure Statement and Plan. All
rights of the Persons exculpated and indemnified pursuant hereto shall survive confirmation of the
Combined Disclosure Statement and Plan.

H.      Preservation of Rights of Action

        1.       Causes of Action.

               (a)    Except as otherwise provided in the Combined Disclosure Statement and
Plan, Confirmation Order or Final DIP Order, in accordance with § 1123(b)(3) of the Bankruptcy
Code, any Cause of Action that the Debtors hold or may hold against any Entity shall be held by
the Liquidating Debtors pursuant to this Combined Disclosure Statement and Plan.

               (b)     Except as otherwise provided in the Combined Disclosure Statement and
Plan or Confirmation Order, after the Effective Date, the Liquidating Debtors shall have the
exclusive right to institute, prosecute, abandon, settle or compromise any Causes of Action the
Debtors hold or may hold against any Entity without further order of the Bankruptcy Court, in any
court or other tribunal, including, without limitation, in an adversary proceeding filed in the
Chapter 11 Cases.

              (c)     Causes of Action and recoveries therefrom shall be the sole property of the
Liquidating Debtors, and Holders of Claims shall have no direct right or interest in to any such
Causes of Action or recovery except as provided in this Combined Disclosure Statement and Plan.

        2.       Preservation of All Causes of Action Not Expressly Settled or Released.

               (a)     Unless a Cause of Action against a Holder of a Claim or other Entity is
expressly waived, relinquished, released, compromised or settled in the Combined Disclosure
Statement and Plan or any Final Order (including the Confirmation Order and the Final DIP Order),
the Debtors expressly reserve such retained Cause of Action for later adjudication by the
Liquidating Debtors (including, without limitation, Causes of Action not specifically identified or
described in any Plan Supplement or elsewhere, or of which the Debtors may be presently unaware,

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or which may arise or exist by reason of additional facts or circumstances unknown to the Debtors
at this time, or facts or circumstances that may change or be different from those the Debtors now
believe to exist) and, therefore, no preclusion doctrine, including, without limitation, the doctrines
of res judicata, collateral estoppel, issue preclusion, claim preclusion, waiver, estoppel (judicial,
equitable, or otherwise) or laches shall apply to such Causes of Action upon or after the entry of
the Confirmation Order or Effective Date based on the Combined Disclosure Statement and Plan
or Confirmation Order, except where such Causes of Action have been released or otherwise
resolved by a Final Order (including the Confirmation Order). In addition, the Debtors expressly
reserve the right for the Liquidating Debtors to pursue or adopt claims alleged in any lawsuit in
which any Debtor is a defendant or an interested party against any Entity, including, without
limitation the plaintiffs or co-defendants in such lawsuits.

                (b)     Subject to the immediately preceding paragraph, any Entity to which a
Debtor has incurred an obligation (whether on account of services, the purchase or sale of goods,
or otherwise), or that has received services from a Debtor or a transfer of money or property of a
Debtor, or that has received services from a Debtor or a transfer or money or property of a Debtor,
or that has transacted business with a Debtor, or that has leased equipment or property from a
Debtor, should assume and is hereby advised that any such obligation, transfer or transaction may
be reviewed by the Liquidating Debtors subsequent to the Effective Date and may be the subject
of an action after the Effective Date, regardless of whether (i) such Entity has filed a proof of claim
against a Debtor in the Chapter 11 Cases; (ii) the Debtors have objected to any such Entity’s proof
of claim; (iii) any such Entity’s Claim was included in the Schedules; (iv) the Debtors have
objected to any such Entity’s scheduled Claim; (v) any such Entity’s scheduled Claim has been
identified by the Debtors as disputed, contingent, or unliquidated; or (vi) the Debtors have
identified any potential claim or Cause of Action against such Entity herein.

I.      No Discharge

        Nothing contained in this Combined Disclosure Statement and Plan shall be deemed to
constitute a discharge of the Debtors under § 1141(d)(3) of the Bankruptcy Code.

                                                XIV.

                                RETENTION OF JURISDICTION

         From and after the Confirmation Date, the Bankruptcy Court shall retain such jurisdiction
as is legally permissible, including, but not limited to, for the following purposes:

                1.     To allow, disallow determine, liquidate, classify, estimate, or establish the
priority or secured or unsecured status of any Claim, including the resolution of any request for
payment of any Administrative Claim or Professional Claim and the resolution of any objections
to the allowance or priority of Claims, and the resolution of any claim objections brought by the
Liquidating Debtors;

               2.     To administer the Combined Disclosure Statement and Plan and ensure that
Distributions to Holders of Allowed Claims are accomplished in accordance with the Combined
Disclosure Statement and Plan;

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               3.      To resolve any matters related to the assumption, assumption and
assignment, or rejection of any Executory Agreement to which a Debtor(s) is a party and to hear,
determine and, if necessary, liquidate, any Claims arising from, or cure amounts related to, such
assumption or rejection;

               4.       To determine any motion, adversary proceeding, application, contested
matter, and other litigated matter pending on or commenced after the Effective Date, including,
without limitation, the Adversary Proceeding (Tubbs Properties) and any and all Causes of Action
preserved under the Combined Disclosure Statement and Plan commenced prior to, on, or after the
Effective Date;

                5.      To hear and determine any and all matters relating to the Louisiana
Litigation, as an adversary proceeding or otherwise, ultimately transferred to the Bankruptcy Court
pursuant to the Louisiana Transfer Proceedings;

                6.      To hear and determine any and all disputes relating to the res judicata and
collateral estoppel effects of the Final DIP Order and any other order entered by the Bankruptcy
Court;

               7.      To hear and determine any and all motions and/or objections to fix,
estimate, allow and/or disallow any Claims arising therefrom;

              8.      To hear and determine any and all applications by Professionals for an
award of Professional Fees;

                 9.   To hear and determine matters relating to the Insurance Policies;

              10.    To enter, implement or enforce such orders as may be appropriate in the
event that the Confirmation Order is for any reason stayed, reversed, revoked, modified, or
vacated;

              11.    To issue injunctions, enter and implement other orders, and take such other
actions as may be necessary or appropriate to restrain interference by any Person with the
consummation, implementation or enforcement of this Combined Disclosure Statement and Plan,
the Confirmation Order or any other order of the Bankruptcy Court;

              12.     To resolve a dispute with respect to and/or otherwise appoint a replacement
of the Responsible Officer;

                13.    To hear and determine any application to modify the Combined Disclosure
Statement and Plan in accordance with § 1127 of the Bankruptcy Code, to remedy any defect or
omission or reconcile any inconsistency in this Combined Disclosure Statement and Plan, any
contract, instrument, release, or other agreement or document created in connection therewith, or
any order of the Bankruptcy Court, including the Confirmation Order, in such a manner as may be
necessary to carry out the purposes and effects thereof;

             14.     To hear and determine disputes arising in connection with the interpretation,
implementation, obligation or enforcement of this Combined Disclosure Statement and Plan, the
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Confirmation Order, any transactions or payments contemplated in the Combined Disclosure
Statement and Plan, or any agreement, instrument, or other document governing or relating to any
of the foregoing;

               15.    To take any action and issue such orders as may be necessary to construe,
enforce, implement, execute and consummate this Combined Disclosure Statement and Plan,
including all contracts, instruments, releases, and other agreements or documents created in
connection therewith, or to maintain the integrity of this Combined Disclosure Statement and Plan
following Consummation;

               16.   To determine such other matters and for such other purposes as may be
provided in the Combined Disclosure Statement and Plan and/or Confirmation Order;

               17.      To hear and determine matters concerning state, local and federal taxes
including without limitation, any requests for expedited determinations under § 505(b) of the
Bankruptcy Code filed, or to be filed, with respect to tax returns for any and all taxable periods
ending after the Petition Date through, and including, the date of Final Distribution;

              18.    To hear and determine any other matters related hereto and not inconsistent
with the Bankruptcy Code and title 28 of the United States Code;

               19.    To authorize recovery of all assets of any Debtor and property of the
applicable Estate, wherever located;

               20.     To hear and resolve any disputes regarding the reserves required hereunder,
including without limitation, disputes regarding the amounts of such reserves or the amount,
allocation, and timing of any releases of such reserved funds;

              21.    To enable the Liquidating Debtors to commence and prosecute any Causes
of Action which may be brought after the Effective Date;

               22.     To enter any orders as required by Rule 23 of the Federal Rules of Civil
Procedure, to the extent made applicable to any adversary proceeding pursuant or contested matter
pursuant to Bankruptcy Rules 7023 and 9014(c), as applicable; and

                 23.   To enter Final Decrees closing the Chapter 11 Cases.

                                              XV.

                                      MISCELLANEOUS

A.      Revocation of Combined Disclosure Statement and Plan

        The Debtors reserve the right to revoke and withdraw the Combined Disclosure Statement
and Plan at any time on or before the Confirmation Date. If the Debtors revoke or withdraw the
Combined Disclosure Statement and Plan pursuant to this Section, or if Confirmation or the
Effective Date does not occur, then the Combined Disclosure Statement and Plan shall be deemed
null and void and, in such event, nothing contained herein shall be deemed to constitute a waiver

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or release of any Claims by or against the Debtors or any other Entity or to prejudice in any manner
the rights of the Debtors or any Entity in any further proceedings involving the Debtors.

B.      Request for Expedited Determination of Taxes

        The Debtors or Liquidating Debtors, as applicable, shall have the right to request an
expedited determination under § 505(b) of the Bankruptcy Code with respect to tax returns filed,
or to be filed, for any and all taxable periods ending after the Petition Date through and including
the date of the Final Distribution.

C.      Severability of Combined Disclosure Statement and Plan Provisions

         In the event that, prior to the Confirmation Date, any term or provision of this Combined
Disclosure Statement and Plan is held by the Bankruptcy Court to be invalid, void or
unenforceable, the Bankruptcy Court shall, with the consent of the Plan Proponents, have the
power to alter and interpret such term or provision to make it valid or enforceable to the maximum
extent practicable, consistent with the original purpose of the term or provision held to be invalid,
void or unenforceable, and such term or provision shall then be applicable as altered or interpreted.
Notwithstanding any such holding, alteration or interpretation, the remainder of the terms and
provisions hereof shall remain in full force and effect and shall in no way be affected, impaired,
or invalidated by such holding, alteration, or interpretation. The Confirmation Order shall
constitute a judicial determination and shall provide that each term and provision hereof, as it may
have been altered or interpreted in accordance with the foregoing, is valid and enforceable pursuant
to its terms.

D.      Exhibits

        All exhibits attached to this Combined Disclosure Statement and Plan or any Plan
Supplement are, by this reference, hereby incorporated into the Combined Disclosure Statement
and Plan. The final version of all Exhibits to the Combined Disclosure Statement and Plan and
any Plan Supplement will be substantially in the forms attached hereto or thereto. The Debtors
reserve the right to make non-substantive changes and corrections to such Exhibits in advance of
the Combined Hearing. If any Exhibits are changed or corrected, the replacement Exhibits will be
filed with the Bankruptcy Court prior to the commencement of the Combined Hearing.

E.      Courts of Competent Jurisdiction

        If the Bankruptcy Court abstains from exercising, or declines to exercise, jurisdiction or
is otherwise without jurisdiction over any matter arising out of this Combined Disclosure
Statement and Plan, such abstention, refusal or failure of jurisdiction shall have no effect upon
and shall not control, prohibit or limit the exercise of jurisdiction by any other court having
competent jurisdiction with respect to such matter.

F.      Continuing Effect of Bankruptcy Court Orders

       Unless otherwise set forth in the Combined Disclosure Statement and Plan or the
Confirmation Order or otherwise ordered by the Bankruptcy Court, the orders of the Bankruptcy


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Court shall not be modified, limited or amended by the Combined Disclosure Statement and Plan
and shall remain in full force and effect.

G.       Business Day Transactions

        In the event that any payment or act under this Combined Disclosure Statement and Plan
is required to be made or performed on a date that is not a Business Day, then the making of such
payment or the performance of such act may be completed on or as soon as reasonably practicable
on the next succeeding Business Day, but shall be deemed to have been completed as of the initial
due date.

H.       Headings

       Headings are used in this Combined Disclosure Statement and Plan for convenience and
reference only and shall not constitute a part of this Combined Disclosure Statement and Plan for
any other purpose.

I.       Notices

        All notices required or permitted to be made in accordance with the Combined Disclosure
Statement and Plan shall be in writing and shall be delivered personally or by nationally recognized
overnight or next-day courier service, first-class mail, electronic mail, or via facsimile with
electronic confirmation of receipt as follows:

 To the Debtors:                                   To the Prepetition Term Lenders:

 Dentons US LLP                                    Moore & Van Allen PLLC
 601 S. Figueroa Street #2500                      100 North Tryon Street, Suite 4700
 Los Angeles, CA 90017                             Charlotte, NC 28202-4003
 Attn: Samuel R. Maizel                            Attn: Zachary H. Smith
       Tania M. Moyron                                   Gabriel L. Mathless
 Tel: (213) 623-9300                                     Stephen E. Gruendel
 Fax: (213) 623-9924                               Tel: (704) 331-1000
 Email: samuel.maizel@dentons.com                  Fax: (704) 378-1989
         tania.moyron@dentons.com                  Email: zacharysmith@mvalaw.com
                                                          gabrielmathless@mvalaw.com
                                                          stevegruendel@mvalaw.com

 -and-                                             -and-

 Dentons US LLP
 1900 K Street, NW
 Washington, DC 20006
 Attn: David F. Cook
 Tel: (202) 496-7301
 Email: david.f.cook@dentons.com


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                                                    Richards, Layton & Finger, P.A.
                                                    One Rodney Square
                                                    920 North King Street
                                                    Wilmington, DE 19801
                                                    Attn: Michael J. Merchant
                                                           Jason M. Madron
                                                    Tel: (302) 651-7700
                                                    Fax: (302) 651-7701
                                                    Email: merchant@rlf.com
                                                            madron@rlf.com
 -and-

 Pachulski Stang Ziehl & Jones LLP
 919 North Market Street, 17th Floor
 P.O. Box 8705
 Wilmington, DE 19899 (Courier 19801)
 Attn: Laura Davis Jones
       Mary F. Caloway
 Tel: (302) 652-4100
 Fax: (302) 652-4400
 Email: ljones@pszjlaw.com
        mcaloway@pszjlaw.com
 -and-

 MERU, LLC
 1175 Peachtree Street NE, Suite 1000
 Atlanta, GA 30361
 Attn: Kyle Sturgeon
 Tel: (404) 452-5802
 Email: kyle@wearemeru.com

J.       Reservation of Rights

         Neither the filing of the Combined Disclosure Statement and Plan nor any statement or
provision contained in the Combined Disclosure Statement and Plan, nor the taking by any party
in interest of any action with respect to the Combined Disclosure Statement and Plan, shall: (a) be
or be deemed to be an admission against interest and (b) until the Effective Date, be or be deemed
to be a waiver of any rights any party in interest may have (i) against any other party in interest or
(ii) in or to any of the assets of any other party in interest, and, until the Effective Date, all such
rights are specifically reserved. In the event that the Combined Disclosure Statement and Plan is
not confirmed or fails to become effective, neither the Combined Disclosure Statement and Plan
nor any statement contained in the Combined Disclosure Statement and Plan may be used or relied
upon in any manner in any suit, action, proceeding, or controversy within or without the Chapter
11 Cases involving the Debtors, except with respect to Confirmation of the Combined Disclosure
Statement and Plan.


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K.      Defects, Omissions, and Amendments

        The Debtors may, with the approval of the Lenders and the Bankruptcy Court and without
notice to all Holders of Claims or Equity Interests, insofar as it does not materially and adversely
affect Holders of Claims, correct any defect, omission, or inconsistency in the Combined
Disclosure Statement and Plan in such manner and to such extent as may be necessary or desirable
to expedite the execution of the Combined Disclosure Statement and Plan. The Combined
Disclosure Statement and Plan may be altered or amended before or after Confirmation as provided
in § 1127 of the Bankruptcy Code if, in the opinion of the Bankruptcy Court, the modification does
not materially and adversely affect the interests of Holders of Claims, so long as the Combined
Disclosure Statement and Plan, as modified, complies with §§ 1122 and 1123 of the Bankruptcy
Code and the Debtors have complied with § 1125 of the Bankruptcy Code. The Combined
Disclosure Statement and Plan may be altered or amended before or after the Confirmation Date
but, prior to substantial Consummation, in a manner which, in the opinion of the Bankruptcy Court,
materially and adversely affects Holders of Claims, so long as the Combined Disclosure Statement
and Plan complies with §§ 1122 and 1123 of the Bankruptcy Code, the Debtors have complied
with § 1125 of the Bankruptcy Code and, after notice and a hearing, the Bankruptcy Court confirms
such Plan, as modified, under § 1129 of the Bankruptcy Code.

L.      Filing of Additional Documents

       The Debtors and the Liquidating Debtors, as applicable, shall file with the Bankruptcy
Court such agreements, instruments, pleadings, orders, papers, or other documents as may be
necessary or appropriate to effectuate and further evidence the terms and conditions of the
Combined Disclosure Statement and Plan.

M.      Successors and Assigns

       The rights, benefits, and obligations of any Entity named or referred to in this Combined
Disclosure Statement and Plan shall be binding on, and shall inure to the benefit of, the heirs,
executors, administrators, successors and/or assigns of such Entity.

N.      Setoffs and Recoupments

        The Liquidating Debtors may, but shall not be required to, set off against or recoup from
the payments to be made pursuant to this Combined Disclosure Statement and Plan in respect of a
Claim, any claim of any nature whatsoever that the Debtors or the Estates may have against the
Holder of such Claim, but neither the failure to do so or the allowance of any Claim hereunder
shall constitute a waiver or release of any such claim by the Debtors, the Liquidating Debtors or
the Estates, against such Holder.

O.      Exemption from Transfer Taxes

       Pursuant to § 1146(c) of the Bankruptcy Code, the assignment or surrender of any lease or
sublease, or the delivery of any deed or other instrument of transfer under, in furtherance of, or in
connection with, this Combined Disclosure Statement and Plan, including any deeds, bills of sale
or assignments executed in connection with any disposition of assets contemplated by this

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Combined Disclosure Statement and Plan, whether real or personal property, shall not be subject
to any stamp, real estate transfer, mortgage recording, sales, use or other similar tax.

P.      Securities Exemption

        To the extent any Interest herein is deemed or asserted to constitute a security, the such
Interest and the issuance and distribution thereof shall be exempt from section 5 of the Securities
Act of 1933, if applicable, and from any state or federal securities laws requiring registration for
offer or sale of a security or registration or licensing of an issuer of, underwriter of, or broker or
dealer in, a security, and shall otherwise enjoy all exemptions available for distributions of
securities under a plan of reorganization in accordance with all applicable law, including without
limitation, § 1145 of the Bankruptcy Code.

Q.      Implementation

       Upon Confirmation, the Liquidating Debtors shall be authorized to take all steps and
execute all documents necessary to effectuate the provisions contained in the Combined Disclosure
Statement and Plan.

R.      Certain Actions

        By reason of entry of the Confirmation Order, prior to, on, or after the Effective Date (as
appropriate), all matters provided for under the Combined Disclosure Statement and Plan that
would otherwise require approval of directors, officers, employees, managers or members of the
Debtors under the Combined Disclosure Statement and Plan, including, without limitation, (i) the
Distribution of Cash pursuant to the Combined Disclosure Statement and Plan; (ii) the adoption,
execution, delivery and implementation of all contracts, leases, instruments, releases and other
agreements or documents related to the Combined Disclosure Statement and Plan; and (iii) the
adoption, execution and implementation of other matters provided for under the Combined
Disclosure Statement and Plan involving the company or organizational structure of the Debtors,
shall be deemed to have occurred and shall be in effect prior to, on or after the Effective Date (as
appropriate), pursuant to the applicable general corporation law of the state in which the applicable
Debtor is chartered, organized or incorporated, without any requirement of further action by the
directors and stockholders of the Debtors, irrespective of whether the Confirmation Order
specifically authorizes any such action.

       Effective upon the Effective Date, each Debtor’s formation documents shall each be
deemed amended to prohibit the issuance by each Debtor of nonvoting securities to the extent
required under § 1123(a)(6) of the Bankruptcy Code.

       On or as soon as practicable following the Effective Date, the Liquidating Debtors shall be
authorized to cancel, annul, and extinguish all Equity Interests.

S.      Substantial Consummation

       On the Effective Date, the Combined Disclosure Statement and Plan shall be deemed
substantially consummated under §§ 1101 and 1127(b) of the Bankruptcy Code.


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T.      Waiver of Fourteen-Day Stay

        The Debtors request as part of the Confirmation Order a waiver from the Bankruptcy Court
of the 14-day stay of Bankruptcy Rule 3020(e) and, to the extent applicable, a waiver of the 14-
day stay of Bankruptcy Rule 6004(g).




Dated: ___, __ 2022
                                                   Kyle Sturgeon
                                                   Managing Partner, MERU, LLC

                                                   Chief Restructuring Officer of the Debtors


Dated: ___, __ 2022
                                                   [●]




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                     EXHIBIT A
             LIQUIDATION ANALYSIS
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Agspring Mississippi Region, LLC, et. al.
Liquidation Analysis


                                                                               Balance                %              Chapter 11                 %              Chapter 7
                                                               Notes
  Sources of Proceeds
     Cash                                                         1    $             7,018,943       100% $                    7,018,943      100% $                    7,018,943
     Cash Paid to Prepetition Term Lenders                        2                  8,870,281       100%                      8,870,281      100%                      8,870,281
     Return of Greenfield Escrowed Proceeds                       3                  2,717,850       100%                      2,717,850      100%                      2,717,850
     Cobank Recovery                                              4                     99,765       100%                         99,765      100%                         99,765
     Property: Pioneer                                            5                  4,500,000        93%                      4,185,000       56%                      2,511,000
     Property: Mer Rouge                                          5                 10,400,000        93%                      9,672,000       56%                      5,803,200
     Property: Monticello                                         5                    900,000        93%                        837,000       56%                        502,200
     Less: Accrued Professional Fees                              6                 (2,697,600)      100%                     (2,697,600)     100%                     (2,697,600)
     Intercompany                                                                          -                                         -        100%                            -
     Gross Liquidation Proceeds                                                                              $              30,703,240         81%    $               24,825,640

  Wind Down Expenses
     Chapter 7 Trustee Fees                                       7                                                                 -                                    (349,020)
     Chapter 7 Trustee Professional Fees                          8                                                                 -                                    (500,000)
     Chapter 11 US Trustee Fees                                   9                                                            (256,643)                                 (130,243)
     Total Liquidation Expenses                                                                              $                 (256,643)              $                 (979,263)

  Proceeds Available for Distribution                                                                        $              30,446,597                $               23,846,376

  Other Secured / Admin / Priority Claims
     Other Secured Claims                                                                                                            -                                         -
     Admin Claims                                                                                                                    -                                         -
     Priority Claims                                                                                                                 -                                         -
     Total Admin and Priority Claims                                                                                                 -                                         -

  Proceeds Available for Distribution                                                                        $              30,446,597                $               23,846,376

  Secured Claims
     Bridge Loan                                                 10                   1,067,750      100%                     1,067,750       100%                      1,067,750
     Tubbs Secured Loan                                          11                 16,985,000        87%                    14,694,000         50%                     8,551,908
     Prepetition Secured Term Loan                               12                105,597,653        13% $                  13,791,557         13% $                  14,226,718
     Total Secured Claims                                                                                                    29,553,307                                23,846,376

  Remaining Proceeds Available                                                                               $                 893,290                $                        -

  Unsecured Claims
     Prepetition Secured Term Lender Deficiency Claim            13                 91,806,096         0%                           -            0%                            -
     Tubbs Deficiency Claim                                      14                 12,908,182         6%                       750,000          0%                            -
     GUC Claims                                                  15                    146,214        98%                       143,290          0%                            -
     Intercompany Claim - Agspring LLC                           16                    200,501         0%                           -            0%                            -

  Remaining Amount Available for Distribution to Equity                                                      $                      -                 $                        -



  Notes
   1 Represents cash in AMR accounts as of 3/28/2022.
   2 Reflects amount paid to the Prepetition Secured Term Lenders in March 2022 pursuant to a Court order.
   3 Assumes recovery of all escrowed proceeds from the Greenfield Sale.
   4 Dividend from Bayou, Inc. ownership of cooperative interests of CoBank ACB.
   5 Ch. 11 recovery assumes sale at Tubbs' appraised values, less 7% selling costs. Ch. 7 recovery assumes sale at 40% discount to appraised values, less 7% selling costs.
   6 Reflects the Debtors' current estimate for accrued and unpaid professional fees expected through end of May, 2022.
   7 Assume 3% of recoveries, excluding cash at time of conversion.
   8 Assumption based on size and complexity of the case.
   9 Based on Q1 2022 disbursements along with accrued professional fees.
  10 Balance includes accrued interest and fees. Fully secured based on the Debtors' analysis.
  11 Secured Balance is based on Tubbs' filed claim, to which the Debtors intend to object as set forth in the Combined Disclosure Statement and Plan. The Prepetition Secured
     Term Lenders filed an adversary proceeding asserting a security interest in certain of these assets, which is not reflected here. Recovery is based on assumptions above.
  12 Secured balance is estimated as of 3/31/2022. Chapter 11 recovery is based on remaining value available less amounts reserved for unsecured claims. Chapter 7 recovery
     absorbs all value remaining to be distributed. Note that the Prepetition Term Lenders’ Secured Claim is increased if value at Pioneer, Mer Rouge and Monticello is allocated to
     the personal property (which is being litigated through the Adversary Proceeding (Tubbs Parties)).
  13 Represents the unsecured portion of the Term Debt. Balance is Deficiency Claim based on Chapter 11 scenario. Recovery assumed to be waived under the Chapter 11 scenario.
  14 Represents the unsecured portion of Tubbs debt. Recovery of $750k is being gifted by the Prepetition Term Lenders subject to the conditions of the Plan.
  15 Includes full value of both filed and scheduled unsecured claims. The GUC’s recovery is being gifted by the Prepetition Term Lenders subject to the conditions of the Plan.
  16 Amount owed to Agspring, LLC. Assumed to be waived per the Plan in Chapter 11 scenario.
